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            22-3054         In the
    United States Court of Appeals
          For the Second Circuit
              O
      DANIEL HALLER and LONG ISLAND SURGICAL PLLC,
                                                   Plaintiffs-Appellants,
                              v.
UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
    200 INDEPENDENCE AVENUE SW, WASHINGTON, DC 20201,
                                                  Defendants-Appellees,
            (See inside cover for continuation of caption)
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
  FOR THE EASTERN DISTRICT OF NEW YORK (CENTRAL ISLIP)

               AMENDED JOINT APPENDIX

                             THE WILDER LAW FIRM
                             Attorneys for Plaintiffs Appellants
                             301 West 57th Street, 19b
                             New York, New York 10019
                             (212) 951-0042
                             nick@wilder.law

                            KEVIN B. SOTER
                            JOSHUA M. SALZMAN
                            UNITED STATES DEPARTMENT OF JUSTICE
                               CIVIL DIVISION, APPELLATE STAFF
                            Attorneys for Defendants-Appellees
                            950 Pennsylvania Avenue, NW
                            Washington, District of Columbia 20530
                            (202) 514-3602
                            kevin.b.soter@usdoj.gov
                            joshua.m.salzman@usdoj.gov

                   APPELLATE INNOVATIONS
                       (914) 948-2240                              19192
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                                 08/28/2023, 3505940,
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                       _____________________________


XAVIER BECERRA, IN HIS OFFICIAL CAPACITY AS SECRETARY OF HEALTH
 AND HUMAN SERVICES, 200 INDEPENDENCE AVENUE SW, WASHINGTON,
 DC 20201, UNITED STATES OFFICE OF PERSONNEL MANAGEMENT, KIRAN
 AHUJA, IN HER OFFICIAL CAPACITY AS DIRECTOR OF THE U.S. OFFICE OF
 PERSONNEL MANAGEMENT, 1900 E STREET NW WASHINGTON, DC 20415,
UNITED STATES DEPARTMENT OF LABOR, 200 CONSTITUTION AVENUE NW
WASHINGTON, DC 20210, JULIE SU, IN HER OFFICIAL CAPACITY AS ACTING
 SECRETARY OF LABOR, 200 CONSTITUTION AVENUE NW WASHINGTON,
    DC 20210, UNITED STATES DEPARTMENT OF THE TREASURY, 1500
PENNYSLVANIA AVENUE NW, WASHINGTON DC 20220 and JANET YELLEN,
     IN HER OFFICIAL CAPACITY AS SECRETARY OF THE TREASURY,
       1500 PENNSYLVANIA AVENUE NW WASHINGTON, DC 20220,

                                                       Defendants-Appellees.
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                                               U.S. District Court
                                   Eastern District of New York (Central Islip)
                             CIVIL DOCKET FOR CASE#:
                                                   CASE #: 2:21-cv-07208-AMD-AYS


 Haller et. al. v. U.S. Department of Health and Human Services et.                             Date Filed: 12/31/2021
 al.                                                                                            Date Terminated: 08/11/2022
 Assigned to: Judge Ann M Donnelly                                                              Jury Demand: None
 Referred to: Magistrate Judge Anne Y. Shields                                                  Nature of Suit: 440 Civil Rights: Other
 Cause: 28:2201 Declaratory Judgement                                                           Jurisdiction: U.S. Government Defendant
 Plaintiff
 Dr. Daniel Haller                                                                    by Edward A. Smith
                                                                          represented hy
                                                                                         Abrams, Fensterman, Fensterman, Eisman,
                                                                                         Formato, Ferrara, Wo
                                                                                         81 Main Street, Suite 306
                                                                                         White Plains, NY 10601
                                                                                         (914) 607-7010
                                                                                                easmith@venahle.com
                                                                                         Email: easmith@venable.com
                                                                                         TERMINATED: 09/28/2022
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                                Justin Tyler Kelton
                                                                                                Abrams, Fensterman, Fensterman, Eisman,
                                                                                                Formato, Ferrara, Wo
                                                                                                81 Main Street, Suite 306
                                                                                                White Plains, NY 10601
                                                                                                (914) 607-7010
                                                                                                Email: jkelton@ahramslaw.com
                                                                                                       jkelton@abramslaw.com
                                                                                                TERMINATED: 09/28/2022
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                                                                                                Nicholas Joseph Wilder
                                                                                                The Wilder Law Firm
                                                                                                301 West 57 Street
                                                                                                Ste 19b
                                                                                                New York, NY 10019
                                                                                                212-951-0042
                                                                                                Email: nick@wilder.law
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                 Robert A. Spolzino
                                                                                                 Abrams, Fensterman, Fensterman, Eisman,
                                                                                                 Formato, Ferrara, Wo
                                                                                                 81 Main Street, Suite 306

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                                                                                                Adam Michael Birnbaum
                                                                                                Abrams Fensterman, LLP
                                                                                                1 Metrotech Center
                                                                                                Ste 17th Floor
                                                                                                Brooklyn, NY 11201
                                                                                                718-215-5300
                                                                                                       amichaelbimbaum@gmail.com
                                                                                                Email: amichaelbirnbaum@gmail.com
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                                                                                                Mordecai Geisler
                                                                                                Abrams Fensterman, LLP
                                                                                                Abrams Fensterman, LLP
                                                                                                1 Metrotech Center
                                                                                                Suite 1701
                                                                                                Brooklyn, NY 11201
                                                                                                718-215-5300
                                                                                                Email: mgeisler@abramslaw.com
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 Plaintiff
 Long Island Surgical PLLC                                                represented by Edward A. Smith
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                                                                                                Nicholas Joseph Wilder
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                                                                                                Robert A. Spolzino
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                                                                                                Adam Michael Birnbaum
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                                                                                               Mordecai Geisler
                                                                                               (See above for address)
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 V.
 Defendant
 U.S. Department of Health and Human                                     represented by Anna Lynn Deffebach
 Services                                                                               DOJ-Civ
 200 Independence Avenue SW, Washington,                                                Civil Division- Federal Programs Branch
 DC20201
 DC  20201                                                                              ll00LSTNW
                                                                                        1100LSTNW
                                                                                        Ste Lst 12104
                                                                                        Washington, DC 20005
                                                                                        202-993-5182
                                                                                        Email: anna.1.deffebach@usdoj.gov
                                                                                               anna.l.deffebach@usdoj.gov
                                                                                        ATTORNEY TO BE NOTICED

                                                                                               Joel McElvain
                                                                                               U.S. Dept of Justice
                                                                                               Civil Division
                                                                                               Federal Programs Branch
                                                                                               20 Massachusetts Ave, Nw
                                                                                               Washington, DC 20530
                                                                                               202-514-2988
                                                                                               Fax: 202-616-8202
                                                                                               Fax:202-616-8202
                                                                                               Email: joel.mcelvain@usdoj.gov
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Joseph Anthony Marutollo
                                                                                               U. S. Attorney's Office
                                                                                               271 Cadman Plaza East
                                                                                               Brooklyn, NY 11201
                                                                                               718-254-6288
                                                                                               Fax:718-254-7489
                                                                                               Fax: 718-254-7489
                                                                                               Email: joseph.marutollo@usdoj.gov
                                                                                               ATTORNEY TO BE NOTICED

 Defendant
 Xavier Becerra                                                          represented by Anna Lynn Deffebach
 in his official capacity as Secretary of                                               (See above for address)
 Health and Human Services, 200                                                         ATTORNEY TO BE NOTICED
 Independence Avenue SW, Washington, DC
 20201                                                                                         Joel McElvain
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Joseph Anthony Marutollo
                                                                                               (See above for address)
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 Defendant
 U.S. Office of Personnel Management                                      represented by Anna Lynn Deffebach
 1900 E Street NW Washington, DC 20415                                                   (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                                Joel McElvain
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Joseph Anthony Marutollo
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

 Defendant
 Kiran Ahuja
 KiranAhuja                                                               represented by Anna Lynn Deffebach
 in her official capacity as Director of the                                             (See above for address)
 U.S. Office ofPersonnel Management, 1900                                                ATTORNEY TO BE NOTICED
 E Street NW Washington, DC 20415
                                                                                                Joel McElvain
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Joseph Anthony Marutollo
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

 Defendant
 U.S. Department of Labor                                                 represented by Anna Lynn Deffebach
 200 Constitution Avenue NW Washington,                                                  (See above for address)
 DC 20210                                                                                ATTORNEY TO BE NOTICED

                                                                                                Joel McElvain
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Joseph Anthony Marutollo
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

 Defendant
 Martin J. Walsh                                                          represented by Anna Lynn Deffebach
 in his official capacity as Secretary of                                                (See above for address)
 Labor, 200 Constitution Avenue NW                                                       ATTORNEY TO BE NOTICED
 Washington, DC 20210
                                                                                                Joel McElvain
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Joseph Anthony Marutollo
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 Defendant

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 U.S. Department of the Treasury                                         represented by Anna Lynn Deffebach
                          Nw, Washington
 1500 Pennyslvania Avenue NW,                                                           (See above for address)
 DC20220
 DC 20220                                                                               ATTORNEY TO BE NOTICED

                                                                                               Joel McElvain
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Joseph Anthony Marutollo
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

 Defendant
 Janet Yellen                                                            represented by Anna Lynn Deffebach
 in her official capacity as Secretary of the                                           (See above for address)
 Treasury, 1500 Pennsylvania Avenue NW                                                  ATTORNEY TO BE NOTICED
 Washington, DC 20220
                                                                                               Joel McElvain
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Joseph Anthony Marutollo
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  12/31/2021              1 COMPLAINT against All Defendants filing fee $ 402, receipt number ANYEDC-
                               15153913 Was the Disclosure Statement on Civil Cover Sheet completed -No,, filed by
                               Long Island Surgical PLLC, Daniel Haller. (Kelton, Justin) (Entered: 12/31/2021)
  01/03/2022                   Notice: Re: Incomplete Civil Cover Sheet. The Clerk's Office cannot assign this case
                               without a completed Civil Cover Sheet. Please submit a Civil Cover Sheet. This event can
                               be found under the event Other Filings - Other Documents - Proposed Summons/Civil
                               Cover Sheet. (Flanagan, Doreen) (Entered: 01/03/2022)
  01/03/2022              2 Civil Cover Sheet..
                                        Sheet., by Daniel Haller, Long Island Surgical PLLC (Kelton, Justin)
                               (Entered: 01/03/2022)
  01/04/2022              J.3 This attorney case opening filing has been checked for quality control. See the attachment
                               for corrections that were made. (Flanagan, Doreen) (Entered: 01/04/2022)
  01/04/2022                   Case Assigned to Judge Ann M Donnelly and Magistrate Judge Anne Y. Shields. Please
                               download and review the Individual Practices of the assigned Judges, located on our
                               website. Attomevs
                                        Attorneys are responsible for providing courtesy
                                                                                courtesv copies to judges where their
                               Individual Practices require such. (Flanagan, Doreen) (Entered: 01/04/2022)
  01/04/2022              4~ In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
                             the parties are notified that if all parties consent a United States magistrate judge of this
                             court is available to conduct all proceedings in this civil action including a Gury
                                                                                                             (jury or
                             nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a blank
                                                   form that should be filled out, signed and filed electronically only if
                             copy of the consent form
                             all parties wish to consent. The form may also be accessed at the following link:
                             http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may
                             httP-://www.uscourts.gov/uscourts/FormsAndFees/Forms/A0085.ndf.                 mav withhold
                             your consent without adverse substantive consequences. Do NOT return or file the
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                               consent unless all parties have signed the consent. (Flanagan, Doreen) (Entered:
                               01/04/2022)
  02/15/2022              -5.5 NOTICE of Appearance by Adam Michael Birnbaum on behalf of All Plaintiffs ((aty
                                                                                                           aty to be
                               noticed) (Birnbaum, Adam) (Entered: 02/15/2022)
  02/15/2022              6 Proposed Summons. Re 2 Proposed Summons/Civil Cover Sheet by Daniel Haller, Long
                          Q
                            Island Surgical PLLC (Attachments: # 1 Proposed Summons for Director Kiran Ahuja, # 2
                                                                         Labor, # J
                            Proposed Summons for U.S. Department of Labor,#       3 Proposed Summons for U.S.
                            Department of Health and Human Services,#~
                                                               Services, # 4 Proposed Summons for U.S. Office of
                            Personnel Management, # -5_5 Proposed Summons for Secretary Xavier Becerra, # Q 6
                            Proposed Summons for Secretary Martin J. Walsh, # 1   7 Proposed Summons for Secretary
                                  Yellen, # .8.8 Proposed Summons for U.S. Department of the Treasury) (Birnbaum,
                            Janet Yellen,#
                            Adam) (Entered: 02/15/2022)
  02/18/2022                   Your proposed summons was not issued for one of the following reasons: The CLERK
                               OF COURT name needs to be updated., As of 2/1/2022, Brenna B. Mahoney is the
                               Clerk of Court for the Eastern District of New York.

                               Please correct and resubmit using Proposed Summons/Civil Cover Sheet. *Also please
                                                                                                     *Also
                               submit one proposed summons with attached rider. (Guzzi, Roseann) (Entered:
                               02/18/2022)
  02/18/2022              17 Proposed Summons. Re 2 Proposed Summons/Civil Cover Sheet by Daniel Haller, Long
                               Island Surgical PLLC (Birnbaum, Adam) (Entered: 02/18/2022)
  02/22/2022              .8.8 Summons Issued as to Kiran Ahuja, Xavier Becerra, U.S. Department of Health and
                               Human Services, U.S. Department of Labor, U.S. Department of the Treasury, U.S. Office
                               of Personnel Management, Martin J. Walsh, Janet Yellen. (Guzzi, Roseann) (Entered:
                               02/22/2022)
  03/09/2022              9 NOTICE of Appearance by Mordecai Geisler on behalf of All Plaintiffs (aty to be noticed)
                          2
                               (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            10 AFFIDAVIT of Service for Summons and Complaint served on U.S. Department of Health
                           and Human Services on March 2,  2022, filed by Daniel Haller, Long Island Surgical
                                                         2,2022,
                           PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            11 AFFIDAVIT of Service for Summons and Complaint served on Xavier Becerra, Secretary,
                               Department of Health and Human Services on March 2, 2022, filed by Daniel Haller, Long
                               Island Surgical PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            12 AFFIDAVIT of Service for Summons and Complaint served on U.S. Office of Personnel
                           Management on March 2,    2022, filed by Daniel Haller, Long Island Surgical PLLC.
                                                  2,2022,
                           (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            13 AFFIDAVIT of Service for Summons and Complaint served on KiranAhuja,
                                                                                          Kiran Ahuja, Director,
                           U.S. Office of Personnel Management on March 2,   2022, filed by Daniel Haller, Long
                                                                           2,2022,
                           Island Surgical PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            14 AFFIDAVIT of Service for Summons and Complaint served on U.S. Department of Labor
                           on March 2, 2022, filed by Daniel Haller, Long Island Surgical PLLC. (Geisler, Mordecai)
                                     2,2022,
                           (Entered: 03/09/2022)
  03/09/2022            15 AFFIDAVIT of Service for Summons and Complaint served on Martin J. Walsh, Secretary,
                           U.S. Department of Labor on March 2, 2022, filed by Daniel Haller, Long Island Surgical
                           PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)


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  03/09/2022            16 AFFIDAVIT of Service for Summons and Complaint served on U.S. Department of
                                             2,2022,
                           Treasury on March 2, 2022, filed by Daniel Haller, Long Island Surgical PLLC. (Geisler,
                           Mordecai) (Entered: 03/09/2022)
  03/09/2022            17 AFFIDAVIT of Service for Summons and Complaint served on Janet Yellen, Secretary,
                           Department of Treasury on March 2,  2022, filed hy
                                                            2,2022,        by Daniel Haller, Long Island Surgical
                           PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            18 AFFIDAVIT of Service for Summons and Complaint served on Merrick Garland, U.S.
                           Attorney General on March 2,  2022, filed hy
                                                       2,2022,       by Daniel Haller, Long Island Surgical PLLC.
                           (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            19 AFFIDAVIT of Service for Summons and Complaint served on U.S. Department of
                           Justice, Assistant Attorney General for Administration on March 2, 2022, filed hy
                                                                                                          by Daniel
                           Haller, Long Island Surgical PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  03/09/2022            20 AFFIDAVIT of Service for Summons and Complaint served on U.S. Attorney, Eastern
                           District of New York on March 2, 2022, filed by
                                                                        hy Daniel Haller, Long Island Surgical
                           PLLC. (Geisler, Mordecai) (Entered: 03/09/2022)
  04/01/2022            21 MOTION for Preliminary Injunction Order to Show Cause hyby Daniel Haller, Long Island
                           Surgical PLLC. (Spolzino, Robert) (Entered: 04/01/2022)
  04/01/2022            22 AFFIDAVIT/DECLARATION in Support re 21 MOTION for Preliminary Injunction
                           Order to Show Cause filed hy
                                                     by Daniel Haller, Long Island Surgical PLLC. (Spolzino,
                           Robert) (Entered: 04/01/2022)
  04/01/2022            23     MEMORANDUM in Support re 22 Affidavit in Support of Motion, 21 MOTION for
                               Preliminary Injunction Order to Show Cause filed hy
                                                                                by Daniel Haller, Long Island Surgical
                               PLLC. (Spolzino, Robert) (Entered: 04/01/2022)
  04/01/2022                                 21 Motion for Preliminary Injunction.
                               ORDER denying 21

                               The plaintiffs submit 21
                                                     21 an "ex
                                                           "exparte application for a temporary restraining order and
                               order to show cause why Defendants should not he   be preliminarily enjoined from
                               implementing, enforcing, or otherwise carrying out the specific provisions of the" the" No
                               Surprises Act and governing regulations. "No ex parte order, or order to show cause to
                               bring on a motion, will he
                                                       be granted except upon a clear and specific showing hy    by affidavit of
                               good and sufficient reasons why a procedure other than hy  by notice of motion is necessary."
                               Gullas v. 37-31 73rd St. Owners Corp., No. 12-CV-2301, 2012 WL 1655520, at *1
                               (E.D.N.Y. May 10,10,2012)          Loc. Civ. R. 6.l(d)).
                                                   2012) (quoting Loe.           6.1(d)). "A temporary restraining order
                                    be issued without notice only if
                               may he                                'specific facts in an affidavit or a verified complaint
                                                                  if'specific
                               clearly show that immediate and irreparable injury, loss, or damage will result to the
                               movant before the adverse party can hebe heard in opposition."'  FEI Hong Kong Co. Ltd. v.
                                                                                  opposition.'" FEIHong
                               Globa!Foundries,
                               GlobalFoundries, Inc., No. 20-CV-2342, 2020 WL 1444956, at *2 (S.D.N.Y. Mar. 25,
                               2020) (quoting Fed. R. Civ. P. 65(b)(l)(A)).
                                                              65(b)(1)(A)).

                                                                                     21 22 23 about why ex parte relief is
                               There is no discussion in the plaintiffs' submissions 21
                                                                                                       by affidavit of good
                               appropriate. The plaintiffs have not made a clear and specific showing hy
                               and sufficient reasons why a procedure other than hyby notice of motion is necessary.
                                        by Judge Ann M. Donnelly on 4/1/2022. (Mathew, Joshua) (Entered: 04/01/2022)
                               Ordered hy
  04/04/2022            24 NOTICE of Appearance by hy Anna Lynn Deffebach on behalf of All Defendants (aty to be
                                                                                                              he
                           noticed) (Deffebach, Anna) (Entered: 04/04/2022)
  04/04/2022            25     MOTION for Preliminary Injunction hy by Daniel Haller, Long Island Surgical PLLC.
                               (Spolzino, Robert) (Entered: 04/04/2022)

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  04/04/2022                   ORDER. The Court has received the plaintiffs' notice 25 of motion for a preliminary
                                                                                   briefletter
                               injunction. The plaintiffs are directed to submit a brief letter advising the Court whether
                               they will file a declaration and memorandum in support of the motion, or if they intend to
                               rely on the previously-filed submissions 22 23 . Ordered hy  by Judge Ann M. Donnelly on
                               4/4/2022. (Mathew, Joshua) (Entered: 04/04/2022)
  04/05/2022            26 Letter in response to Court's minute entry ofApril 4,
                                                                              4, 2022 by
                                                                                      hy Daniel Haller, Long Island
                           Surgical PLLC (Kelton, Justin) (Entered: 04/05/2022)
  04/05/2022                   SCHEDULING ORDER: The defendants are directed to file their opposition to the
                               plaintiffs' motion for preliminary injunction hy by April 19, 2022, and the plaintiffs are
                               directed to file their reply, if any, by
                                                                     hy April 26, 2022. A hearing on the plaintiffs' motion for
                                                                              26,2022.
                               a preliminary injunction is scheduled for May 3,   3,2022
                                                                                    2022 at 3:30 p.m. in Courtroom 4G
                               North. Ordered hy by Judge Ann M. Donnelly on 4/5/2022. (Mathew, Joshua) (Entered:
                               04/05/2022)
  04/07/2022                      by Kiran Ahuja, Xavier Becerra, U.S. Department of Health and Human Services,
                        27 Letter hy
                           U.S. Department of Labor, U.S. Department of the Treasury, U.S. Office of Personnel
                           Management, Martin J. Walsh, Janet Yellen (Deffebach, Anna) (Entered: 04/07/2022)
  04/08/2022            28     Letter in Response to Defendants' Letter dated April 7, 2022 hy
                                                                                            by Daniel Haller, Long Island
                               Surgical PLLC (Geisler, Mordecai) (Entered: 04/08/2022)
  04/08/2022                   SCHEDULING ORDER: The Court has received the parties' letters 27 28 . The
                               defendants' request to waive the pre-motion conference requirement in anticipation of a
                               motion to dismiss is granted.

                               The parties state that one or more non-parties will seek to participate in this action as amici
                               curiae, but
                                       hut do not identify them. "District Courts have broad discretion in deciding
                               whether to accept amicus briefs." Jamaica Hosp. Med. Ctr., Inc. v. United Health Grp.,
                               Inc., 584 F. Supp. 2d  489,497 (E.D.N.Y. 2008) (citation omitted). "Additionally, the
                                                  2d489,497
                               circumstances under which an amicus brief is considered 'desirable' are limited[.]" Id. The
                               parties have not shown that those circumstances are present here.

                               The revised briefing schedule does not include amicus briefing, but
                                                                                                 hut accommodated the
                               defendants' anticipated motion to dismiss. The defendants' memorandum in opposition to
                               the plaintiffs' motion for a preliminary injunction and in support of their motion to dismiss
                                      by April 26,
                               is due hy            2022 and must not exceed 40 pages. The plaintiffs' memorandum in
                                                26,2022
                               opposition to the defendants' motion to dismiss and reply in support of their motion for a
                               preliminary injunction is due hyby May 24,  2022 and must not exceed 40 pages. The
                                                                       24,2022
                               defendants' reply in support of their motion to dismiss is due hy
                                                                                              by May 31,   2022 and must
                                                                                                       31,2022
                               not exceed 10 pages. A hearing on the plaintiffs' motion for a preliminary injunction and
                               the defendants' motion to dismiss is scheduled for June 7, 2022 at 10:00 a.m. in Courtroom
                               4G North. Ordered hy by Judge Ann M. Donnelly on 4/8/2022. (Mathew, Joshua) (Entered:
                               04/08/2022)
  04/26/2022            29 Notice of MOTION to Dismiss for Failure to State a Claim and Opposition to Plaintiffs'
                           Motion for a Preliminary Injunction hy
                                                               by KiranAhuja,
                                                                  Kiran Ahuja, Xavier Becerra, U.S. Department of
                           Health and Human Services, U.S. Department of Labor, U.S. Department of the Treasury,
                           U.S. Office of Personnel Management, Martin J. Walsh, Janet Yellen. (Deffebach, Anna)
                           (Entered: 04/26/2022)
  04/26/2022            30 MEMORANDUM in Opposition re 25 MOTION for Preliminary InjunctionInjunction,,
                           MEMORANDUM in Support ofDefendants'Motion
                                                           Defendants' Motion to Dismiss filed hy
                                                                                               by All Defendants.
                           (Deffebach, Anna) (Entered: 04/26/2022)


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  05/24/2022            31 MEMORANDUM in Opposition to Defendants' Motion to Dismiss, and in Further
                           Support ofPlaintiffs' Motion for a Preliminary Injunction filed by All Plaintiffs. (Spolzino,
                           Robert) (Entered: 05/24/2022)
  05/30/2022            32 NOTICE of Appearance by Joseph Anthony Marutollo on behalf of All Defendants (aty to
                           be noticed) (Marutollo, Joseph) (Entered: 05/30/2022)
  05/31/2022            33     REPLY in Support re 29 Notice of MOTION to Dismiss for Failure to State a Claim and
                               Opposition to Plaintiffs' Motion for a Preliminary Injunction filed by All Defendants.
                               (Deffebach, Anna) (Entered: 05/31/2022)
  06/02/2022            34 NOTICE of Appearance by Joel McElvain on behalf of All Defendants ((aty
                                                                                               aty to be noticed)
                           (McElvain, Joel) (Entered: 06/02/2022)
  06/07/2022                   Minute Entry for proceedings held before Judge Ann M. Donnelly: Motion Hearing held
                               on 6/7/2022 re 25 Motion for Preliminary Injunction filed by the plaintiffs and 29 Motion
                               to Dismiss for Failure to State a Claim filed by the defendants. Robert Spolzino and Justin
                               Kelton appeared for the plaintiffs. Anna Deffebach, Joel McElvain and Joseph Marutollo
                               appeared for the defendants. Case called. Discussion held. (Court Reporter Michele
                               Lucchese.) (Mathew, Joshua) (Entered: 06/07/2022)
  08/10/2022            35     MEMORANDUM DECISION AND ORDER. The plaintiffs' motion for preliminary
                               injunction is denied. The plaintiffs' Seventh Amendment and takings claims are dismissed
                               with prejudice. Their due process claim is unripe and is dismissed for lack of subject
                               matter jurisdiction without prejudice. Ordered by Judge Ann M. Donnelly on 8/10/2022.
                               (Greene, Donna) (Entered: 08/10/2022)
  08/11/2022            36     JUDGMENT: It is ORDERED and ADJUDGED that the plaintiffs' motion for preliminary
                               injunction is denied; that the plaintiffs' Seventh Amendment and takings claims are
                               dismissed with prejudice; and that their due process claim is unripe and is dismissed for
                               lack of subject matter jurisdiction without prejudice. Ordered by Jalitza Poveda, Deputy
                               Clerk on behalf  of Brenna B. Mahoney, Clerk of Court on 8/11/2022. (Latka-Mucha,
                                         behalfofBrenna
                               Wieslawa) (Entered: 08/12/2022)
  09/16/2022            37     Letter MOTION to Withdraw as Attorney by Daniel Haller, Long Island Surgical PLLC.
                               (Kelton, Justin) (Entered: 09/16/2022)
  09/28/2022                   ORDER granting 37 Motion to Withdraw as Attorney: In light of the fact that this matter is
                               closed, and all claims have been dismissed, the application is granted. Attorney Justin
                               Tyler Kelton; Edward A. Smith; Robert A. Spolzino; Adam Michael Birnbaum and
                               Mordecai Geisler terminated. So Ordered by Magistrate Judge Anne Y. Shields on
                               9/28/2022. (Minerva, Deanna) (Entered: 09/28/2022)
  10/31/2022            38     NOTICE of Appearance by Nicholas Joseph Wilder on behalf of All Plaintiffs (aty to be
                               noticed) (Wilder, Nicholas) (Entered: 10/31/2022)
  10/31/2022            39     First MOTION for Extension of Time to File Notice ofAppeal by Daniel Haller, Long
                               Island Surgical PLLC. (Attachments: # 1 Affidavit in Support, # 2.2 Exhibit Judgment, # .3.
                                                                                                                         3
                               Exhibit Physician's Letter, # ~
                                                             4 Exhibit Surgery Notes, # ~5 Exhibit Aff. of Goldberg, # Q
                                                                                                                       6
                               Exhibit Notice of Appeal,
                                                 Appeal,# #17 Memorandum in Support Memorandum of Law) (Wilder,
                               Nicholas) (Entered: 10/31/2022)
  10/31/2022            40 NOTICE by Daniel Haller, Long Island Surgical PLLC Notice ofAppeal (Wilder,
                           Nicholas) (Entered: 10/31/2022)
  11/01/2022                                                                                         plaintiffs motion to
                               SCHEDULING ORDER directing the defendants to respond to 39 the plaintifl's
                               extend the time to file a notice of appeal before November 7,
                                                                                          7,2022.
                                                                                             2022. Ordered by Judge Ann
                               M. Donnelly on 11/1/2022. (CG) (Entered: 11/01/2022)

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  11/02/2022            41 RESPONSE to Motion re 39 First MOTION for Extension of Time to File Notice of
                           Appeal Notifying Court ofDefendants' Non-Opposition filed by All Defendants.
                           (Deffebach, Anna) (Entered: 11/02/2022)
  11/03/2022                                             plaintiffs motion to extend time to file a notice of appeal.
                               ORDER granting 39 the plaintiff's
                               Because one of the parties is a United States agency, the plaintiff was required to file his
                               notice of appeal within 60 days after the entry of judgment. Fed. R. App. P. 4(a)(l)(B).
                                                                                                              4(a)(1)(B).
                               Judgment entered on the court's order denying the plaintiff's
                                                                                    plaintiffs motion for a preliminary
                               injunction and granting the defendant's motion to dismiss on August 11, 2022.
                                                plaintiffs time to file a notice of appeal lapsed on October 11,
                               Accordingly, the plaintiff's                                                       2022.
                                                                                                               11,2022.
                               However, the Court may extend the time to file a notice of appeal for good cause or
                               excusable neglect if the motion is made within 30 days of the expiration. Fed. R. App. P.
                               4(a)(5)(A). The plaintiff filed his motion for an extension of time on October 31,
                                                                                                                31,2022.
                                                                                                                    2022.

                              An excusable neglect standard is appropriate here because the plaintiffs
                                                                                              plaintiff's delay was
                              partially caused by his substitution of counsel. Alexander v. Saul, 5 F.4th 139,  142 (2d Cir.
                                                                                                           139,142
                                      cert, denied sub nom. Alexander v. Kijakazi, 212 L.Ed. 2d 548,
                              2021), cert.                                                             142 S. Ct. 1461
                                                                                                  548,142
                              (2022) ("[t]he excusable neglect standard applies when the need for an extension results
                              from factors within the movant's control.") The Court finds that the plaintiff counsel's
                              neglect was excusable here, because the illness which prevented a timely filing was "so
                              physically and mentally disabling that counsel [was] unable to file the appeal[.]" Michael
                              Aksman, v.v. Greenwich Quantitative Research LP, No. 20-CV-8045,
                                                                                     20-CV-8045,20212021 WL 6551082, at
                              *2 (S.D.N.Y. Dec. 21, 2021). Ordered by JudgeAnnM.
                                                                         Judge Ann M. Donnelly on 11/3/2022. (CG)
                              (Entered: 11/03/2022)
  11/09/2022            42 Letter Concerning the 1-3-22 Order by Daniel Haller, Long Island Surgical PLLC (Wilder,
                           Nicholas) (Entered: 11/09/2022)
  11/09/2022                   SCHEDULING ORDER: The Court acknowledges receipt of 42 the plaintiffsplaintiff's letter. The
                               plaintiff must file his notice of appeal before November 17, 2022. Ordered by Judge Ann
                                                                                        17,2022.
                               M. Donnelly on 11/9/2022. (CG) (Entered: 11/09/2022)
  11/17/2022            43     NOTICE by Daniel Haller, Long Island Surgical PLLC Notice ofAppeal (Wilder,
                               Nicholas) (Entered: 11/17/2022)
  11/29/2022                   Incorrect Case/Document/Entry Information. As per email from Central Islip clerks office
                               advised that Counsel filed document #43 incorrectly as a notice. Counsel shall refile. (RG)
                               (Entered: 11/29/2022)
  11/29/2022                   SCHEDULING ORDER: The plaintiff is directed to file a corrected notice of appeal by
                               November 30, 2022. Ordered by Judge Ann M. Donnelly on 11/29/2022. (CG) (Entered:
                               11/29/2022)
  11/30/2022            44 NOTICE OF APPEAL by Daniel Haller, Long Island Surgical PLLC. Filing fee$
                                                                                                 fee $ 505,
                           receipt number ANYEDC-16179990. (Wilder, Nicholas) (Entered: 11/30/2022)
  11/30/2022                   Electronic Index to Record on Appeal sent to US Court of Appeals. 44 Notice of Appeal
                               Documents are available via Pacer. For docket entries without a hyperlink or for
                               documents under seal, contact the court and we'll arrange for the document(s) to be made
                               available to you. (VJ) (Entered: 11/30/2022)



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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK



DR. DANIEL HALLER and LONG ISLAND
DR
SURGICAL PLLC,
                                      Plaintiffs,
                  - against -
                  -against-

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES, 200 Independence
Avenue SW, Washington, DC 20201,
and
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services, 200
Independence Avenue SW, Washington, DC
[ndependence
20201,
20201,


U.S. OFFICE OF PERSONNEL
                      StreetNW
MANAGEMENT, 1900 E Street   NW
Washington, DC 20415,
and
KIRAN AHUJA, in her official capacity as
Director of the U.S. Office of
                            ofPersonnel
                               Personnel
                      StreetNW
Management, 1900 E Street    NW Washington,
DC 20415,

U.S. DEPARTMENT OF LABOR, 200
Constitution Avenue NW Washington, DC
20210,
20210,
and
MARTIN J. WALSH, in his official capacity as
Secretary of Labor, 200 Constitution Avenue
NW Washington, DC 20210,

U.S. DEPARTMENT OF THE TREASURY,
1500 Pennsylvania Avenue NW, Washington,
DC 20220,
and
IANET YELLEN, in her official capacity as
JANET
Secretary of the Treas
Secreta          Treasury,, 1500 Penns
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Avenue NW Washington, DC 20220,
                                           Defendants.




                    COMPLAINT
                    C o m p l a i n t FOR
                                      f o r DECLARATORY
                                            D e c l a r a t o r y aAND
                                                                    n d INJUNCTIVE
                                                                        I n j u n c t i v e RELIEF
                                                                                            Re l ie f


       Plaintiffs, by their attorneys, Abrams, Fensterman, Fensterman, Eisman, Formato, Ferrara,

Wolf & Carone, LLP, complaining of the defendants, allege as follows:

        1. This is an action for a declaration that three provisions of the No Surprises Act, Pub.

L. 116-260 (the "Act"),
                “Act”), are unconstitutional, and for an injunction prohibiting its enforcement. The

provisions in issue are 42 U.S.C. § 300gg-ll l(c), which determines the rates health care plans are
                                    300gg-lll(c),

required to pay to out-of-network physicians, i.e., physicians with whom they do not have direct

contractual relationships, and establishes an "independent
                                              “independent dispute resolution process”
                                                                              process" to adjudicate

disputes with respect to those rates, and 42 U.S.C. § 300gg-131 and 300gg-132, which prohibit

physicians from billing patients for the amounts of their fees that the health care plans are not

required to pay.

       2. The Act was passed on December 27, 2020, as part of the Consolidated Appropriations

Act, 2021. Its requirements generally go into effect on January 1, 2022.

       3. The Act restricts the amount that physicians are entitled to be paid for their services by

patients and by health care plans with which the physicians do not have contractual relationships.

It impermissibly delegates the authority to determine the physicians’
                                                          physicians' state-created common law

claims to an administrative tribunal. It deprives physicians of the right to aajury
                                                                               jury trial guaranteed to

them by the Seventh Amendment to the Unites States Constitution. It violates the Due Process

Clause of the Fifth Amendment to the United States Constitution by requiring physicians to

adjudicate their claims against health plans in an "independent
                                                   “independent dispute resolution process”
                                                                                   process" that is


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not independent at all because the health plans unilaterally define the standard by which the

physicians' claims are determined. It takes the physicians’
physicians’                                     physicians' property without just compensation by

prohibiting physicians from recovering the balance of the fair value of their services from their

patients.

        4. This is also an action under the Administrative Procedure Act to set aside specific

provisions of an interim final rule entitled "Requirements
                                             “Requirements Related to Surprise Billing; Part II,"
                                                                                             II,” 86

Fed. Reg. 55,980 (Oct. 7, 2021) (the "Rule"),
                                     “Rule”), issued by the Department of Health and Human

Services, the Department of Labor, the Department of the Treasury, and the Office of Personnel

                              “Departments”) because the Rule is inconsistent with the express
Management (collectively, the "Departments")

terms of the Act.

        5. The Rule purports to implement provisions of the Act with respect to the rate at which

physicians must be paid by health plans, but effectively ignores the factors that the Act requires be

used in setting the payment rate and, instead, creates a presumption in favor of just one of these

factors - the "qualifying
              “qualifying payment amount"    “QPA” -which
                                  amount” or "QPA" - which is determined solely by the health

plans, and is based on in-network (as opposed to out-of-network) data to which the out-of-network

providers are not privy.

                                    J u r i s d i c t i o n AND
                                    JURISDICTION                  Ve nue
                                                            a n d VENUE


                     hasjurisdiction
        6. The Court has jurisdiction over this action under 28 U.S.C. § 1331.

        7. The Court has the authority to grant the requested declaratory and injunctive relief

under the Administrative Procedure Act and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-

2202.




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         8. Venue isVenue
                     properis in this judicial
                               proper          district under
                                       in thisjudicial  district28under
                                                                   U.S.C.
                                                                        28 §U.S.C.
                                                                             139l(e)(l)(C) becausebecause
                                                                                   § 1391(e)(1)(C) this is this is

an action against officers and agencies of the United States and Plaintiffs reside in the Eastern

District of New York.
         ofNew


                                                PARTIES
                                                Pa r t ie s

         9. Plaintiff Dr. Daniel Haller is an acute care surgeon with his principal office at c/o Long

Island Surgical PLLC, 2000 North Village Avenue, Rockville Center, New York 11570.

         10.   Plaintiff Long Island Surgical PLLC is a New York professional limited liability

company with its principal office at 2000 North Village Avenue, Rockville Center, New York

11570.

         11.   Plaintiffs are residents of Nassau County, New York, which is within the Eastern

District of New York.
         ofNew

         12.   Dr. Haller and the other surgeons of Long Island Surgical PLLC perform

approximately 2,682 emergency consultations and surgical procedures on patients admitted to

hospitals through their emergency departments each year.

         13.   Approximately 78% of the patients that Dr. Haller and Long Island Surgical PLLC

treat each year are covered by health plans with whom Dr. Haller and Long Island Surgical PLLC

have no contractual relationship. With respect to those patients, Dr. Haller and Long Island

Surgical PLLC are nonparticipating providers within the meaning of the Act whose fees will be

determined by the Act and the procedures it establishes.

         14.   Defendant Department of Health and Human Services is an executive department of

the United States headquartered in Washington, D.C.

         15.   Defendant Department of the Treasury is an executive department of the United

States headquartered in Washington, D.C.


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        16.     Defendant Department of Labor is an executive department of the United States

headquartered in Washington, D.C.

        17.     Defendant Office of Personnel Management ("OPM")
                                                         (“OPM”) is an executive agency of the

United States headquartered in Washington, D.C.

        18.     Defendant Xavier Becerra is the Secretary of Health and Human Services. Secretary
                                                          ofHealth

Becerra is sued in his official capacity only.

        19.     Defendant Janet Yellen is the Secretary of the Treasury. Secretary Yellen is sued in

her official capacity only.

        20.     Defendant Martin J. Walsh is the Secretary of Labor. Secretary Walsh is sued in his

official capacity only.

        21.     Defendant Kiran Ahuja is the Director ofOPM.
                                                      of OPM. Director Ahuja is sued in her official

capacity only.


                          A l l EGA
                          ALL   e g a tTIO NS
                                        io n   C o m m o n TO
                                             s COMMON      t o aALL  C a u s e s OF
                                                                 l l CAUSES          A c t io n
                                                                                 o f ACTION


        22.     A physician who treats a patient is entitled under New York law to be paid for his or

her services.

        23.     Where there is an agreement between the physician and the patient with respect to

    physician's fee, the physician is entitled under New York law to be paid the agreed upon fee.
the physician’s

        24.     Where the patient is covered by a health plan and the physician has entered into a

contract with the health plan to treat the patient for a particular fee, or for a fee to be determined

                                         i. e., the physician is "in
in accordance with a particular formula, i.e.,                       network," the physician is entitled
                                                                 “in network,”

under New York law to be paid the agreed upon fee by the health plan and customarily agrees to

waive recovery of the balance of the fee from the patient.




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       25.   Where the patient is covered by a health plan and the physician does not have an

agreement with that health plan, i.e., the physician is "out-of-network"
                                                        “out-of-network” or "nonparticipating,"
                                                                            “nonparticipating,” and

the patient assigns his or her right to benefits to the physician, the physician is entitled under New

York law to be paid by the health plan in the amount required by the health plan’s
                                                                            plan's contract with

the patient and the patient is obligated to pay the balance of the amount due to the physician

pursuant to the agreement between the physician and the patient.

       26.   In those situations where the patient requires emergency services and has not agreed

with the physician on the physician's
                          physician’s fee, and may not have even spoken with the physician before

the services are rendered, the physician is entitled under New York law to be paid for the services

he or she has rendered on the basis of an implied contract with the patient.

       27.   The amount to which the physician is entitled pursuant to the implied contract is

determined, under New York common law, in quantum meruit, on the basis of the reasonable value

of the services that the physician has provided.

       28.   The determination of the reasonable value of services provided by a physician for

purposes of a quantum meruit claim under New York law involves an analysis of usual and

customary charges for the service provided, among other factors.

       29.   In October 2014, the New York State Legislature adopted the New York State

Emergency Medical Services and Surprise Bill Act (the "New
                                                      “New York Surprise Bill Act”).
                                                                              Act"). The New

York Surprise Bill Act applies where the patient is covered by a health plan regulated by the State

ofNew
of New York, the physician is an out-of-network or nonparticpating provider with respect to that

health plan, and the patient has assigned his or her benefits to the physician. Financial Services

Law § 605(a).




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       30.   The New York Surprise Bill Act prohibits an out-of-network physician from billing

a patient who receives emergency care (and certain post-stabilization care) for the balance of the

physician's fee that the patient’s
physician’s              patient's health plan will not pay, but, as under the common law, the

                                          “usual and customary cost of the service,"
physician remains entitled to recover the "usual                           service,” Financial

Services Law § 604(f), an approach one court has described in dicta as "akin
                                                                       “akin to the common law

approach.”
approach."

       31.   Assaa result, under current New York law, including the New York Surprise Bill Act,
             A

physicians, including physicians providing services to patients who require emergency services

and have not agreed with the physician on the physician’s
                                              physician's fee, are entitled to be paid the reasonable

value of the services they provide to the patient.

       32.   The Act deprives the physician of this right under New York law to be paid the

reasonable value of the physician’s
                        physician's services.

       33.   The Act provides that a non-participating provider "shall
                                                                “shall not bill, and shall not hold

[the patient] liable"
              liable” for any amount beyond what the patient’s
                                                     patient's health plan pays the physician. 42

U.S.C. §§ 300gg-13l(a);
          300gg-131(a); 300gg-132(a).

       34.   The Act also determines the amount that the health plan must pay for the physician’s
                                                                                      physician's

services, regardless of the physician's
                            physician’s right under New York law to be paid their reasonable value.

       35.   Under the Act, the fee for the physician’s
                                            physician's services is determined in accordance with

either (i) "a
           “a specified State law with respect to such plan, coverage, or issuer, respectively,"
                                                                                  respectively,” if the

state in which the services are provided has such a law; or (ii) "an
                                                                 “an All-Payer Model Agreement

under section 1315a of this title [the Social Security Act];"
                                                       Act];” or (iii) if the state has no such law or

agreement and the physician and the health plan cannot agree upon the fee, the amount determined

by an "independent
      “independent dispute resolution process”                         i.e., by arbitration. 42
                                      process" established by the Act, i.e.,



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U.S.C. § 300gg(a)(3)(H).

         36.    The independent dispute resolution process established by the Act is a "baseball-
                                                                                       “baseball-

style” arbitration in which the provider and health plan each submit their best and final offers for
style"

the amount each considers to be reasonable payment. Specifically, once an arbitrator is selected,

the provider and the health plan have 10 days to submit (1) an offer for a payment amount, (2) any

information requested by the arbitrator, and (3) any additional information the party wishes the

arbitrator to consider, including information relating to statutory factors the arbitrator must

          42U.S.C.
consider. 42 U.S.C. § 300gg-lll(c)(5)(B), (C)(ii).

         37.                                               “shall ...
                The arbitrator then reviews the offers and "shall . . . select one of the offers"
                                                                                          offers” after

"taking
“taking into account the considerations in subparagraph (C),"
                                                        (C),” which are: the qualifying payment

amounts . .. . . for the applicable year for comparable services that are furnished in the same

geographic region and any additional information that is submitted, including the level of training,

experience, and quality and outcomes measurements of the physician, the market share held by the

physician or that of the plan in the geographic region in which the item or service was provided,

and demonstrations of good faith efforts (or lack of good faith efforts) made by the physician to

enter into network agreements and, if applicable, contracted rates with the health plan during the

previous four plan years. 42 U.S.C. § 300gg-ll
         fourplanyears.                        l(c )(5)(C)(i), (ii).
                                      300gg-lll(c)(5)(C)(i),

         38.    The qualifying payment amount CQP A") is defined by the Act as the "median
                                              (“QPA”)                              “median of the

                               the" insurer as of January 31, 2019 in the same insurance market
contracted rates recognized by the”

for "the
    “the same or similar item or service"
                                 service” provided by a provider "in
                                                                 “in the same or similar specialty

and ...
    . . . geographic region,”
                     region," increased by inflation over the base year. 42 U.S.C. § 300gg-

llll(a)(3)(E)(i).
   l l(a)(3)(E)(i).




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        39.   In addition to determining what the arbitrator may consider, the Act also identifies

factors that the arbitrator cannot consider: (i) usual and customary charges; (ii) the amount the

provider would have billed for the item or service if the Act's
                                                          Act’s billing provisions did not apply; and

                                                                 Id.§§ 300gg-lll(c)(5)(D).
(iii) the amount a public payer (like Medicare) would have paid. Id.

        40.   The Act provides that the determination made in the "independent
                                                                  “independent dispute resolution

process" is binding upon the parties and is not subject to
process”                                                   judicial review except in cases of fraud,
                                                        tojudicial

bias, misconduct or where the arbitrator exceeded his or her authority. 42 U.S.C. § 300gg-

lll(c)(5)(E)(i)(II).
ll l(c)(5)(E)(i)(II).

        41.   The Act requires that the arbitrator consider each of these factors in determining

which offer to select and left it to the discretion and expertise of the arbitrator to decide how much

weight to give each factor in light of the facts and circumstances of a particular case. It does not

give presumptive weight to any single factor.

        42.   Congress did not authorize the Departments to determine how the statutory factors

should be considered.

        43.                                                       “must presume that the QPA is [the]
              Despite this, the Rule provides that the arbitrator "must

appropriate” out-of-network rate and "must
appropriate"                         “must select the offer closest to the QPA"
                                                                           QPA” unless the

physician "clearly
          “clearly demonstrates"
                   demonstrates” that the QPA is "materially
                                                 “materially different from the appropriate out-

           rate.” 45 C.F.R. § 149.510(c)(4)(ii)(A) (emphasis added); 86 Fed. Reg. at 55,995.
of-network rate."

        44.   The Rule further provides that if the arbitrator does not choose the offer closest to the

QPA, it must provide a "detailed
                       “detailed explanation"
                                 explanation” as to why it found the QPA to be materially different

from the appropriate rate, including a description of "the
                                                      “the additional considerations relied upon,

whether the information about those considerations submitted by the parties was credible, and the

basis upon which the certified IDR entity determined that the credible information demonstrated



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 that the QPA is materially different from the appropriate out-of-network rate."
                                                                          rate.” 86 Fed. Reg. at

 56,000.

           45.    The Rule provides that the arbitrator need not consider any factor beyond the QP
                                                                                                QPAA

 unless "a
        “a party submits information ...
                                     . . . that the certified IDR entity determines is credible."
                                                                                       credible.” 86

 Fed. Reg. at 55,997; see id.
                          id. (entity "must
                                      “must consider"
                                            consider” Congress's
                                                      Congress’s other five mandated factors only

 “to the extent credible information is submitted by a party”).
 "to                                                   party"). There is no such limitation in the Act.

           46.    The Rule then defines "credible
                                        “credible information"
                                                  information” as "information
                                                                  “information that upon critical

 analysis is worthy of belief and is trustworthy."
                                     trustworthy.” 45 C.F.R. § 149.510(a)(2)(v). There is no such

 requirement in the Act.

             7.
           447.   The Rule also affirmatively forbids the arbitrator from scrutinizing the QP A. It states,
                                                                                           QPA.

 “[I]t is not the role of the certified IDR entity to determine whether the QPA has been calculated
 "[I]t

                  correctly[.]” See 86 Fed. Reg. at 55,996. There is no such requirement in the Act.
 by the [insurer] correctly[.]"

           48.    As the Chairman and Ranking Member of the House Ways and Means Committee

 have recently explained in a letter to the Secretaries, the Rule "strays
                                                                  “strays from the No Surprises Act

 in favor of an approach that Congress did not enact in the final law,"
                                                                  law,” since "Congress
                                                                              “Congress deliberately

 crafted the law to avoid any one factor tipping the scales during the IDR process.”
                                                                           process."

 https://www.gnvha.org/wp-content/uploads/2021/10/2021.10.04-REN-KB-Surprise-Billing-
 https://www.gnyha.org/wp-content/uploads/2021/10/2021.10. 04-REN-KB-Surprise-Billing-

 Letter80.pdf (emphasis added).

           49.    A recent letter from 150 other Members of Congress said the same thing. The Rule

 “do[es] not reflect the way the law was written, do[es] not reflect a policy that could have passed
 "do[es]

 Congress, and do[es] not create a balanced process to settle payment disputes."
                                                                      disputes.” Letter from

 Members           of     Congress       to     Department       Secretaries      (Nov.      5,     2021),

 https://wenstrup.house.gov/uploadedfiles/2021.ll.05 no surpnses
 https://wenstrup.house.gov/uploadedfiles/2021.11.05    surprises act letter.pdf.
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         50.     The Act and the Rule effectively allow the health plan to determine the result of the

 "independent
 “independent dispute resolution process.”
                                 process."


                                        S t a t e m e n t OF
                                        STATEMENT             C l a i m s FOR
                                                          o f CLAIMS            Re l ie f
                                                                          f o r RELIEF


                                                           Co u n t I
                                                           COUNT

         Th e A
         THE  ACT
                c t EXCEEDS
                    e x c e e d s THE
                                  t h e AUTHORITY
                                        a u t h o r i t y OF  C o n g r e s s BY
                                                          o f CONGRESS        b y REQUIRING
                                                                                  r e q u i r i n g PHYSICIANS
                                                                                                    p h y s i c i a n s TO
                                                                                                                        t o
           ADJUDICATE THEIR STATE COMMON-LAW CLAIMS FOR PAYMENT BEFORE AN
                       ADMINISTRATIVE TRIBUNAL ESTABLISHED BY CONGRESS


         51.     Plaintiffs repeat and reallege all of the previous allegations in this complaint.

         52.     Congress can require that a right it has created be adjudicated by an administrative

 tribunal it creates.

         53.     Congress has no authority to require that a right created by the common law of the

 State of New York be adjudicated in an administrative tribunal.
       ofNew

         54.     Plaintiffs'
                 Plaintiffs’ right to be paid the reasonable value of the services they have provided to

 patients is established by the common law of the State of New York.
                                                        ofNew

         55.     Congress, therefore, has no authority to require that the plaintiffs’
                                                                           plaintiffs' claims for the

 reasonable value of the services they have provided to patients be determined by the "independent
                                                                                      “independent

 dispute resolution process"
                    process” established by the Act.

         56.     The provisions of the Act which require physicians, including the plaintiffs, to submit

 to the "independent                    process" their claims for the reasonable value of the services
        “independent dispute resolution process”

 they have rendered to patients are illegal and unconstitutional. They must be set aside and their

 enforcement must be enjoined.




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                                                             C o u n t II
                                                             COUNT

               B y REQUIRING
               BY                    p h y s i c i a n s , INCLUDING
                   r e q u i r i n g PHYSICIANS,                             p l a i n t i f f s , TO
                                                           i n c l u d i n g PLAINTIFFS,           t o SUBMIT
                                                                                                       s u b m i t THEIR
                                                                                                                   t h e ir
                CLAIMS FOR THE REASONABLE VALUE OF THE SERVICES THEY HAHAVE
                                                                         VE
                RENDERED TO PATIENTS TO AN "INDEPENDENT
                                           “ INDEPENDENT DISPUTE RESOLUTION
                 PROCESS” IN WHICH THERE IS NO JURY TRIAL, THE ACT DEPRIVES
                 PROCESS"
                 PHYSICIANS, INCLUDING PLAINTIFFS, OF THEIR RIGHT TO TRIAL BY
                                                                 STATES
                  JURY UNDER THE SEVENTH AMENDMENT TO THE UNITED STA TES
                                                         Co n s t it u t io n
                                                         CONSTITUTION


         57.   Plaintiffs repeat and reallege all of the previous allegations in this complaint.

         58.   The Seventh Amendment to the United States Constitution entitles litigants to aajury
                                                                                               jury

 trial with respect to any cause of action at law where the amount in issue is more than $20.

         59.   A physician’s
                 physician's action to recover the reasonable value of services rendered to a patient

 is an action at law where the measure of damages is quantum meruit.
                                                             meruit.

         60.   In every, or nearly every, dispute between a physician and a patient or an insurer, the

 amount in issue is more than $20.

         61.   The Act requires physicians to submit their claims for the reasonable value of the

 services they have provided to patients for determination by the "independent
                                                                  “independent dispute resolution

 process"
 process” established by the Act.

         62.   The "independent
                   “independent dispute resolution process”
                                                   process" established by the Act is binding on

 the parties and does not allow for aajury
                                      jury trial.

         63.   By requiring physicians to submit their claims for the reasonable value of the services

 they have provided to patients for determination by a non-judicial body where there is no jury trial,

 the Act deprives physicians, including Plaintiffs, of their right to a jury trial guarantied by the

 Seventh Amendment to the United States Constitution.




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                                                               C o u n t III
                                                               COUNT

     B y REQUIRING
     BY                    p h y s i c i a n s , INCLUDING
         r e q u i r i n g PHYSICIANS,                             p l a i n t i f f s , TO
                                                 i n c l u d i n g PLAINTIFFS,           t o SUBMIT
                                                                                             s u b m i t THEIR
                                                                                                         t h e i r CLAIMS
                                                                                                                   c l a i m s FOR
                                                                                                                               f o r THE
                                                                                                                                     t he
      REASONABLE VALUE OF THE SERVICES THEY HAVE
                                            HAVE RENDERED TO PATIENTS TO AN
 "INDEPENDENT
 “INDEPENDENT DISPUTE RESOLUTION PROCESS"
                                 PROCESS” WHICH IS NOT INDEPENDENT AT ALL BECAUSE
 THE STANDARD OF DECISION IS DEFINED BY THE ADVERSE PARTY, THE HEALTH PLAN, THE ACT
  DEPRIVES PHYSICIANS, INCLUDING PLAINTIFFS, OF THEIR RIGHT TO DUE PROCESS OF LAW AS
           GUARANTIED BY THE FIFTH AMENDMENT O THE UNITED STATES CONSTITUTION


          64.     Plaintiffs repeat and reallege all of the previous allegations in this complaint.

          65.     The Fifth Amendment to the United States Constitution guarantees to each person

 the right to due process oflaw.
                          of law.

          66.     Due process oflaw
                              of law requires an impartial tribunal that will determine the issues before

 it on the basis of a standard of decision established by law.

          67.     Due process of law is denied where one party to the dispute is given the unilateral

 right to determine the standard of decision.

          68.     The Act requires that the "independent
                                            “independent dispute resolution process”
                                                                            process" determine the

 amount to which a physician is entitled on the basis of the "qualifying
                                                             “qualifying payment amounts ...
                                                                                         . . . for

 the applicable year for comparable services,"
                                    services,” with the potential to also consider additional

                            physician's level of training or experience; acuity of the individual
 circumstances, such as the physician’s

 receiving treatment; market share of the physician or health plan; and demonstrations of good faith

 efforts to enter into network agreements. 42 U.S.C. § 300gg-lll(c)(5)(C). The Act specifically

 excludes consideration of "usual
                           “usual and customary charges;"
                                                charges;” the amount the provider would have

 charged had the No Surprise Act not applied; or the amounts payable under Medicare or Medicaid.

 42U.S.C.§
 42 U.S.C. § 300gg-lll(c)(5)(D).

          69.     The Act defines the "qualifying
                                      “qualifying payment amount"
                                                          amount” as the "median
                                                                         “median of the contracted

                     the" insurer as of January 31, 2019 in the same insurance market for "the
 rates recognized by the”                                                                 “the same

 or similar item or service"
                    service” provided by a provider "in
                                                    “in the same or similar specialty and . . .


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            region,” increased by inflation over the base year. 42 U.S.C. § 300gg-l
 geographic region,"                                                        300gg-lll(a)(3)(E)(i).
                                                                                    l l(a)(3)(E)(i).

        70.     The Act thus defines the amount to which every physician, including the plaintiffs

 are entitled to be paid for their services by the amount the health plan has agreed to pay other

 physicians, subject to the potential consideration of a handful of additional circumstances but

 expressly excluding consideration of the amount the physician would customarily charge.

        71.     By defining the "qualifying
                                “qualifying payment amount"
                                                    amount” on the basis of what the health plan

 has agreed to pay other physicians, while expressly excluding the amounts the physician

 customarily charges, the Act has given one party to the "independent
                                                         “independent dispute resolution process”
                                                                                         process"

 - the health plan - the unilateral right to define the standard by which the outcome of that process

 will be determined.

        72.     The Act therefore deprives physicians, including Plaintiffs, of their property rights to

 the reasonable value of the services they have rendered without due process of law by allowing

 health plans to determine the standard by which the "independent
                                                     “independent dispute resolution process"
                                                                                     process”

 determines physicians’
            physicians' claims.


                                                            C o u n t IV
                                                            COUNT     IV

                B y PROHIBITING
                BY                        p h y s i c i a n s , INCLUDING
                    p r o h i b i t i n g PHYSICIANS,                             p l a i n t i f f s , FROM
                                                                i n c l u d i n g PLAINTIFFS,           f r o m BILLING
                                                                                                                bil l in g
              PATIENTS FOR THE AMOUNTS INSURERS WILL NOT PAY, THE ACT DEPRIVES
                  PHYSICIANS, INCLUDING PLAINTIFFS, OF PROPERTY WITHOUT DUE
                     PROCESS OF LAWAND
                                LAW AND DOES SO WITHOUT JUST COMPENSATION


        73.     Plaintiffs repeat and reallege all of the previous allegations in this complaint.

        74.     Physicians, including Plaintiffs, have the right under New York law to be paid the

 reasonable value of the services they render to patients.

        75.     The "independent
                    “independent dispute resolution process”
                                                    process" established by the Act does not provide

 for the payment to physicians of the reasonable value of their services.



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         76.     Nevertheless, the Act prohibits physicians from billing patients for the reasonable

 value of the services they have rendered that exceeds the amount determined by the "independent
                                                                                    “independent

 dispute resolution process"
                    process” as the health plan’s
                                           plan's responsibility.

         77.      By denying to physicians, including the plaintiffs, the right to bill their patients for

 the reasonable value of the services they have rendered that exceeds the amount determined by the

 "independent
 “independent dispute resolution process,”
                                 process," the Act deprives Plaintiffs of that property right without

 due process oflaw,
             of law, in violation of the Fourteenth Amendment to the United States Constitution.

         78.      By denying to physicians, including the plaintiffs, the right to bill their patients for

 the reasonable value of the services they have rendered that exceeds the amount determined by the

 "independent                    process," the Act deprives Plaintiffs of that property right without
 “independent dispute resolution process,”

 just compensation in violation of the Fifth Amendment to the United States Constitution.


                                                          Co u n t V
                                                          COUNTV

               THE
               T h e RULE'S
                     r u l e ’ s PRESUMPTION
                                 p r e s u m p t i o n IN
                                                       i n FAVOR
                                                           f a v o r OF
                                                                     o f THE   QPA IS
                                                                         t h e QPA i s nNOT
                                                                                         o t IN
                                                                                             i n aACCORDANCE
                                                                                                   c c o r da nc e
                     WITH LAW AND EXCEEDS DEFENDANTS'      DEFENDANTS’ STATUTORY AUTHORITY


         79.      Plaintiffs repeat and reallege all of the previous allegations in this complaint.

         80.      An agency regulation that is inconsistent with the terms of the statute under which it

 is promulgated is illegal, ultra vires, and void.

         81.
         81.      The Administrative Procedure Act CAP A") provides that courts will "hold
                                                   (“APA”)                           “hold unlawful

 and set aside agency action"
                      action” that is "not
                                      “not in accordance with law."
                                                              law.” 5 U.S.C. § 706(2)(A).

         82.      The Act defines the factors that must be considered in the "independent
                                                                             “independent dispute

 resolution process." 42 U.S.C. § 300gg-ll
 resolutionprocess.”                       l(c)(5)(C).
                                  300gg-lll(c)(5)(C).

         83.      The Act does not give any one of those factors priority or otherwise dictate how the

 factors should be weighed in the "independent
                                  “independent dispute resolution process.”
                                                                  process." 42 U.S.C. § 300gg-



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 lll(c)(4)(A).
 111(c)(4)(A).

           84.   The Rule departs from and is inconsistent with the Act by requiring the independent

 dispute resolution process”
                    process" to determine physicians’
                                          physicians' claims in accordance with the offer closest to

 the QP A, unless a party "clearly
     QPA,                 “clearly demonstrates that the QP
                                                         QPAA is materially different from the

 appropriate out-of-network rate." 86 Fed. Reg. at 55,995.
             out-of-networkrate.”

           85.   The Rule is contrary to the statute's
                                             statute’s plain meaning.

           86.   The Rule is an impermissible attempt to rewrite statutory language.

           87.   Congress did not delegate to the Departments the authority to promulgate rules

 requiring that the determination of the "independent
                                         “independent dispute resolution process”
                                                                         process" be based on the

 QPA.

           88.   Promulgating rules requiring that the determination of the "independent
                                                                            “independent dispute

            process" be based on the QPA is not within the authority of the Departments to
 resolution process”

 "interpret"
 “interpret” the Act.

           89.   The Departments'
                     Departments’ attempt to override the language of the statute and upset the

 balanced approach that Congress required the arbitrator to follow when making payment

 determinations is ultra vires and contrary to the unambiguous requirements of the No Surprises

 Act.


                                          P r a y e r FOR
                                          PRAYER            Re l ie f
                                                      f o r RELIEF


           For these reasons, Plaintiffs demand judgment against Defendants granting the following

 relief:

           1. Declaring that thethat
                     Declaring    Act:the(i)Act:
                                             illegally   and unconstitutionally
                                                  (i) illegally                 requiresrequires
                                                                and unconstitutionally    physicians,
                                                                                                  physicians,

 including the plaintiffs, to submit their state common law claims for the reasonable value of the

 services they have provided to patients for adjudication by an "independent
                                                                “independent dispute resolution


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 process" established by the Act; (ii) unconstitutionally deprives physicians, including Plaintiffs,
 process”

 of their right to aajury
                     jury trial guaranteed by the Seventh Amendment to the United States Constitution

 by requiring them to state common law claims for the reasonable value of the services they have

 provided to patients for adjudication in a process that does not provide for aajury
                                                                                jury trial; (iii) deprives

 physicians, including Plaintiffs of property without due process of law in violation of the

 Fourteenth Amendment to the United States Constitution by requiring them to submit their state

 common law claims for the reasonable value of the services they have provided to patients for

 adjudication by an "independent                    process" in which the standard of decision is
                    “independent dispute resolution process”

 established by the adverse party; and (iv) deprives physicians, including Plaintiffs, of their property

 right to reasonable compensation for the services they have provided to patients without just

 compensation, in violation of their rights under Fifth Amendment to the United States Constitution,

 by denying to them the right to bill patients for the balance of their reasonable fees in excess of

 the amount determined by the "independent
                              “independent dispute resolution process;”
                                                              process;" and

         2. Declaring that the Departments acted unlawfully by promulgating the Rule establishing

 a presumption in the "independent                    process" in favor of the QPA; and
                      “independent dispute resolution process”

         3. Vacating as illegal and unconstitutional 42 U.S.C. § 300gg-lll(c), 42 U.S.C. § 300gg-

 131 and300gg-132; and

         4. Vacating the provisions of the Rule requiring the "independent
                                                              “independent dispute resolution

 process" to employ a presumption in favor of the offer closest to the QP
 process”                                                                 A: 45 C.F.R. §
                                                                       QPA:

 149.510(a)(2)(v); 45 C.F.R. § 149.510(a)(2)(viii); the second and third sentences of 45 C.F.R. §

 149.510(c)(4)(ii)(A); the final sentence of 45 C.F.R. § 149.510(c)(4)(iii)(C); 45 C.F.R. §

 149.510(c)(4)(iv); and 45 C.F.R. § 149. 510(c)(4)(vi)(B); 26 C.F.R. § 54.9816-8T(a)(2)(v); 26

 C.F.R. § 54.9816-8T(a)(2)(viii); the second and third sentences of 26 C.F.R. § 54.9816-



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                                     of 26 C.F.R. § 54.9816-8T(c)(4)(iii)(C); 26 C.F.R.; § 54.9816-
 8T(c)(4)(ii)(A); the final sentence of26

 8T(c)(4)(iv);
 8T(                            54.9816-8T(c)(4)(vi)(B);
     c)(4)(iv); and 26 C.F.R. § 54.9816-8T(c                          2590.716-8(a)(2)(v);
                                             )(4)(vi)(B); 29 C.F.R. § 2590. 716-8(a)(2)(v); 29 C.F.R.

 § 2590.716-8(a)(2)(viii); the second and third sentences of 29 C.F.R. § 2590.716-8(c)(4)(ii)(A);

 the final sentence of29
                    of 29 C.F.R. § 2590.716-8(c)(4)(iii)(C); 29 C.F.R. § 2590.716-8(c)(4)(iv); and

 29 C.F.R. § 2590.716-8(c)(4)(vi)(B); and

        5. Enjoining and prohibiting the Departments from enforcing these provisions; and

        6. Enjoining and prohibiting the Departments from promulgating replacement provisions

 without notice and comment; and

        7. Awarding to the plaintiffs the attorneys'
                                          attorneys’ fees and costs they have incurred in this action,

 pursuant to 28 U.S.C. § 2412; and

        8. Granting any other relief the Court determines to bejust
                                                             be just and proper.


                                                   Yours, etc.


                         ABRAMS,
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                                                                         C a r o n e , LLP
                                   Attorneys for Plaintiffs-Petitioners


                                 By:
                                 B     y:~
                                     Robert.polzino, Esq.
                                      Edward A A. Smith, Esq.
                                       Justin T. Kelton, Esq.
                                     81 Main Street, Suite 306
                                     White Plains, NY 10601
                                          (914) 607-7010


 Dated: White Plains, New York
        December31,
        December  31, 2021




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                                       "no"   bove:
                  D id the events
              a) Did         e v e n ts or
                                        o r omissions
                                            o m is s io n s giving rise to the claim
                                                                               c la im or claims.
                                                                                          cla im s, or a substantial
                                                                                                         s u b s ta n tia l part
                                                                                                                            p a rt thereof,
                                                                                                                                   th e re o f, occur
                                                                                                                                                o c c u r in Nassau
                                                                                                                                                             N assau or
                                                                                                                                                                     o r Suffolk
                                                                                                                                                                         S u ffo lk
              C o u n ty ?
              County?                    [2 |IZI Y
                                                 Yeses           Q     D
                                                                       No
                                                                       No

                          e v e n ts or
             b) Did the events       o r omissions
                                         o m is s io n s givi'!U.rise
                                                         giving rise lo
                                                                      to the claim
                                                                             claim or
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                                                                                       cla im s, or
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                                                                                                                          p a rt th e re o f, occur
                                                                                                                                 thereof,     o ccu r in the Eastern
                                                                                                                                                             E astern
             D is tric t?
             District?                IZ I   IZI
                                              Y
                                              Yeses           LJ
                                                               □     No
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                IT this is a Fair
             c) If           Pair Debi
                                  Debt Collection
                                       CollecLiun l'rnctit:c
                                                  Practice A  ct case.
                                                             Act   case, specify the Coullt)'
                                                                                     Con illy in which the offending communicn1ion
                                                                                                                     commitment ion wns
                                                                                                                                    was
             received:
             received;                                           .

                               (b) is "No."
If your answer to question 2 (b}      “No." does 1l7e
                                                   the defendant (or a majority of
                                                                                o f 1l7e
                                                                                    the defendants, if there is more than one}one) resjde
                                                                                                                                   reside in Nassau or
         County, or.
Suffolk County.  or, in an internleader
                           interpleader action                                       o f the claimants, if there is mare
                                             ·011, does the claimant (or a majority of                               more than one) reside in Nassau or
Suffolk County?         fl     Yes        IH        No
                                                    N o________
                            (/on shall be considerad
          (Note: A corpora lion           considered a resident ofo f tile
                                                                      the County in which ii    /las the
                                                                                             it has  /he mos/
                                                                                                         m ost significant contacts).

                                                                                                  B A R ADMISSION
                                                                                                  BAR   A D M IS S IO N

                                                             o f New York and currently a member in good s1anding
             I am currently admitted in the Eastern District of                                          standing of1he
                                                                                                                  o f the bar of
                                                                                                                              o f this court.

                                                 E l               Yes
                                                                   Yes
                                                                                                                            □
                                                                                                                            Q          No
                                                                                                                                        No

             A re you currently
             Are      c u rre n tly the subject
                                        s u b je c t of
                                                     o f any disciplinary
                                                             d is c ip lin a ry action
                                                                                a ctio n (s) in this or
                                                                                                     o r any
                                                                                                         an y other
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                                                                                                                       sta te or
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                                RIDER OF DEFENDANTS
U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES, 200 Independence Avenue
SW, Washington, DC 20201,
and
XAVIER BECERRA, in his official capacity as Secretary of Health and Human Services, 200
Independence Avenue SW, Washington, DC 20201,


                                            StreetNW
U.S. OFFICE OF PERSONNEL MANAGEMENT, 1900 E Street NW Washington, DC 20415,
and
KIRAN AHUJA, in her official capacity as Director of the U.S. Office of Personnel
                   StreetNW
Management, 1900 E Street NW Washington, DC 20415,


U.S. DEPARTMENT OF LABOR, 200 Constitution Avenue NW Washington, DC 20210,
and
MARTIN J. WALSH, in his official capacity as Secretary of Labor, 200 Constitution Avenue
NW Washington, DC 20210,


U.S. DEPARTMENT OF THE TREASURY, 1500 Pennsylvania Avenue NW, Washington, DC
20220,
20220,
and
JANET YELLEN, in her official capacity as Secretary of the Treasury, 1500 Pennsylvania
Avenue NW Washington, DC 20220
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                                Un it e d STATES
                                                UNITED    St a t e s DISTRICT
                                                                     D is t r ic t COURT
                                                                                   Co u r t
                                                                                 for the
                                                                                ofNew
                                                               Eastern District of New York


                              Haller et.
                              Haller et. al.
                                         al.                                          )
                                                                                      )
                                                                                      )
                                                                                      )
                                Plaintiff(s)
                                P l a in t i f fs )                                   )
                                        V.                                            ij                    2:21-cv-07208-AMD-AYS
                                                                                           Civil Action No. 2:21-cv-07208-AMD-AYS

  U.S. Department
  U.S. Department of
                  of Health
                     Health and
                             and Human
                                 Human Services
                                       Services et.
                                                et                                    )
                         al.
                         al.                                                          )
                                                                                      )
                                                                                      )
                               Defendant(s)
                               D e f e n d a n t (s )                                 )



                                                           SUMMONS IN A CIVIL ACTION

To: (Defendant's
    ( D e f e n d a n t ’s name
                           n a m e and                   Please see
                                         a d d r e s s ) Please
                                   a n d address)               see attached
                                                                    attached rider.
                                                                             rider.




           A lawsuit has been filed against you.

         Within 21 days after service of this sununons
                                              summons on you (not counting the day you received it)-
                                                                                                  it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Ped.
                                                                                                             Fed. R. Civ.l
                                                                                                                     Civ]
P. 12 (a)(2) or (3) -you
                    — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12   of
                                                                                                                   12of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
                                                                                                plaintiffs attorney,
whose name and address are: Abrams
                                 Abrams Fensterman,
                                          Fensterman, LLPLLP
                                 Attn: Justin T.
                                 Attn: Justin T. Kelton,
                                                 Kelton, Esq
                                                         Esq....
                                 1 Metrotech
                                 1  MetrotechCenter,
                                                 Center,17th
                                                         17thFloor
                                                                Floor
                                 Brooklyn, New
                                 Brooklyn,  New York    11201
                                                  York 11201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                              BRENNA B. MAHONEY
                                                                                             CLERK OF COURT

                 2/22/2022
Date:                                                                                          Roseann Guzzi
                                                                                                       Signature
                                                                                                       S ig n a t u r e of
                                                                                                                        o f Clerk
                                                                                                                            C l e r k or Deputy
                                                                                                                                      or D e p u t y Clerk
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                  2:21 -cv-07208-AMD-AYS

                                                            PROOF OF SERVICE
                           (This section should not be filed           court unl.ess
                                                       fil.ed with the courl unless required by
                                                                                             by Fed. R. Civ. P. 4 (l))

           This summons for (name
                            (n a m e of
                                     o f individual
                                         in d i v i d u a l and   t it le , if
                                                            a n d title,    i f any)
                                                                                any)


 was received by me on (date)
                       ( d a te )                                                      .




           □ I personally served the summons on the individual at (place)
           0                                                      ( p la c e )


                                                                                               on (date)
                                                                                                  ( d a te )                                     ; or

           □ I left the summons at the individual's
           0                           individual’s residence or usual place of abode with (name)
                                                                                           (n a m e )


                                                                                , a person of suitable age and discretion who resides there,
           on (date)
              ( d a te )                                                             individual's last known address; or
                                                          , and mailed a copy to the individual’s

           □ I served the summons on (name
           0                         (n a m e of
                                              o f individual)
                                                  i n d i v id u a l)                                                                                     ,,who
                                                                                                                                                            who isis
            designated by law to accept service of process on behalf of (name
                                                                        (n a m e of
                                                                                 o f organization)
                                                                                     o r g a n iz a t io n )


                                                                                               on (date)
                                                                                                  ( d a te )                                     ; or

           □ I returned the summons unexecuted because
           □                                                                                                                                                    ; or

           □ Other (specify):
           0       ( s p e c if y ) :
                                                                                       ----------------------

           My fees are$
                   are $                                  for travel and $                                                     of$$
                                                                                                     for services, for a total of                         .00
                                                                                                                                                        q0.00



           I declare under penalty of perjury that this information is true.



Date: _________________                                                        _________________________________
                                                                                                               Server's
                                                                                                               S e r v e r ’s ssignature
                                                                                                                                ig n a t u r e




                                                                                                           Printed      name
                                                                                                           P r in t e d n a m e and
                                                                                                                                a n d title
                                                                                                                                      title




                                                                                                                Server's
                                                                                                                S e r v e r ’s address
                                                                                                                               a d d re s s



 Additional information regarding attempted service, etc:
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Civil Action No. 2:21-cv-07208-AMD-AYS
      ActionNo.

                                RIDER OF DEFENDANTS
U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES, 200 Independence Avenue
SW, Washington, DC 20201,
and
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Independence Avenue SW, Washington, DC 20201,


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                             UNITED
                             W IT E D STATES DISTRICT COURT
                       FOR THE EASTERN
                               E A S T E R DISTRICT
                                           DISTWCT OF NEW YORK
                                                          YO^


DR. DANIEL HALLER and LONG ISLAND
                                                       Case No. 21-cv-7208-AMD-AYS
                                                       CaseNo.
SURGICAL PLLC,
                              Plaintiff,
                                                       DECLARATION OF
                  -against-
                  —against-                                D ^ I E L HALLER
                                                       DR. DANIEL
                                                                        PLAINTIFFS’
                                                       IN SUPPORT OF PLAINTIFFS'
 U.S. DEPARTMENT OF HEALTH AND                         MOTION FOR A TEMPORARY
 HUMAN SERVICES, 200 Independence                                      O P E R AAND
                                                       RESTRAINING ORDER         ND
 Avenue SW, Washington, DC 20201, et al.,              PRELIMINARY INJUNCTION
                              Defendants.




        Dr. Daniel Haller, hereby declares pursuant to 28 U.S.C. § 1746:

        1.     I am a Plaintiff in this action,
                      I am a Plaintiff   in this and I amand
                                                 action,   theI President and 100%
                                                                ^ the President  rndowner
                                                                                     100%of Plaintiff
                                                                                          owner  of Plaintiff

 Long Island Surgical PLLC ("Long
                           (“Long Island Surgical").
                                         Surgical”). I respectfully
                                                       respectMly submit this Declaration in

 support of Plaintiffs'
            Plaintiffs’ motion for a preliminary injunction prohibiting enforcement of the federal

    Sunrises Act, Pub. L. 116-260 (the "Act")
 No Surprises                          “Act”) and the regulations implementing the Act, and
                                                                                        m d for

 a temporary restraimng
             restraining order prohibiting their enforcement while the motion is being hheard
                                                                                         ead and
                                                                                              md

 determined.

        2.      This declaration
                     declaation 1s
                                 is made upon my personal knowledge
                                                          ^ow ledge of the facts and
                                                                                 md

 circumstances
 circumstrnces set forth herein.

        3.      I earned
                  e ^ e d my medical degree in 2006 from the Technion
                                                             T ec^ion - Israel Institute of

 Technology,
 Tectoology, Faculty of Medicine. I completed my residency in general surgery at Maimonides

 Medical Center, and my fellowship in surgical critical care at North Shore-Long Island
                                                                                 Islrnd Jewish

 Health System.    I am board-certified in both general surgery and surgical critical care by the


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American Board of Surgery. I am a fellow of the American College of Surgeons and an Adjunct

Clinical Associate Professor of Surgery, teaching both
                                                  bofo students and residents.


        4.      I specialize in general
                       I specialize     surgerysurgery
                                    in general  and acute
                                                       andcare
                                                           acutesurgery, which includes
                                                                  care surgery,         general general
                                                                                which includes

 surgery, trauma and
                 ^ d critical care surgery. Among other things, as an acute care surgeon I perform

 a wide range of services and procedures for urgent medical conditions when patients require either

 short or long-term treatment for a severe illness or injury in addition to services provided during

 their recovery period. . Critical care deals with the sickest patients in the hospital and requires 24

 hour a day attention to meet their medical needs. During the first wave of COVID-19 in March of

 2020 we managed two intensive care units in two different hospitals, taking care of over 40 patients

 a day, while risking our lives during a time of extreme uncertainty on how to safely care for our

 patients, ourselves and our families.


        5.      Long Island SurgicalSurgical
                      Long Island     is a general and acute
                                             is a general and care
                                                               acutesurgical private private
                                                                      care surgical   practicepractice
                                                                                                in     in

 Rockville Centre, New York. We provide individualized and high-quality services to each patient,

 whether a consult, surgery, and/or follow up. Patients receive their provider’s
                                                                      provider's cell phone number

 with 24 hour, seven-days-a-week access to discuss their clinical needs. Long Island Surgical

 employs six physicians who have over forty combined years of clinical experience. The practice

 offers traditional, laparoscopic, and robotic services to best meet the needs of each patient.

 Additionally, our surgeons offer their time and effort to ensure the best possible patient outcomes.

 Our surgeons engage in high quality peer review and performance improvements meetings to

 ensure high quality patient care. Our surgeons are affiliated with hospitals in Long Island,

 including Mercy Hospital, Mount Sinai South Nassau, and St. Joseph Hospital, and cooperate with

 many other doctors and specialists.



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        6.     I and the other surgeons at Long Island Surgical perform approximately 2,700

emergency consultations and surgical procedures each year for patients admitted to hospitals

through their emergency departments.

        7.     Around 78% of the patients that I and Long Island Surgical treat each year are

covered by health insurance plans with whom we have no contractual relationship. We are

therefore "out-of-network"
          “out-of-network” providers with respect to these insurers.
                                                           insrners.




 Effects of The Federal No Surprises Act



        8.      A large majority of the out-of-network services I and my colleagues at Long Island

 Surgical provide are subject to the bbalance
                                       a ile e billing prohibition for patients with health insurance
                                                                                            insur^ce

 covered by the Act. The Act applies to most emergency services, including those provided in

 hospital emergency rooms, inpatient settings and urgent care centers that are licensed to provide

 emergency care.
           c^e. Other out-of-network services that I and Long Island Surgical provide are non-

 emergency medical services in which I or one of my colleagues is out-of-network, but the facility

 in which we are providing services is in-network for our patient. The Act also broadly defines

 covered non-emergency services to include treatment, equipment and
                                                                ^ d devices, and preoperative

 and postoperative services, all services that I and Long Island Surgical often render. Under the

 Act, patients cannot consent to being balanced billed for either emergency services or many other

 services I and
            m d my Long Island Surgical colleagues provide, despite the fact
                                                                        feet that, because of our

 reputation, patients often seek us out for their emergency care.

         9.     Since January 1, 2022, when the Act went i_nto
                                                         into effect, I and the other providers at

 Long Island Surgical have provided out-of-network services subject to reimbursement through the



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Act's
Act’s independent dispute resolution ("IDR")
                                     (“IDR”) process, and we will continue to provide out-of-

network services that are subject to reimbursement through that process.

        10.    I expect that the rates I and my Long Island Surgical colleagues submit to out-

 of-network health plans will generally not be the amount closest to the qualifying payment

 amount ("QP A”) under the Act. I therefore do not expect that the issue of a reasonable
        (“QP A")

 reimbursement rate for out-of-network services provided by me and the other Long Island

 Surgical providers can in most cases be resolved solely by reference to the QPA. My level of

 training, and the level of training of my colleagues, all of whom are fellowship-trained, is

 well above-average, and the surgical
                             srngical services we provide are often highly complex due to the

 acuity of the patients. Therefore, the QP A will often be well below the true median

 contracted rate as paid in the marketplace because the QPA fails
                                                            foils to account for the severity of

 the patient’s
     patient's condition(s) or the difficulty of the treatment(s). We at Long Island Surgical

 often operate on the
                  foe most acute and sickest patients at the hospitals where we practice, and

 during all hours of the day, including nights, weekends, and holidays.

        11.     Upon information and belief, now that the Act is in effect, providers will need to

 first find out the patient’s
                    patient's insurance status and then submit the out-of-network bill directly to the

 health plan. Health plans must respond within 30 days, advising the provider of the applicable in-

 network amount for that claim, generally based on the median in-network rate the plan pays for

 the service. The health plan will send an initial payment or notice of denial to the provider and

 send the consumer a notice that it has processed the claim. Either
                                                             Eifoer side has 30 days to initiate a 30-

 day "open
     “open negotiation"
           negotiation” period. If the parties cannot
                                               carnot agree by the last day of the open negotiation

 period, either party may initiate the IDR process within four business days after the close of the

 open negotiation period. The parties may jointly select an IDR arbitration service provider or a



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service provider will be selected for them, within 6 business days following the notice of IDR

initiation. In IDR arbitration, each party must submit their best and final offer, and the independent

arbitrator must select one of the offers, a so-called "baseball-style"
                                                      “baseball-style” process in which the IDR entity

 can only pick from one of two competing offers without modification. While the time deadlines

 in the act might seem like a good idea, they are unrealistic and will be difficult to keep track of

 and adhere to, especially since in our experience, the insurance companies do not have dedicated

 personnel to negotiate claims or even answer questions that providers may have in a timely fashion.

        12.     As required by the Act, I and my colleagues at Long Island Surgical would engage

 in open negotiation with out-of-network insurers for a reasonable out-of-network reimbursement

 rate. However, as discussed above, because the rules implementing the Act default to the QP
                                                                                          QPA,
                                                                                             A,

 the bargaining power of the health plans has dramatically increased. Therefore, as a result of the

 Act, negotiation alone is less likely to resolve rate disputes. If negotiation does not succeed, I and

 my colleagues will work with Long Island Surgical administrative staff to submit claims under the

 Act’s IDR
 Act's ID R process. An IDR arbitrator will then determine the reimbursement rate that Long Island

 Surgical receives, defaulting to the QP A.
                                      QPA,

         13.    Based on my experience with the New York State Emergency Medical Services

 and Surprise Bill Act (the ''New
                            “New York Act"),
                                      Act”), I expect that Long Island Surgical will have to

 participate in tens of thousands, ofIDRs
                                   of IDRs under the Act in the coming years.

         14.    In that regard, Long Island Surgical must navigate the new IDR program and the

 administrative burdens and costs associated with the program. We have started the process of

 hiring additional administrative staff to deal with the impending IDR arbitrations should the Act

 continue to go into effect without the Court's
                                        Court’s intervention. This problem is acute because, as

 discussed above, the deadlines provided for under the Act are strict.



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        15.    We must compete with other independent practices to hire individuals who are

proficient with the new regulations and
                                    ^ d procedures of the Act, and
                                                               ^ d who are in short supply, thereby

making staffing difficult and expensive. Our current administrative staff numbers nine, and we

 anticipate needing to hire at least six to ten more professionals. It will therefore take up an

 enormous amount of my and
                       ^ d Long Island Surgical staffs time and effort to properly prepare to

 meet the Act's
          Act’s requirements, and more importantly, to receive fair compensation for services

 provided. As one example of severe underpayment, Long Island Surgical received $238 for a

 hernia repair surgery, which thus far has taken up two years of challenges and appeals.

        16.     Another aspect of the Act's
                                      Act’s effects on our practice is that physicians are now

 required to make available to each patient who is enrolled in a health plan a disclosure regarding
                                                                                          reg^ding

 the Act's
     Act’s protections against balance billing. Typically, when dealing with an out-of-network

                                   a ssig ^ e n t of benefits form ("AOB")
 patient, the patient completes an assignment                      (“AOB”) requiring his or her

 health insurance provider to pay the provider directly. In our experience, even with a signed

 AOB from the patient, the insurer still chooses to send payment checks to the
                                                                           foe patient as

 reimbursement instead of directly to the provider, causing additional burden on the practice

 and staff to obtain any payment at all for those services. In addition, the AOB should allow

 the provider, such as my colleagues and me, with the opportunity to negotiate directly with the

 out-of-network insurer in a more efficient manner and increases the bargaining position of the

 provider with respect to the insurer. I estimate that as many as 99% of Long Island Surgical'
                                                                                     Surgical’ss

 out-of-network patients provide AOBs when requested.           However, patients are becoming

 increasingly reluctant to sign an AOB with Long Island Surgical because they know that, under

 the Act, they cannot in any case be billed for any outstanding balance. Should this trend continue

 and grow, the lack of AOBs will severely



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limit our ability to negotiate directly with out-of-network insurers, further
                                                                      farther eroding our bargaining

position.

        17.      Similarly, the Actthealso
                         Similarly,      Actrequires disclosure
                                              also requires      to certain
                                                             disclosure     patientspatients
                                                                        to certain   seeking seeking
                                                                                              non- non-

 emergency surgery as to how much in theory they would be billed for the procedure if their out-

 of-network provider does not pay the unnegotiated bill in full.
                                                           fall. This disclosure is required

 notwithstanding that (a) the out-of-network non-emergency patient will in most cases have out-of-

 network benefits, (b) we are
                          mu likely negotiating with the out-of-network insurer to obtain coverage

 for the procedure at an agreed upon rate, and ((c)
                                                 c) the patient will likely end up paying little if

 anything additional out-of-pocket.    It has been our experience recently that this mandated

 disclosure is scaring off out-of-network, non-emergency surgical patients and causing them to seek

 in-network providers, who may be less qualified or have worse clinical outcomes, but who do not

 have to make a similar disclosure, when the disclosure in any event does not reflect the reality of

 what that patient will in fact pay for our services. Patients therefore elect and pay for increased

 coverage that allows them to utilize the services of out-of-network providers, but are now being

 unnecessarily dissuaded from exercising their contracted rights. This will cause me and my

 colleagues to lose out-of-network, non-emergency surgical patients at a rate that will be difficult

 to calculate.

         18.     I declare under penalty
                         I declare        of perjury
                                   under penalty     that thethat
                                                  of perjury  foregoing  is, to my
                                                                  the foregoing  is, knowledge and
                                                                                     to my knowledge and

 understanding, true and correct.




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                                                        :Or.  D i^el Hallet
                                                        '.Dr. Daniel Haller




       to before me on this
 Sworn to
   '2.. 'i.J<.day    Mmch, 2022
              day of March,
                                                   DAVID !REICH
                                                   IDAVID    REICH
                                      NotairyPublic,
                                      Not.airy  Pul:>lii;, State ofNewYoek
                                                                 of New York
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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



  DR. DANIEL HALLER and LONG ISLAND
  DR
                                                        Case No. 21-cv-7208-AMD-AYS
  SURGICAL PLLC,
                                  Plaintiff,
                    -against-
                    - against -                         NOTICE OF MOTION FOR
                                                        PRELIMINARY INJUNCTION
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SER   VICES, 200 Independence
          SERVICES,
  Avenue SW, Washington, DC 20201, et al.,
                                  Defendants.




                                                                                   Plaintiffs’
        Upon the Declaration of Dr. Daniel Haller, sworn to on March 25, 2022, and Plaintiffs'

 Memorandum of Law in Support of Their Motion for a Temporary Restraining Order and

 Preliminary Injunction, the Plaintiffs, Dr. Daniel Haller and Long Island Surgical PLLC

 (“Plaintiffs”) hereby move pursuant to Federal Rule of Civil Procedure 65 against Defendants, the
 ("Plaintiffs")

 United States Department of Health and Human Services, Xavier Becerra in his official capacity

 as the Secretary of Health and Human Services, the United States Office of Personnel

 Management, Kiran Ahuja in her official capacity as the Director of the Office of Personnel

 Management, the United States Department of Labor, Martin J. Walsh in his official capacity as

 the Secretary of Labor, the United States Department of the Treasury, and Janet Yellen in her

 official capacity as the Secretary of the Treasury (collectively the "Defendants"),
                                                                      “Defendants”), for a Preliminary

 Injunction enjoining Defendants, during the pendency of this action, from implementing,

 enforcing, or otherwise carrying out:

         (1) the No Surprises Act, Pub. L. 116-260 (the "Act"),
                                                        “Act”), specifically: 42 U.S.C. § 300gg-

   ll(c), 42 U.S.C. § 300gg-131 and
 l111(c),                           42 U.S.C. §300gg-132, and
                                and42U.S.C.
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        (2) pursuant to the Administrative Procedure Act, provisions of the interim final rule

 implementing the Act, entitled "Requirements
                                “Requirements Related to Surprise Billing; Part II,"
                                                                                II,” 86 Fed. Reg.

 55,980 (Oct. 7, 2021), specifically: 45 C.F.R. § l149.510(a)(2)(v);
                                                    49.510(a)(2)(v); 45 C.F.R. § l149.510(a)(2)(viii);
                                                                                   49.510(a)(2)(viii);

 the second and third sentences of 45 C.F.R. § 149.510(c)(4)(ii)(A); the final sentence of 45 C.F.R.

 § 149.510(c)(4)(iii)(C); 45 C.F.R. § 149.510(c)(4)(iv); and 45 C.F.R. § 149. 510(c)(4)(vi)(B); 26

 C.F.R. § 54.9816-8T(a)(2)(v); 26 C.F.R. § 54.9816-8T(a)(2)(viii); the second and third sentences

 of 26 C.F.R. § 54.9816-8T(c)(4)(ii)(A); the final sentence of26
 of26                                                       of 26 C.F.R. § 54.9816-8T(c)(4)(iii)(C);

 26 C.F.R.; § 54.9816-8T(c)(4)(iv); and 26 C.F.R. § 54.9816-8T(c)(4)(vi)(B); 29 C.F.R. §

 2590.716-8(a)(2)(v); 29 C.F.R. § 2590.716-8(a)(2)(viii); the second and third sentences of 29

 C.F.R. § 2590.716-8(c)(4)(ii)(A); the final sentence of 29 C.F.R. § 2590.716-8(c)(4)(iii)(C); 29

 C.F.R. § 2590.716-8(c)(4)(iv); and 29 C.F.R. § 2590.716-8(c)(4)(vi)(B).



 Dated: White Plains, New York
        April 4, 2022


                                               ABRAMS
                                               A b r a m s FENSTERMAN,           LLP
                                                           F e n s t e r m a n , LLP

                                                By: /s/
                                                    Isl Robert A. Spolzino
                                                   Robert A. Spolzino
                                                   Edward A. Smith
                                                   Justin Kelton
                                                   Mordecai Geisler
                                                   One Metrotech Center, Suite 1700
                                                   Brooklyn, NY 11201
                                                    (718) 215-5300
                                                   Attorneys for Plaintiffs




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  DR. DANIEL HALLER and LONG
  DR
  ISLAND SURGICAL PLLC,

                         Plaintiffs,
                         Plaintiffs,
                                                          Notice of Motion to Dismiss
                 v.
                 V.                                       No. 21-cv-7208-AMD

  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES et al.,
                    al.,

                         Defendants.



                                DEFENDANTS’ MOTION TO DISMISS
                      NOTICE OF DEFENDANTS'


        Please take notice that, upon the Memorandum of Law, dated April 26, 2022, Defendants

 in the above-captioned action will and hereby do move this Court before the Honorable Ann M.

 Donnelly, United States District Judge, at the United States District Court for the Eastern District

 of
 ofNNew
     ew York, located at 225 Cadman Plaza East, Brooklyn, New York 11201, to dismiss the

 complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). Defendants will also and hereby

                              Plaintiffs’ motion for a preliminary injunction under Rule 65(a). The
 do brief their opposition to Plaintiffs'

 grounds for this motion and opposition are set forth more fully in the attached supporting brief.



 Dated: April 26, 2022                                Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      BREON PEACE
                                                      United States Attorney

                                                      ERIC B. BECKENHAUER
                                                      Assistant Branch Director

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                                                McELVAIN
                                          JOEL McEL    VAIN
                                          Senior Trial Counsel

                                          Isl Anna L. Deffebach
                                          /s/Anna
                                          ANNA L. DEFFEBACH (DC Bar No.
                                          ANNAL.
                                          241346)
                                          United States Department of Justice,
                                          Civil Division, Federal Programs Branch
                                          1100
                                           1100LL Street, NW
                                          Washington, DC 20005
                                          Tel: (202) 993-5182
                                          Email: Anna.l.deffebach@usdoj.gov

                                          JOSEPH A  A. MARUTOLLO
                                          Assistant U.S. Attorney
                                          AssistantU.S.
                                          United States Attorney’s
                                                        Attorney's Office
                                          Eastern District of New York
                                                           ofNew
                                          271-A Cadman Plaza East, 7th Floor
                                          Brooklyn, NY 11201
                                          Tel: (718) 254-6288
                                          Fax: (718) 254-7489
                                          Email: joseph.mamtollo@usdoj.gov
                                          Email:joseph.marutollo@usdoj.gov

                                          Counsel for Defendants




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ....................................................................................XX
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 DR. DANIEL HALLER and LONG ISLAND
 DR
 SURGICAL PLLC,                                                                     :
                                                     Plaintiffs,                      MEMORANDUMDECISION
                                                                                    : MEMORANDUM DECISIONAND
                                                                                                         AND
                                                                                    _ ORDER
                                                                                      ORDER
                                  -against-
                                  - against -                                        _ 21-CV-7208
                                                                                        21-CV-7208(AMD)
                                                                                                   (AMD) (AYS)

 U.S. DEPARTMENT OF HEALTH AND                             :
 HUMAN SERVICES, XAVIER BECERRA, in                        _
 his official capacity as Secretary of o f Health and
 Human Services, U.S. OFFICE OF PERSONNEL •
 MANAGEMENT, KIRAN AHUJA, in her official
 capacity as Director ofo f the US           o f Personnel '■
                                U.S. Office of
 Management, U.S. DEPARTMENT OF LABOR, .
 MARTIN J. WALSH, in his official capacity as
            o f Labor, U.S. DEPARTMENT OF
 Secretary of                                              :
 THE TREASURY, and JANET YELLEN, in her ,
 official capacity as Secretary ofo f the Treasury,

                                                      Defendants.
 ....................................................................................XX
 ---------------------------------------------------------------
 ANN M. DONNELLY, United States District Judge:

            On December 31, 2021, the plaintiffs filed this action against the defendants, challenging
               December31,

 the constitutionality of the No Surprises Act, Pub. L. 116-260 (the "Act"),
                                                                     “Act”), and seeking an
                                     1
 injunction against its enforcement.
                        enforcement.1  Before the Court are the plaintiffs’
                                                                plaintiffs' motion for a preliminary



 1
  1The plaintiffs also sought to set aside, under the Administrative Procedure Act, specific provisions of an
   interim final rule entitled "Requirements
                               “Requirements Related to Surprise Billing; Part II,"
                                                                                II,” 86 Fed. Reg. 55980 (Oct.
   7, 2021) (the "Rule").
                  “Rule”). On February 23, 2022, the Honorable Jeremy D. Kernodle
                                                                              Kemodle vacated the Rule in a
   separate case, Texas Medical Association v. U.S. Department of  o f Health and Human Services.
                                                                                           Services. No. 21-
   CV-425, 2022 WL 542879, at      *14 (E.D. Tex. Feb. 23, 2022). The defendants state that they are
                                 at*14
   engaging in notice-and-comment rulemaking, "have “have begun the preparation of a final rule that will
   address the procedures for arbitrations under the Act, and that will address the provisions of the interim
   final rules that were vacated by the Eastern District of Texas,"
                                                            Texas,” and "anticipate
                                                                         “anticipate that the final rule will be
   issued by early summer of 2022."
                                2022.” (ECF
                                        (EOF No. 30 at 35.) At oral argument, the parties agreed that in light
   of Judge Kernodle's
             Kemodle’s decision and the forthcoming regulation, there is no live controversy with respect to
   the Rule.
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                    defendants’ motion to dismiss. For the reasons that follow, the motion for a
 injunction and the defendants'

 preliminary injunction is denied, and the motion to dismiss is granted.

                                          BACKGROUND
        The plaintiffs are Dr. Daniel Haller, a surgeon, and Long Island Surgical PLLC, Dr.

 Haller’ss private practice, which employs six physicians. (ECF No. 23 at 3.) Dr. Haller and the
 Haller'

 other surgeons do emergency consultations and perform surgical procedures on patients admitted

 to hospitals through their emergency departments. (Id.)
                                                   {Id.) The plaintiffs allege that approximately

 78% of their patients are covered by health plans with which the plaintiffs have no contractual

               {Id.)
 relationship. (Id.)

        On December 27, 2020, Congress enacted the No Surprises Act as part of the

 Consolidated Appropriations Act of 2021. The law went into effect on January 1, 2021. The

 defendants’ July 13, 2021 interim final rule describes the background of the legislation. "Most
 defendants'                                                                               “Most

 group health plans, and health insurance issuers offering group or individual health insurance

 coverage, have a network of providers and health care facilities (participating providers or

 preferred providers) who agree by contract to accept a specific amount for their services."
                                                                                  services.”

 Requirements Related to Surprise Billing; Part I, 86 Fed. Reg. 36872, 36874 (July 13, 2021).

 “By contrast, providers and facilities that are not part of a plan or issuer's
 "By                                                                   issuer’s network [('out-of-
                                                                                        [(‘out-of-

         providers’)] usually charge higher amounts than the contracted rates that plans and
 network providers')]

 issuers have negotiated with participating providers and facilities [('in-network
                                                                     [(‘in-network providers')]."
                                                                                   providers’)].” Id.

 When an insured patient receives care from an out-of-network provider, "the
                                                                        “the individual's
                                                                             individual’s plan or

 issuer may decline to pay for the service or may pay an amount that is lower than the provider’s
                                                                                       provider's

 billed charges, and may subject the individual to greater cost-sharing requirements than would

 have been charged had the services been furnished by [an in-network] provider."
                                                                      provider.” Id. "Prior
                                                                                     “Prior to

 the No Surprises Act, the [out-of-network] provider could generally balance bill the individual


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                                provider’s billed charges and the sum of the amount paid by the
 for the difference between the provider's

 plan or issuer and the cost sharing paid by the individual, unless otherwise prohibited by state

 law."
 law.” Id.

         A balance bill may be a "surprise bill" for a patient. The July 13, 2021 rule summarizes
                                 “surprise bill”

 the issue of surprise billing, and when it generally occurs:

         Surprise billing occurs both for emergency and non-emergency care. In an
         emergency, a person usually goes ((oror is taken by emergency transport) to a nearby
         emergency department. Even if they go to a participating hospital or facility for
         emergency care, they may receive care from nonparticipating [out-of-network]
         providers working at that facility. For non-emergency care, a person may choose a
         participating [in-network] facility (and possibly even a participating provider), but
         not know that at least one provider involved in their care (for example, an
         anesthesiologist or radiologist) is a nonparticipating provider.           In either
         circumstance, the person might not be in a position to choose the provider, or to
         ensure that the provider is a participating provider. Therefore, in addition to a bill
         for their cost-sharing amount, which tends to be higher for out-of-network services,
         the person might receive a balance bill from the nonparticipating provider or
         facility.

 Id.

         The Act aims to prevent surprise bills in three ways relevant to this case. First, for

 patients who receive emergency services from out-of-network providers, or non-emergency

 services from out-of-network providers in in-network facilities and for which patients do not

 consent, the Act limits patients’
                         patients' cost sharing requirements to the "requirement
                                                                    “requirement that would apply

 if such services were provided by a participating [in-network] provider or a participating

           facility.” 42 U.S.C. § 300gg-lll ("Preventing
 emergency facility."                       (“Preventing surprise medical bills”).
                                                                          bills"). Second, the

 Act prohibits out-of-network providers from balance billing patients for emergency services and

 certain non-emergency services. See id. § 300gg-13
                                           300gg-131l C[T]he
                                                      (“[T]he health care provider shall not bill,

 and shall not hold liable, such [patient] for a payment amount for an emergency service ...
                                                                                         . . . that

                               requirement.”); id. § 300gg-132.
 is more than the cost-sharing requirement.");




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         Third, the Act establishes a procedure for resolving disputes between insurers and out-of-

 network providers over the payment amount for emergency and certain non-emergency services.

 If a state law sets the amount of payment for an out-of-network provider, the Act states that the

 insurer will make that payment. Id. § 300gg-l l l(a)(3)(K). Otherwise, the Act specifies that an
                                       300gg-lll(a)(3)(K).

 insurer will issue a payment or deny payment to an out-of-network provider within 30 days after

 the
 theprovidersubmitsitsbill.           300gg-lll(a)(l)(C)(iv), (b)(l)(C). If the out-of-network
     provider submits its bill. Id. §§300gg-lll(a)(l)(C)(iv),(b)(l)(C).

 provider is not satisfied with the amount, it may initiate a 30-day period of negotiation with the

 insureroverthe
 insurer over the claim. Id. §§300gg-lll(c)(l)(A ). If
                               300gg-ll l(c)(l)(A). Ifthosenegotiationsdo    notresolvethe
                                                       those negotiations do not resolve the

 dispute, the parties may then proceed to an independent dispute resolution ("IDR")
                                                                            (“IDR”) process. Id.

 § 300gg-lll(c)(l)(B).

         As part of the IDR process, the out-of-network provider and the insurer each submit a

 proposed payment amount with an explanation, and the IDR entity selects one offer as the

 amount for the relevant service. Id. §§
 amountfortherelevantservice.            300gg-ll l(c)(2), (5). The Actrequires
                                      §§300gg-lll(c)(2),(5).        Act requires IDR entities to
                                                                                 IDRentitiesto

 consider multiple factors. They must consider "the
                                               “the qualifying payment amount,"
                                                                       amount,” which is the

 "median
 “median of the contracted rates recognized by the”
                                               the" insurer as ofJanuary
                                                               of January 31,
                                                                          3 l,22019   in the same
                                                                                0 1 9 in

 insurance market for the "same
                          “same or a similar item or service that is provided by a provider in the

 same or similar specialty and provided in the geographic region,”
                                                          region," increased by inflation over the

 base year. See id. §§ 300gg-l
 baseyear.                     l l(a)(3)(E)(i), (c )(5)(C)(i)(I). In
                       300gg-lll(a)(3)(E)(i),(c)(5)(C)(i)(I).        addition, the entities
                                                                  Inaddition,the            must
                                                                                   entitiesmust

 consider the following:

        (I) The level of training, experience, and quality and outcomes measurements of
        the provider or facility that furnished such item or service ....
                                                                     ....

        (II) The market share held by the nonparticipating provider or facility or that of the
        plan or issuer in the geographic region in which the item or service was provided.

         (III) The acuity of the individual receiving such item or service or the complexity
         of furnishing such item or service to such individual.



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         (IV) The teaching status, case mix, and scope of services of the nonparticipating
         facility that furnished such item or service.

         (V) Demonstrations of good faith efforts (or lack of good faith efforts) made by the
         nonparticipating provider or nonparticipating facility or the plan or issuer to enter
         into network agreements and, if applicable, contracted rates between the provider
         or facility, as applicable, and the plan or issuer, as applicable, during the previous
         4 plan years.

 Id. § 300gg-l
       300gg-lll(c)(5)(C)(ii).
               l l(c )(5)(C)(ii). An IDR entity can request additional information from the parties,

                           “any information relating to such offer submitted by either party,
 and each party can submit "any

 including information relating to any circumstance described"
                                                    described” in the above five factors. Id.

   300gg-lll(c)(5)(B).
 § 300gg-l ll(c)(5)(B). The Act, however, prohibits the IDR entity from considering the out-of-

         provider’s "usual
 network provider's “usual and customary charges,"
                                         charges,” the amount the provider would have billed in

 the absence of the Act, or the reimbursement rates for the service under public programs like

                                2
                       TRICARE.2
 Medicare, Medicaid or TRlCARE.   Id. § 300gg-ll
                                        300gg-l 11(c)(5)(D).         entity’s decision is
                                                 l(c)(5)(D). The IDR entity's

                        “in the absence of a fraudulent claim or evidence of misrepresentation of
 binding on the parties "in

       presented,” and is subject to
 facts presented,"                tojudicial
                                     judicial review under the circumstances described in the

 FederalArbitrationAct.
 Federal Arbitration Act. Id. §§300gg-lll(c)(5)(E).
                                300gg-ll l(c )(5)(E).

         States have enacted similar laws to prevent surprise billings. For example, in 2014, New

                                                                                       “New
 York enacted the New York State Emergency Medical Services and Surprise Bill Act (the "New

                    Act”). Like the legislation at issue here, the New York law provides that
 York Surprise Bill Act").

 patients pay only the usual cost-sharing amounts that they would have been charged had they

 seen an in-network provider, allows out-of-network providers to negotiate and recover their fees

 directly from insurers, and establishes an IDR process when those negotiations are unsuccessful.



 2
 2 Congress considered and rejected other bills intended to address surprise medical billing, including the
   Protecting People from Surprise Medical Bills Act, which would have instructed IDR entities to
   consider "commercially
            “commercially reasonable rates for comparable services or items in the same geographic area"
                                                                                                      area”
   and the "usual
           “usual and customary cost of the item or service involved."
                                                            involved.” Protecting People from Surprise
   Medical Bills Act, H.R. 3502, 116th Cong. § 2(c) (2019).


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 N.Y. Fin. Serv. L. §§ 601-08. However, the New York statute applies only to plans regulated by

 the state and does not extend to self-funded health plans regulated under the Employee

 Retirement Income Security Act. (ECF No. 1 ,r
                                            If 29; ECF No. 30 at 10-11.) The plaintiffs have

 not challenged the constitutionality of the New York Surprise Bill Act, but explained at oral

 argument that under the New York law, out-of-network providers have no claim against

 beneficiaries of state-regulated plans, beyond their usual in-network cost-sharing amount.

         TheplaintiffscommencedthisactiononDecember31,2021.
         The plaintiffs commenced this action on December 31, 2021. (ECF No. 1.) They
                                                                                 Theymoved
                                                                                      moved

 for a preliminary injunction four months later on April 4, 2022. (ECF No. 25.) On April 26,

 2022, the defendants filed their motion to dismiss the complaint for failure to state a claim, and

 opposed the plaintiffs’
             plaintiffs' motion for preliminary injunction. (ECF No. 29.) On June 7, 2022,
                                                                                     2022,1I

 heard oral argument on the parties’
                            parties' motions.

                                        LEGAL STANDARD

         A preliminary injunction is "an
                                     “an extraordinary remedy never awarded as of right,"
                                                                                  right,” Benisek

 v. Lamone, 138 S. Ct. 1942, 1943 (2018) (per curiam) (quoting Winter v. Nat. Res. D ef Council,
                                                                                   Def

 Inc., 555 U.S. 7, 24 (2008)), and is intended to "preserve
 Inc.,                                            “preserve the relative positions of the parties until

 a trial on the merits can be held,"
                              held,” id. ((quoting       o f Tex. v. Camenisch,
                                           quoting Univ. of          Camenisch, 451 U.S. 390, 395

 (1981)). A decision to award preliminary injunctive relief is often based on "procedures
                                                                              “procedures that are

                                                                       merits." Camenisch,
 less formal and evidence that is less complete than in a trial on the merits.” Camenisch, 451 U.S.

 at 395. "To
         “To obtain a preliminary injunction, the moving party must demonstrate (1) irreparable

 harm absent injunctive relief; (2) either a likelihood of success on the merits, or a serious

 question going to the merits to make them a fair ground for trial, with a balance of hardships
                                                                                   ofhardships

 tipping decidedly in the plaintiff                            public's interest weighs in favor of
                          plaintiff'ss favor; and (3) that the public’s




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                          3
             injunction.”3
 granting an injunction."   Red Earth LLC v. United States,
                                                    States, 657 F.3d 138, 143 (2d Cir. 2011)

 (internal quotation marks and citations omitted).

         Where a party seeks injunctive relief that "will
                                                    “will affect government action taken in the

 public interest pursuant to a statutory or regulatory scheme, the injunction should be granted only

                                                                   standard.” Sussman v.
 if the moving party meets the more rigorous likelihood-of-success standard."

 Crawford, 488 F.3d 136, 140 (2d Cir. 2007) (quoting Wrightv.
 Crawford,                                           Wright v. Giuliani, 230 F.3d 543,547
                                                                                  543, 547 (2d

              c f United States v. Siemens Corp.,
 Cir. 2000)); cf                           Corp., 621 F.2d 499, 505 (2d Cir. 1980) ('In
                                                                                   (“In litigation

 among private parties, the party seeking preliminary relief must show ...
                                                                       . . . either (1) likelihood of

 success on the merits or (2) sufficiently serious questions going to the merits to make them a fair

 ground for litigation ....   "). This heightened requirement "reflects
                       . . . .”).                             “reflects the idea that governmental

 policies implemented through legislation or regulations developed through presumptively

 reasoned democratic processes are entitled to a higher degree of deference and should not be

          lightly.” Otoe-Missouria Tribe of
 enjoined lightly."                      o fIndians v.
                                                    v. NY.
                                                       N.Y. State
                                                            State Dep
                                                                  D ep’t o fFin.
                                                                      't of Fin. Servs.,
                                                                                 Servs., 769 F.3d

  105, 110 (2d Cir. 2014) (quoting Able v. United States,
                                                  States, 44 F.3d 128, 131 (2d Cir. 1995)).

         In order to survive a motion to dismiss, a complaint must plead "enough
                                                                         “enough facts to state a

 claim to relief that is plausible on its face."
                                          face.” Bell Atl. Corp. v. Twombly,
                                                                    Twombly, 550 U.S. 544, 570

 (2007). A claim is plausible "when
                              “when the plaintiff pleads factual content that allows the court to

                                                                               alleged.” Matson v.
 draw the reasonable inference that the defendant is liable for the misconduct alleged."

 Bd. of
     o f Educ.,                                (quoting Ashcroft v. Iqbal,
         Educ., 631 F.3d 57, 63 (2d Cir. 2011) (quotingAshcrofiv.   Iqbal, 556 U.S. 662,678
                                                                                    662, 678


 3
 3 According to the defendants, the plaintiffs must satisfy a more demanding standard-a
                                                                                   standard—a "clear
                                                                                               “clear or
   substantial likelihood of success on the merits"-because
                                             merits”—because they seek "a  “a mandatory injunction-that
                                                                                          injunction—that is, an
   injunction that disrupts the status quo."
                                       quo.” (ECF No. 30 at 17 ((quoting
                                                                 quoting Am. Soccer League, LLC v. U.S.
          Fed'n,
   Soccer F ed ’n, 883 F.3d 32, 37 (2d Cir. 2018).) But the plaintiffs do not seek to alter the status quo by
                               government action; rather, they want to enjoin enforcement of the Act.
   compelling some positive govermnent
   Accordingly, the likelihood-of-success standard applies. See Friends of   o f the E. Hampton Airport, Inc. v.
         ofE.
   Town of  E. Hampton,
               Hampton, 152 F. Supp. 3d 90, 101 (E.D.N.Y. 2015), aff'da ff’d in part, vacated in part, 841 F.3d
   133 (2d Cir. 2016).


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 (2009)) (internal quotation marks omitted). While "detailed
                                                   “detailed factual allegations"
                                                                     allegations” are not required,

 "[a]
 “[a] pleading that offers 'labels     conclusions’ or 'a
                           ‘labels and conclusions'    ‘a formulaic recitation of the elements of a

 cause of action will not do."'
                          do.’” Iqbal,                          Twombly, 550 U.S. at 555).
                                Iqbal, 556 U.S. at 678 (quoting Twombly,

                                            DISCUSSION

        In their complaint and in their motion for injunctive relief, the plaintiffs challenge the

 constitutionality of the Act. First, they say that the Act's
                                                        Act’s IDR process "deprives
                                                                          “deprives physicians of

 the right to aajury                                         Amendment.” (ECF No. 1 ,r
                jury trial guaranteed to them by the Seventh Amendment."            If 3.)

 Second, they claim that the Act "deprives
                                 “deprives those physicians of property without due process of

 law and is therefore unconstitutional under the Fifth and Fourteenth Amendments,"
                                                                      Amendments,” because it

 "allow[s]
 “allowfs] insurers to define the standard by which the IDR will determine out-of-network

 physicians’ claims for the reasonable value of their services, and by precluding the physicians
 physicians'

 from billing patients for the amounts insurers refuse to pay.”
                                                          pay." (ECF No. 23 at 2.) The

 defendants oppose injunctive relief and move to dismiss the complaint. (ECF No. 29.)

 I.     The Plaintiffs'
            Plaintiffs’ Motion for a Preliminary Injunction

        In seeking injunctive relief, the plaintiffs focus exclusively on two factors-likelihood
                                                                              factors—likelihood of

 success on the merits and irreparable harm. They say that if enforced, the Act will violate their

 rights under "the
              “the Fifth, Seventh and Fourteenth Amendments,"
                                                 Amendments,” causing them irreparable injury.

 (ECF No. 23 at 24-25); see Jolly v. Coughlin,
                                     Coughlin, 76 F.3d 468, 482 (2d Cir. 1996) C[I]t
                                                                               (“[I]t is the

 alleged violation of a constitutional right that triggers a finding of irreparable harm."
                                                                                    harm.” ((emphasis
                                                                                             emphasis

 in original)). As explained below, the plaintiffs have not demonstrated irreparable harm or a




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 likelihood of success on the merits of their claims. Nor have they established that the public

 interest weighs in favor of injunctive relief.

         a.      The Plaintiffs'
                     Plaintiffs’ Seventh Amendment Claim

         The Seventh Amendment provides that in "suits
                                                “suits at common law, where the value in

 controversy shall exceed twenty dollars, the right of trial by jury shall be preserved ....
                                                                                        . . . . "” U.S.

 Const.
 Const, amend. VII. The Supreme Court has "consistently
                                          “consistently interpreted the phrase 'Suits
                                                                               ‘Suits at

 common law'
        law’ to refer to 'suits
                         ‘suits in which legal rights were to be ascertained and determined, in

 contradistinction to those where equitable rights alone were recognized, and equitable remedies

      administered.’” Granjinanciera,
 were administered."' Granfinanciera, S.A. v. Nordberg,
                                              Nordberg, 492 U.S. 33, 41 (1989) (citation

 omitted). "The
           “The Seventh Amendment protects a litigant's            jury trial only if a cause of
                                             litigant’s right to aajury

 action is legal in nature and it involves a matter of 'private
                                                       ‘private right."'
                                                                right.’” Id. at 42 n.4.

         The same is not true when a cause of action involves "public
                                                              “public rights."
                                                                      rights.” "[W]hen
                                                                               “ [W]hen Congress

 creates new statutory 'public
                       ‘public rights,'
                               rights,’ it may assign their adjudication to an administrative agency

 with which ajury
            a jury trial would be incompatible, without violating the Seventh Amendment's
                                                                              Amendment’s

            thatjury
 injunction that jury trial is to be 'preserved'
                                     ‘preserved’ in 'suits
                                                    ‘suits at common law."'
                                                                     law.’” Atlas Roofing Co. v.

 Occupational Safety & Health Rev. Comm
                                   Comm’n,
                                        'n, 430 U.S. 442, 455 (1977). The Supreme Court has

 expanded the public rights exception beyond cases arising "between
                                                           “between the Government and persons

 subject to its authority in connection with the performance of the constitutional functions of the

                          departments.” Stern v. Marshall,
 executive or legislative departments."          Marshall, 564 U.S. 462, 484 (2011) (quoting

 Crowell v. Benson, 285 U.S. 22, 50 (1932)); see also id. at 490; Thomas v. Union Carbide Agr.

 Prod. Co.,
       Co., 473 U.S. 568, 586 (1985) ("Insofar
                                     (“Insofar as appellees interpret [Northern Pipeline

 Construction Co. v. Marathon Pipe Line Co.,
                                        Co., 458 U.S. 50 (1982)] and Crowell as establishing

 that the right to an Article III forum is absolute unless the Federal Government is a party of

 record, we cannot agree.");
                   agree.”); Granjinanciera,
                             Granfinanciera, 492 U.S. at 54 ("[T]he
                                                            (“[T]he Federal Government need not


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  be a party for a case to revolve around 'public rights."' ((citation
                                          ‘public rights.’”   citation omitted)). Instead, the question

             “Congress, acting for a valid legislative purpose pursuant to its constitutional powers
  is whether "Congress,

  under Article I, has created a seemingly 'private'
                                           ‘private’ right that is so closely integrated into a public

  regulatory scheme as to be a matter appropriate for agency resolution with limited involvement

                 Illjudiciary.”
  by the Article Ill             Thomas, 473 U.S. at 593-94; see also Stern,
                     judiciary." Thomas,                              Stern, 564 U.S. at 490-91

  ('The
  (“The Court has continued ...
                            . . . tto
                                    o limit the exception to cases in which the claim at issue derives

  from a federal regulatory scheme, or in which resolution of the claim by an expert Government

  agency is deemed essential to a limited regulatory objective within the agency's
                                                                          agency’s authority. In

                                                            ‘public’ rather than private is that the right
  other words, it is still the case that what makes a right 'public'

  is integrally related to particular Federal Government action.").
                                                         action.”).

          The parties appear to agree that the question here is whether Congress created a new

  public right when it enacted the No Surprises Act. The plaintiffs assert that Congress did not.

  Rather, citing their private right under New York law to bring quantum meruit claims against

  patients for the value of out-of-network services (ECF No. 23 at 12), they maintain that

  "Congress
  “Congress has no authority to deny [] the physician the right to aajury
                                                                     jury trial de nova
                                                                                   novo on state

  common law claims,”
             claims," and that "the
                               “the Act requires the parties to a private billing dispute to submit

  themselves to final and binding arbitration [IDR], to which neither party agreed, and which

  would otherwise enjoy the right to aajury                         Amendment." (Jd.
                                       jury trial under the Seventh Amendment.” {Id. at 14.)

  These arguments are unpersuasive.

          The IDR entity does not adjudicate payment disputes between out-of-network doctors

  and their patients. Rather, the IDR entity mediates between doctors and insurers, and determines

  what the out-of-network providers can get from insurers. As the plaintiffs acknowledged at oral

  argument, out-of-network providers have no right of action under New York law to recover




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  directly from health insurers. (See ECF No. 30 at 23); see also Buffalo Emergency Assocs., LLP

  v. Aetna Health, Inc.,            461, 462 (1st Dep't
                   Inc., 167 A.D.3d 461,462       Dep’t 2018) (dismissing providers’
                                                                          providers' suit against

  an insurer because "the                                                A c t....
                     “the New York Emergency Services and Surprise Bills Act    . . does not

  provide for a private right of action to enforce its provisions”).
                                                       provisions"). Thus, the Act does not compel

  providers to arbitrate state common law claims to which they had a right to aajury
                                                                                jury trial. Instead,

  as the defendants point out, "[i]n
                               “[i]n cases where the federal law applies, it is the No Surprises Act

  itself that creates [an out-of-network] health care provider’s
                                                      provider's right to recover payments directly

  from a health plan or insurer (and the corresponding legal obligation of the health plan or insurer

                                                                           4
  to pay a provider with whom that plan had no contractual relationship)."
                                                           relationship).”4  (ECF No. 30 at 22-

  23.)

           The plaintiffs also argue that the Act did not create a public right to recover from insurers

  because it '"replace[s]'
             “‘replace[s]’ an existing state law contract claim with substantively the same claim,
                                                                              5
  also sounding in contract, between the provider and the patient’s insurer.”5
                                                          patient's insurer."   (ECF No. 31
                                                                                         31at
                                                                                            at 6.)

  Quoting the Supreme Court's             Thomas, the plaintiffs state that "[t]he
                      Court’s decision in Thomas,                           “[t]he public rights

  exception is limited to circumstances in which the 'right
                                                     ‘right to compensation [under a regulatory

  scheme] does not depend on or replace a right to such compensation under state law."'
                                                                                 law.’” (J
                                                                                        (Id.
                                                                                          d.

                                    Thomas, 473 U.S. at 584).)
  (alteration in original) (quoting Thomas,

           The plaintiffs cite no authority, and the Court is aware of none, to support the claim that a

  new federal cause of action-which
                       action—which creates a right to recover from an entity against which the



  4
  4 The Act addresses surprise billing in two discrete situations: patients who because of their acute medical
    condition cannot consent to being treated by an out-of-network doctor, and patients who seek treatment
    from an in-network doctor, and unbeknownst to the patient, an out-of-network provider participates in
        patients’ care. See 42 U.S.C. §§ 300gg-131, 300gg-132. Presumably, the plaintiffs have recourse to
    the patients'
    state lawsuits against patients in cases not covered by the Act.
  5
  5 "Under
    “Under New York law, a quantum meruit claim is a claim in quasi-contract."
                                                              quasi-contract.” Fieger v. Pitney Bowes
           Corp., 251 F.3d 386, 394 (2d Cir. 2001).
    Credit Corp.,


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  plaintiff previously had no cause of action-replaces
                                       action—replaces a similar but distinct state cause of action

  involving different parties. As the Supreme Court held in Granjinanciera,
                                                            Granfinanciera, "Congress
                                                                            “Congress may

  fashion causes of action that are closely analogous to common-law claims and place them

  beyond the ambit of the Seventh Amendment by assigning their resolution to a forum in which

  jury trials are unavailable.”
                  unavailable." 492 U.S. 33 at 52; see also Thomas,
                                                            Thomas, 473 U.S. at 584 (holding that

  “[a]ny right to compensation from follow-on registrants under [the regulatory scheme] results
  "[a]ny

  from [the Federal Insecticide, Fungicide, and Rodenticide Act] and does not depend on or

  replace a right to such compensation under state law").
                                                   law”).

         The plaintiffs conceded at oral argument that they have no state common law cause of

  action against insurers to recover payment for out-of-network services, but argued the Act

  replaces their state law cause of action because in practice, most of their quantum meruit cases

  were against insurers, since patients usually assigned their rights to benefits to the plaintiffs. But

  that practice does not create a common law cause of action. And Congress is not precluded from

  creating a distinct claim for out-of-network providers against insurers and assigning the

  adjudication to arbitration. "To
                               “To hold otherwise would be to erect a rigid and formalistic restraint

  on the ability of Congress to adopt innovative measures such as negotiation and arbitration with

                                            scheme.” Thomas,
  respect to rights created by a regulatory scheme." Thomas, 473 U.S. at 594.

         When Congress enacted the No Surprises Act, it permitted health care providers to

  recover payment directly from insurers for out-of-network services, which is a new public right.

  Out-of-network providers’
                 providers' claims against insurers do not arise under state common law, but

  instead depend "upon
                 “upon the will of [C]ongress,"
                                   [C]ongress,” M urray’s Lessee v. Hoboken Land & Improvement
                                                Murray's

  Co., 59 U.S. 272,284
  Co.,         272, 284 (1856), and flow from a federal statutory scheme, see Thomas,
                                                                              Thomas, 473 U.S. at

         (“For purposes of compensation under FIFRA's
  584-85 ('For                                FIFRA’s regulatory scheme, however, it is the




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  ‘mandatory licensing provision'
  'mandatory           provision’ that creates the relationship between the data submitter and the

  follow-on registrant, and federal law supplies the rule of decision.").
                                                             decision.”). Indeed, a provider's
                                                                                    provider’s right

  to recover payment directly from an insurer is "completely
                                                 “completely dependent upon"
                                                                       upon” the adjudication of a

  claim created by the Act. See Commodity Futures Trading Comm
                                                          Comm’'nn v. Schor,
                                                                      Schor, 478 U.S. 833, 856

                             “limited to a 'particularized
  (1986). The IDR process is "limited                                  law,’ as in Crowell, Thomas,
                                           ‘particularized area of the law,'

  and Schor,"
      Schor” and the IDR entity does not have "substantive
                                              “substantivejurisdiction
                                                           jurisdiction reaching any area of the

  corpus juris.” Stern, 564 U.S. at 493 (citing Northern Pipeline,
         Juris." Stern,                                  Pipeline, 458 U.S. at 85).

         Finally, the Act provides for a certification process that ensures, among other things, that

                    “sufficient medical, legal, and other expertise and sufficient staffing to make
  IDR entities have "sufficient

                           . . . oon
  [payment] determinations ...     n aa timely basis."
                                               basis.” 42 U.S.C. § 300gg-l
                                                                   300gg-lll(c)(4)(A)(i).
                                                                           ll(c)(4)(A)(i). For this

                                               “situation in which Congress devised an 'expert
  reason, the process more closely resembles a "situation                              ‘expert

  and inexpensive method for dealing with a class of questions of fact which are particularly suited

                                                                                          task.’”
  to examination and determination by an administrative agency specially assigned to that task.'"

  Stern,
  Stern, 564 U.S. at 494 (quoting Crowell,
                                  Crowell, 285 U.S. at 46). In light of these considerations,

  Congress’s assignment of the IDR process to non-Article III tribunals does not violate the
  Congress's

  Seventh Amendment. Cf
                     Cf. id. at 493-94 (holding that the petitioner's
                                                         petitioner’s claim did not fall within the

  public rights exception because it was a state common law claim between private parties, did not

  depend on the will of Congress, did not flow from a statutory scheme, was not limited to a

  particularized area of law, and dealt with a court with substantive
                                                          substantivejurisdiction).
                                                                      jurisdiction).

         Because the IDR process does not violate the plaintiffs’
                                                      plaintiffs' rights under the Seventh

  Amendment, they cannot show irreparable harm or a likelihood of success on the merits. See

               Cuomo, 512 F. Supp. 3d 379, 393 (E.D.N.Y. 2021). The plaintiffs’
  Weisshaus v. Cuomo,                                               plaintiffs' Seventh

  Amendment claim for injunctive relief is denied.




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          b.       The Plaintiffs'
                       Plaintiffs’ Due Process Claim

                                                                        process. 6 They argue that the
          The plaintiffs claim that the Act violates their right to due process.6

  “Act deprives physicians, including Plaintiffs, of their property rights to the reasonable value of
  "Act

  the services they have rendered without due process of law by allowing health plans to determine

  the standard by which the 'independent
                            ‘independent dispute resolution process’
                                                            process' determines physicians’
                                                                                physicians'
                               7
  claims."
  claims.” (ECF No. 31 at 13.)
                          13.)7  "In
                                 “In order to assert a violation of procedural due process rights, a

  plaintiff must 'first
                 ‘first identify a property right, second show that the [government] has deprived

  him of that right, and third show that the deprivation was effected without due process.’”
                                                                                  process."'

  DeFabio v. E. Hampton Union Free Sch. Dist.,
                                        Dist., 658 F. Supp. 2d 461, 487 (E.D.N.Y. 2009)

  (quoting Local 342, Long Island Pub. Serv. Emps. v. Town Bd. o f Huntington, 31 F.3d 1191,
                                                           Ed. ofHuntington,

  1194 (2d Cir. 1994)).

          According to the plaintiffs, the property interest at issue is their "cognizable
                                                                               “cognizable property

  interest in being fully and fairly compensated for services they render to their patients, both in

  state court under common law, and against third-party insurers within the confines of the


  6
  6 The plaintiffs appear to make claims under both the Fifth and Fourteenth Amendments. (See ECF No. 1
    ,r| 3 ((alleging
            alleging that the Act "violates
                                  “violates the Due Process Clause of the Fifth Amendment");
                                                                                 Amendment”); id. at   17 ((alleging
                                                                                                    a tl7   alleging
    that it "deprives
              “deprives physicians, including Plaintiffs of property without due process of law in violation of
    the Fourteenth Amendment");
                       Amendment”); see also ECF No. 23      at 10 ("The
                                                          23at     (“The Act also violates the out-of-network
    physicians' rights to due process oflaw
    physicians’                           of law under the Fifth and Fourteenth Amendments.").)
                                                                                  Amendments.”).) "The
                                                                                                    “The Due
    Process Clause of the Fifth Amendment prohibits the United States, as the Due Process Clause of the
    Fourteenth Amendment prohibits the States, from depriving any person of property without 'due      ‘due process
    oflaw .’” Dusenbery v. United States,
    oflaw."'                            States, 534 U.S. 161, 167 (2002). The plaintiffs assert due process
    claims against only federal govermnent
                                    government defendants. Therefore, to the extent that the plaintiffs seek
    injunctive relief under the Fourteenth Amendment, they cannot show a likelihood of success on the
    merits. Cf  Cf. Ambrose v. City of
                                     ofNew   York, 623 F. Supp. 2d 454,466
                                       New York,                    454, 466 (S.D.N.Y. 2009) ("Because
                                                                                               (“Because
    Plaintiff’s lawsuit does not allege any deprivation of
    Plaintiffs                                             ofhis
                                                              his rights by the federal govermnent,
                                                                                        government, any due
    process claim he has against the City is properly brought under the Due Process Clause of the
    Fourteenth Amendment, not under that of the Fifth Amendment.").
                                                            Amendment.”).
  7
  7 The plaintiffs base their argument that the IDR process is "controlled
                                                                  “controlled by the insurers"
                                                                                     insurers” (ECF No 23 at
                                                                                                          a t l1))
    on the Act's
            Act’s requirement that IDR entities consider the relevant qualifying payment amount. But
    insurers do not unilaterally set these rates; they negotiate them with participating providers and
    facilities. See Requirements Related to Surprise Billing; Part I, 86 Fed. Reg. 36872, 36874 (July 13,
    2021) .
    2021).


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                          process." (ECF No. 31 at 14.) They cite a 1913 case, McGuire v.
  federally compelled IDR process.”

  Hughes, 207N.Y.
  Hughes, 207 N.Y. 516 (1913), and Ruppert v. Bowen, 871 F.2d 1172 (2d Cir. 1989) for the

  proposition that health care providers are entitled to recover from patients the reasonable value of

  emergency services provided. (ECF No. 23 at 15-16); see McGuire,
                                                          McGuire, 207 N.Y. at 522 (holding

       “that a physician, in the absence of a special contract, may recover upon an implied
  that "that

  agreement to pay for his services quantum meruit, when they have been rendered at the request

  of the patient”);
         patient"); Ruppert, 871 F.2d at 1178 ("Under
                                              (“Under New York law, an incompetent is liable under

  an implied agreement for the reasonable value of necessities.”).
                                                   necessities."). These cases do not support the

  plaintiffs’ position that the Act must be invalidated. McGuire stands for the unremarkable
  plaintiffs'

  proposition that a doctor can sue a patient for the costs of
                                                            ofher           “when they have been
                                                               her services "when

                                 patient.” 207 N.Y. at 521. Ruppert had to do with the methods by
  rendered at the request of the patient."

  which the Social Security Administration calculates benefits under the Supplemental Security

  Income program, not whether a provider could sue a patient for the value of emergency services

  to which the patient did not or could not consent. 871 F.2d at 1178.

         In an effort to contrast the Act with New York's
                                                   York’s Surprise Bill Act, the plaintiffs say that

  providers are entitled under the New York Surprise Bill Act "to
                                                              “to recover the 'usual
                                                                              ‘usual and customary

              service.’” (ECF No. 23 at 9 (quoting N.Y. Fin. Servs. L.
  cost of the service."'                                            F. § 604(f)).) But the New

                                                           “the usual and customary cost of the
  York Surprise Bill Act does not create an entitlement to "the

  service;” rather, it instructs IDR entities to consider it among five other factors. See N.Y. Fin.
  service;"

         F. § 604. The plaintiffs also cite Furlong v. Shala/a,
  Servs. L.                                            Shalala, 156 F.3d 384 (2d Cir. 1998) for the

                   “professionals who provide services under a federal program such as Medicaid
  proposition that "professionals

  or Medicare have a property interest in reimbursement for their services at the 'duly
                                                                                  ‘duly promulgated

                rate.’” (ECF No. 31
  reimbursement rate."'          3 1 aatt l14
                                            4 (quoting Furlong,
                                                       Furlong, 156 F.3d at 393).) However, in




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  Furlong, the Second Circuit focused on the providers'
  Furlong,                                   providers’ "property
                                                        “property interest in being reimbursed at

  [Medicare's]
  [Medicare’s] fee schedule rate."
                            rate.” 156 F.3d at 393. There is no similar fee schedule in this case.

          Under the New York Surprise Bill Act, it is insurers, not patients, who must pay a

  "reasonable
  “reasonable amount for the services of out-of-network emergency medical providers."
                                                                          providers.”

  Emergency Physician Servs. of
                             o f NY
                                 N.Y. v.
                                      v. UnitedHealth Grp., Inc.,
                                                            Inc.,No.
                                                                  No. 20-CV-9183, 2021 WL

                                           (citingN.Y.
  4437166, at *2 (S.D.N.Y. Sept. 28, 2021) (citing N.Y. Fin. Servs. L. § 605(a)). Finally, the

  plaintiffs cite no authority, and the Court is not aware of any, for the proposition that a health

  care provider’s
       provider's entitlement to "reasonable payment" is a cognizable property interest for the
                                 “reasonable payment”
                                   8
  purposes of a due process claim.
                            claim.8

          To the extent there is a cognizable property interest in the reasonable value of out-of-

  network services for the purposes of a due process claim-and
                                                     claim—and that is far from clear-the
                                                                                clear—the

  plaintiffs'
  plaintiffs’ claim for injunctive relief is not ripe. "As
                                                       “As the Second Circuit has recognized,

  ‘[r]ipeness is a doctrine rooted in both Article Ill's
  '[r]ipeness                                      Ill’s case or controversy requirement and

  prudential limitations on the exercise of judicial authority."'
                                         ofjudicial                  End Eruv A
                                                     authority.’” E. EndEruv  Ass   n, Inc. v. Vil/.
                                                                                ss’'n,         Vill. of
                                                                                                     of

  Westhampton Beach, 828 F. Supp. 2d 526, 536 (E.D.N.Y. 2011) (quoting
                                                              (quotingMurphy
                                                                       Murphy v. New

  Milford Zoning Comm
                 Comm’'n,
                       n, 402 F.3d 342, 347 (2d Cir. 2005)). "The
                                                             “The 'basic
                                                                  ‘basic rationale'
                                                                         rationale’ of the

                    ‘is to prevent the courts, through avoidance of premature adjudication, from
  ripeness doctrine 'is

  entangling themselves in abstract disagreements.’”
                                    disagreements."' Id. ((quotingMurphy,
                                                           quoting Murphy, 402 F.3d at 34 7).
                                                                                       347).

  "Determining                                                          ‘evaluate both the fitness of
  “Determining whether a case is ripe generally requires [the court] to 'evaluate

  the issues for judicial decision and the hardship to the parties of withholding court
             forjudicial

  consideration.’” Id. (quoting Murphy,
  consideration."'              Murphy, 402 F.3d at 347 and Abbott Labs. v. Gardner,
                                                                            Gardner, 387 U.S.

  136, 148 (1967)). "The ‘fitness of issues for
                    “The 'fitness               judicial review'
                                            forjudicial  review’ requires 'a
                                                                          ‘a weighing of the


  8
  8 The plaintiffs appear to claim that the standard for "reasonable payment" is what they customarily
                                                         “reasonable payment”
    charge.


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  sensitivity of the issues presented and whether there exists a need for further factual

  development,’ whereas the 'hardship
  development,'             ‘hardship to the parties'
                                             parties’ requires the court to 'gauge
                                                                            ‘gauge the risk and

  severity of injury to a party that will result if the exercise of
                                                                 ofjurisdiction     declined.’” E. End
                                                                    jurisdiction is declined."'

  Eruv A ss’'n,
       Ass   n, 828 F. Supp. 2d at 536 ((quotingMurphy,              347).
                                         quoting Murphy, 402 F.3d at 34 7).

          As the plaintiffs acknowledge, there is currently no live dispute about the regulations that

  require arbitrators to give dispositive weight to the qualifying payment amount CQPA").
                                                                                  (“QPA”). That

  provision of the governing regulations was vacated in Texas Medical Association v. U.S.

  Department of
             o f Health and Human Services.
                                  Services. No. 21-CV-425, 2022 WL 542879 (E.D. Tex. Feb.

  23, 2022). As noted above, see supra note 1, the defendants are in the process of publishing a

  new rule that will address the Texas Medical Association decision, and the parties agree that

  there is no live dispute with respect to the Rule.

                                                                     plaintiffs’ claim that the Act is
          Because there is no live dispute about the regulation, the plaintiffs'

                                                    “general standard for determining the payment
  unconstitutional because it treats the QPA as the "general

                                   9 10
  to physicians"
     physicians” is also not ripe.
                             ripe.9,10
                                    •   The plaintiffs speculate that they may suffer harm under the

                                                            “expect[s]
  yet-to-be-determined regulation, claiming that Dr. Haller "expect[ s] that the rates [he] and [his]

  Long Island Surgical colleagues submit to out-of-network health plans will generally not be the

                                        Act.” (ECF No. 22 ,r^ 10.) They also predict that their
  amount closest to the [QPA] under the Act."

                     IDR
  payments under the ID R process will be less than the reasonable value of the services they

  provide. But speculation about what might happen does not establish irreparable harm. See

  Grand River Enter. Six Nations, Ltd. v. Pryor,                                (“To satisfy the910
                                          Pryor, 481 F.3d 60, 66 (2d Cir. 2007) ('To


  9
  9 As explained above, the QP
                            QPAA is just one of the factors that an IDR entity must consider.
  10
  10 The plaintiffs also argue that the Act violates their due process rights because it "specifically
                                                                                         “specifically excludes
    consideration of [[out-of-network
                       out-of-network providers’]
                                       providers'] 'usual
                                                    ‘usual and customary charges."'
                                                                          charges.’” (ECF No. 31 at 25 ((citing
                                                                                                           citing
    42 U.S.C. § 300gg-l   l l(c)(5)(D)).) As discussed above, the plaintiffs have not established that for the
                 300gg-lll(c)(5)(D)).)
   purposes of a due process claim, they have a cognizable property interest in recovering the usual and
    customary cost of their services. Accordingly, they cannot assert a due process violation on this basis.


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  irreparable harm requirement, Plaintiffs must demonstrate that absent a preliminary injunction

  they will suffer an injury that is neither remote nor speculative, but actual and imminent .... "

  (quotation marks and citation omitted)). Because the challenged provision of the Rule has been

  vacated and the relevant portion of the Act cannot be enforced until the new rule's
                                                                               rule’s publication, it

  poses no hardship to the plaintiffs, and the plaintiffs face no risk of injury if the Court declines to

  exercise jurisdiction at this point. Moreover, the existing record does not permit a court to

  determine whether the IDR process deprives the plaintiffs of due process. At this stage, there is

  no evidence ofIDR
              of IDR decisions about payment amounts, how those amounts compare to the

  parties' submitted offers, or the extent to which the IDR entities consider additional evidence
  parties’

                                             plaintiffs' claim for injunctive relief on the basis of an
  submitted by the parties. Accordingly, the plaintiffs’

  alleged due process claim is not ripe.

          c.      The Plaintiffs'
                      Plaintiffs’ Takings Claim

          The Takings Clause of the Fifth Amendment provides that no private property "shall
                                                                                      “shall

  ...
  . . . bbe
          e taken for public use, withoutjust
                                  without just compensation."      Const, amend. V. In the federal
                                               compensation.” U.S. Const.

  takings context, "to
                   “to succeed in establishing a constitutional violation claimants must

  demonstrate: (1) that they have a property interest protected by the Fifth Amendment, (2) that

  they were deprived of that interest by the government for public use, and (3) that they were not

  affordedjustcompensation.”
  afforded just compensation." Ganci v. N.Y.C.           Auth., 420 F. Supp. 2d 190, 195
                                                 TransitAuth.,
                                        N. Y. C. Transit

              afj’ d, 163 F. App'x
  (S.D.N.Y.), ajf'd,         App’x 7 (2d Cir. 2005).

          "[A]
          “[A] party challenging governmental action as an unconstitutional taking bears a

  substantial burden,”
              burden," Eastern Enters. v. Apfel, 524 U.S. 498, 523 (1998) (plurality opinion), a

  burden made even more demanding here because the plaintiffs have not sufficiently alleged that

  the Act will violate their right to due process. See Concrete Pipe & Prods. of
                                                                              o f Calif
                                                                                  Calif. Inc. v.

  Constr. Laborers Pension Tr. for S. Calif,
                                      Calif., 508
                                              508U.S.                  (“Giventhat
                                                  U.S. 602, 641 (1993) ('Given that [the


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  petitioner's] due process arguments are unavailing, it would be surprising indeed to discover
  petitioner’s]

  [that] the challenged statute nonetheless violated the Takings Clause."
                                                                 Clause.” (citation and quotation

  marks omitted)); see also In re Chateaugay Corp.,
                                             Corp., 53 F.3d 478,494
                                                            478, 494 (2d Cir. 1995) ('Where
                                                                                    (“Where

  legislation adjusting the benefits and burdens of economic life withstands due process review, 'it
                                                                                                 ‘it

  would be surprising indeed to discover'
                                discover’ that Congress had thereby committed an unconstitutional

  taking.” (quoting Connolly v. Pension Benefit Guar. Corp.,
  taking."                                            Corp., 475 U.S.
                                                                 U.S.211,                “It is
                                                                      211, 223 (1986))). "It

  well settled that a taking may more readily be found when the interference with property can be

  characterized as a physical invasion by govermnent,
                                          government, than when interference arises from some

  public program adjusting the benefits and burdens of economic life to promote the common

  good.” Chateaugay Corp.,
  good."            Corp., 53 F.3d at 496 ((quoting
                                            quoting Keystone Bituminous Coal A ss’'nn v.
                                                                             Ass

  DeBenedictis, 480 U.S. 470, 490 n.18 (1987) (internal quotation marks omitted)). In this case,

      “[No Surprises] Act entails no physical invasion of property, nor any permanent confiscation
  the "[No

  of [the plaintiffs’]
          plaintiffs'] assets for governmental use. On the contrary, the[]
                                                                     the [] Act squarely falls within

  the category of legislation that serves to adjust the benefits and burdens of economic life on

  behalf of the common good."
                       good.” Id. (holding that the Coal Industry Retiree Health Benefit Act of

  1992 did not violate the Takings Clause).

          “Before the Supreme Court's
          "Before             Court’s [] decision in Knick v. Township of
                                                                       o f Scott,
                                                                           Scott, 139 S. Ct. 2162

  (2019), the law in the Second Circuit provided that a takings claim was not ripe unless the

  property owner could show 'that
                            ‘that (1) the state regulatory entity has rendered a "final
                                                                                 “final decision"
                                                                                        decision” on

  the matter, and (2) the plaintiffhas sought just compensation by means ofan
                                       soughtjust                        of an available state

  procedure.’” SagaponackRealty,
  procedure."' Sagaponack Realty, LLC v. Vil/.
                                         Vill. of
                                               o f Sagaponack,
                                                   Sagaponack, 778 F. App'x
                                                                      App’x 63, 64 (2d Cir.

  2019) (quoting Dougherty v. Town ofN.
                                   o f N. Hempstead Bd. of
                                                        o f Zoning Appeals,
                                                                   Appeals, 282 F.3d 83, 88 (2d

               “Knick eliminated the state-exhaustion requirement as 'an
  Cir. 2002)). "Knick                                                ‘an unjustifiable burden on




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  takings plaintiffs .... "' Id. (quoting Knick, 139 S. Ct. at 2167). “But
                                                                      "But Knick leaves undisturbed

  the first prong, that a state regulatory agency must render a final decision on a matter before a

                   proceed.” Id. (quoting Knick,
  taking claim can proceed."                     139S.C
                                          Knick, 139     t.at2169).
                                                     S. Ct. at 2169). Moreover, the Court held

       “[a]s long as an adequate provision for obtaining
  that "[a]s                                   obtainingjust
                                                         just compensation exists, there is no basis

                government’s action effecting a taking."
  to enjoin the govermnent's                    taking.” Knick,
                                                         Knick, 139 S. Ct. at 2176.

         The plaintiffs argue that the Act "prohibits
                                           “prohibits physicians from billing their patients for the

  reasonable value of their services that it is not paid by the patients’ insurer,” and "compels
                                                                patients' insurer,"     “compels

  physicians to bear the societal burden of the increasing cost of
                                                                ofhealth
                                                                   health care, without imposing any

  corresponding burden on insurers or patients or the general public;"
                                                              public;” therefore, they say, the Act

  “violates the Fifth Amendment's
  "violates           Amendment’s proscription against taking private property withoutjust
                                                                               without just

  compensation, and it must be struck down on that basis."
                                                   basis.” (ECF No. 23 at 20-21.)

         While the Act prohibits out-of-network providers from balance billing patients covered

  by the Act, it also gives providers a right to recover the value of the services provided directly

  from insurers and creates a process to adjudicate that right. Thus, it is not evident that the

  prohibition against balance billing constitutes a taking under the Fifth Amendment. '"There
                                                                                      “‘There is

                                    [government] regulation'
  no set formula to determine where [govermnent] regulation’—as                    ‘paradigmatic
                                                             -as distinct from the 'paradigmatic

  taking’ of 'direct
  taking'    ‘direct government appropriation or physical invasion of private property,’—  ‘ends and
                                                                              property,' - 'ends

  takingbegins.’”
  taking begins."' District of
                            o f Columbia v. Beretta U.S.A. Corp.,
                                                           Corp., 940 A.2d 163, 180 (D.C. 2008)

  (quoting Goldblatt v. Hempstead,
                        Hempstead, 369 U.S. 590, 594 (1962) and Lingle v. Chevron U.S.A., Inc.,
                                                                                          Inc.,

  544 U.S. 528, 537
                537(2005)).
                    (2005)).

         The Court of Appeals for the District of Columbia addressed a similar issue in District of
                                                                                                 of

  Columbia v. Beretta U.S.A. Corporation,
                             Corporation, in which the plaintiffs challenged the Protection of

  Lawful Commerce in Arms Act ("PLCAA"),
                              (“PLCAA”), which extinguished preexisting causes of action




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  under state or federal law by requiring dismissal of all actions against firearms manufacturers

  based on a third party’s              of a firearm. See 15 U.S.C. §§ 7901-03. The plaintiffs
                   party's criminal use ofa

  contended that the PLCAA effected an uncompensated taking by extinguishing their causes of

  action against firearms manufacturers. They argued that "just
                                                          “just compensation"
                                                                compensation” would be either the

  damages they could prove in a hypothetical suit against the defendants or an order enjoining

  application of the PLCAA to their action. Beretta U.S.A. Corp.,
                                                           Corp., 940 A.2d at 180. The court

  rejected this argument, ruling that even though a plaintiff could have a protectible property

  interest in a cause of action, that interest does not vest until the cause of action is reduced to a

  final judgment. Id. ('The
  finaljudgment.      (“The 'Takings
                            ‘Takings Clause prevents the Legislature from depriving private

  persons of vested property rights'
                             rights’ without just compensation."
                                     withoutjust  compensation.” (emphasis in original) (quoting

  Landgraf v. USJ
  Landgrafv.  USIFilm
                  Film Prod.,
                       Prod., 511 U.S. 244,266
                                       244, 266 (1994))); see also id. (collecting cases in which

  courts found no takings "in
                          “in Congress's
                              Congress’s abrogation of pending—but
                                                       pending-but not final-causes
                                                                       final—causes of action").
                                                                                       action”).

  The court explained that '"causes
                           “‘causes of action'
                                       action’ are inchoate and 'not
                                                                ‘not fully vested interests until

  reduced to final judgments,' and thus 'the
             finaljudgments,’           ‘the projected economic impact on [plaintiff] is not

                                       taking.” Id. at 181 (quoting In re Jones Truck Lines, Inc.,
  sufficiently concrete to establish a taking."                                              Inc., 57

  F.3d 642, 651 (8th Cir. 1995)); see also
                                      alsoIleto
                                           Jleto v. Glock, Inc.,
                                                           Inc., 565 F.3d 1126, 1141 (9th Cir. 2009)

  (holding that the PLCAA did not constitute an unconstitutional taking because the plaintiffs’
                                                                                    plaintiffs'

  “property right in any cause of action does not vest until a final unreviewablejudgment
  "property                                                          unreviewable judgment is

  obtained"
  obtained” (citation omitted)).

          The court also observed that "Congress
                                       “Congress left intact means by which persons injured by

  firearms may yet pursue civil liability against sellers or manufacturers-recourse
                                                             manufacturers—recourse significant to

  measuring 'the
            ‘the severity of the economic impact of the [PLCAA],"'
                                                        [PLCAA],’” and explained that "while
                                                                                      “while

  Congress unmistakably took away the specific cause of action the plaintiffs have alleged, that




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  interference cannot be viewed 'in
                                ‘in a vacuum,'
                                      vacuum,’ but must be considered in the context of what

  Congress both did and did not do."
                                do.” Id. (quoting Connolly,
                                                  Connolly, 475 U.S. at 225); see also id. at 181

  n.11
  n .ll ("Congress,
        (“Congress, that is to say, has not worked the equivalent of a 'total
                                                                       ‘total deprivation of beneficial
                                                                                          ofbeneficial

  use,'
  use,’ in regard to redress that persons injured by firearms may have against manufacturers or

  sellers.” (quoting
  sellers."          Lucas v. S. Carolina Coastal Council,
            (quotingLucas                         Council, 505 U.S. 1003, 1017 (1992))). The fact

  that there were alternative causes of action weighed against a finding that the PLC AA violated
                                                                                  PLCAA

  the plaintiffs’
      plaintiffs' Fifth Amendment rights:

          The preservation of these causes of action marks an important limitation on
          Congress’s interference with the interests of the plaintiffs (and others similarly
          Congress's
          situated) seeking redress from manufacturers or sellers for injuries from the
          discharge of firearms. That limitation reinforces our conclusion that regulation did
          not "end"
               “end” and taking "begin,"
                                  “begin,” when Congress abolished qualified civil liability
          actions, including the plaintiffs’.
                                 plaintiffs'.

  Id. at 182 ((quoting
               quoting Goldblatt, 369 U.S. at 594); see also Ileto,
                                                             Ile to, 565 F.3d at 1141 (holding that the

  PLCAA did not violate the Takings Clause and other constitutional rights); City ofNew Yorkv.
                                                                                  ofNew York v.

  Beretta U.S.A. Corp.,
                 Corp., 524 F.3d 384, 390 (2d Cir. 2008) (affirming the PLCAA's
                                                                        PLCAA’s constitutionality

  on other grounds); Est. of
                          o f Charlot v. Bushmaster Firearms, Inc.,
                                                              Inc., 628 F. Supp. 2d 174, 184

  (D.D.C. 2009) (same).

                                   Act’s elimination of the plaintiffs’
          For similar reasons, the Act's                    plaintiffs' state common law cause of

  action against patients in the surprise billing context does not constitute an uncompensated

  taking. The plaintiffs do not point to any quantum meruit claims against patients that have been

  dismissed because of the Act’s
                           Act's prohibition against balance billing, and thus reduced to a final

  judgment. And, they do not have a vested property interest in a future cause of action that might

  serve as the basis for a takings claim. Even if there were a vested interest, Congress limited the

  economic impact on providers by giving them the right to recover the value of their services

  directly from insurers, and established the negotiation and IDR process to adjudicate that right.



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  Because the plaintiffs have an avenue to obtain payment for their services, "regulation
                                                                              “regulation did not

  end and taking begin”
                 begin" when Congress eliminated the plaintiffs’
                                                     plaintiffs' state common law cause of
                           11
  action against patients.
                 patients.1 1

          In short, the Act does not constitute a taking under the Fifth Amendment, so the plaintiffs

  cannot show irreparable harm or a likelihood of success on the merits. The plaintiffs’
                                                                             plaintiffs' takings

  claim for injunctive relief is denied.

          d.      Balance of Hardships and the Public Interest

                                                                             brief. 12 They maintain
          The plaintiffs addressed the public interest factor in their reply brief.12

  that enforcement of an unconstitutional law is inherently contrary to the public interest. (ECF

  No. 31 at 32-33.) "The
      31at          “The Second Circuit has concluded that, where a plaintiff alleges

  constitutional violations, the balance of hardships tips decidedly in the plaintiff
                                         ofhardships                        plaintiff'ss favor despite

  arguments that granting a preliminary injunction would cause financial or administrative burdens

         Government.” Sajous v. Decker, No. 18-CV-2447, 2018 WL 2357266, at *13 (S.D.N.Y.
  on the Government."

                (citingMitchell
  May 23, 2018) (citing             Cuomo, 748 F.2d 804, 808 (2d Cir. 1984)); see also Averhart v.
                        Mitchell v. Cuomo,

  Annucci, No. 21-CV-383, 2021 WL 2383556, at
                                           at*16
                                              *16 (S.D.N.Y. June 10, 2021). However, as

  discussed above, the plaintiffs have not sufficiently alleged that the Act violates their

  constitutional rights.

          As the defendants point out, by enacting the No Surprises Act, Congress balanced the

  relevant interests; it "determined
                         “determined that protecting patients from surprise medical bills would

  greater serve the public interest than allowing [out-of-network] providers to sue their patients



  11
  11 Indeed, the Act has formalized a practice that was already in existence. As noted above and as the
    plaintiffs explained at oral argument, it is routine for patients to assign their rights to benefits to
    providers, which negotiate payment amounts with the patients’
                                                              patients' insurers.
  12
  12 The public interest and the balance of hardships factors "merge
                                         ofhardships          “merge when the Govermnent
                                                                              Government is the opposing
   party.”
   party." Nken v. Holder,             418, 435 (2009).
                    Holder, 556 U.S. 418,435


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  directly for potentially ruinous medical bills,"
                                           bills,” and created a method for out-of-network providers

  to recover directly from insurers. (ECF No. 30 at 40.) Accordingly, the plaintiffs have not

  shown that a preliminary injunction would be in the public’s
                                                      public's interest, and this factor weighs

  against injunctive relief.

  II.     The Defendants'
              Defendants’ Motion to Dismiss

          The Court denies the plaintiffs’
                               plaintiffs' motion for a preliminary injunction in part because the

  Act does not violate their constitutional rights. For the same reasons, the defendants'
                                                                              defendants’ motion to

  dismiss the plaintiffs’
              plaintiffs' Seventh Amendment and takings claims is granted. See Evans v. Port

  Auth. ofN
        o f N.Y.  N.J., No. 15-CV-3942, 2017 WL
              Y & NJ.,                       WF 3396444, at *7 (E.D.N.Y. Aug. 8, 2017)

  (“den[ying] Plaintiffs'
  ("den[ying] Plaintiffs’ motion for a preliminary injunction for the same reason that it grant[ed]

  the [defendant's]
      [defendant’s] motion to dismiss").
                              dismiss”).

                                                         plaintiffs’ due process claim is not ripe.
          As explained above, supra see Section I.b, the plaintiffs'

  "To be justiciable, a cause of action must be ripe-it
  “To bejusticiable,                            ripe—it must present a real, substantial controversy,

                          question.” N
  not a mere hypothetical question."   a t’l'l Org. for Marriage, Inc. v. Walsh,
                                     Nat                                  Walsh, 714 F.3d 682, 687

  (2d Cir. 2013) ((citation
                   citation and quotation marks omitted). "A
                                                          “A claim is not ripe if it depends upon

  'contingent
  ‘contingent future events that may not occur as anticipated, or indeed may not occur at all."'
                                                                                          all.’” Id.

  (quoting Thomas,
           Thomas, 473 U.S. at 580). "[R]ipeness
                                     “[Rjipeness overlaps with standing: the former is essentially

  ‘a specific application of the actual injury aspect of Article III standing."'
  'a                                                                 standing.’” SC Note Acquisitions,

  LLC v. Wells Fargo Bank, N.A.,       App’x 741, 742 (2d Cir. 2014) (quotingNat'l
                           NA., 548 F. App'x                         (quotingN a t’l Org.for
                                                                                     Org. for

  Marriage, Inc.,
            Inc., 714 F.3d at 688). Because the Rule was vacated in Texas Medical Association




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  and the new rule is forthcoming, there is no way to determine whether an IDR process deprives

  the plaintiffs’                                     provided. 133
      plaintiffs' of the reasonable value of services provided.1

          The plaintiffs do not allege that they have participated in an arbitration, much less that the

  IDR process resulted in a payment amount below the reasonable value. At the time of oral

  argument—almost six months after the Act went into effect-the
  argument-almost                                    effect—the plaintiffs could not say whether

  they had participated in the IDR process. They do not allege that the IDR process has caused

  any concrete harm, so their claims of constitutional injury are speculative. Accordingly, they

  have no standing to assert the claim. It must be dismissed for lack of subject matter

  jurisdiction. 14
  jurisdiction.14




  13
  13 As noted above, it is not clear that the plaintiffs have such a cognizable property interest. However,
   because their due process claim is not ripe for    judicial review, I do not decide this issue.
                                                  forjudicial
  14
  14 At oral argument, the plaintiffs requested leave to file an amended complaint because they have
   provided out-of-network services since December 31, 2021. The plaintiffs could not confirm, however,
   that they had participated in the IDR process. Amending the complaint would be futile, in any case,
   because the defendants have not yet published the new rule governing the IDR process. See Bild v.
   Konig, No. 09-CV-5576, 2014 WL 3015236, at *6 (E.D.N.Y. July 3, 2014) ("One
   Konig,                                                                       (“One appropriate basis for
   denying leave to amend is that the proposed amendment is futile.").
                                                                  futile.”).


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                                           CONCLUSION

         The plaintiffs’
             plaintiffs' motion for preliminary injunction is denied. The plaintiffs’
                                                                          plaintiffs' Seventh

  Amendment and takings claims are dismissed with prejudice. Their due process claim is umipe
                                                                                        unripe

  and is dismissed for lack of subject matter jurisdiction without prejudice.
                                       matterjurisdiction



  SO ORDERED.

                                                           s/Ann M. Donnelly
                                                        ANN M. DONNELLY
                                                        United States District Judge


         Brooklyn,NewYork
  Dated: Brooklyn, New York
         August 10, 2022




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  ....................................................................................X
  DR. DANIEL HALLER and LONG
  DR
  ISLAND SURGICAL PLLC,

                                               Plaintiffs,                                JUDGMENT

                       v.
                       V.
                                                                                          21-CV-7208 (AMD) (AYS)
  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, XAVIER BECERRA, in his official
  capacity as Secretary of Health and Human Services,
  U.S. OFFICE OF PERSONNEL MANAGEMENT,
  KIRAN AHUJA, in her official capacity as Director
  of the U.S. Office of Personnel Management,
                     ofPersonnel
  U.S. DEPARTMENT OF LABOR, MARTIN J.
  WALSH, in his official capacity as Secretary of Labor,
  U.S. DEPARTMENT OF THE TREASURY, and
  JANET YELLEN, in her official capacity as
  Secretary of the Treasury,

                                               Defendants.
  ---------------------------------------------------------------X
  ....................................................................................X
           A Memorandum, Decision and Order of Honorable Robert M. Levy, United States
                                            ofHonorable

 Magistrate Judge, having been filed on August 10, 2022, denying the plaintiffs’
                                                                     plaintiffs' motion for

 preliminary injunction; dismissing the plaintiffs’
                                        plaintiffs' Seventh Amendment and takings claims with

                                                                       matterjurisdiction
 prejudice; and dismissing their due process claim for lack of subject matter jurisdiction without

 prejudice; it is

           ORDERED and ADJUDGED that the plaintiffs’
                                         plaintiffs' motion for preliminary injunction is

 denied; that the plaintiffs’
                  plaintiffs' Seventh Amendment and takings claims are dismissed with prejudice;

 and that their due process claim is unripe and is dismissed for lack of subject matter jurisdiction
                                                                                 matterjurisdiction

 without prejudice.
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 Dated: Brooklyn, New York                       Brenna B. Mahoney
        August 11, 2022                          Clerk of Court

                                           By:   /s/Jalitza Poveda
                                                 Deputy Clerk
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK

  DR. DANIEL HALLER and LONG ISLAND
  DR
  SURGICAL PLLC,

  Plaintiffs,

                   V.                                    No. 21-cv-7208-AMD

  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES et al.,

  Defendants



                                   NOTICE OF APPEARANCE



         To the clerk of the Court and all parties ofrecord:
                                                   of record:

         Please take notice that NICK WILDER of the Wilder Law Firm enters his appearance in

 the above-captioned case as counsel for the Plaintiffs in this matter. Undersigned counsel is

                                                                   1.3(c) and hereby certifies that
 authorized to practice in this Court pursuant to Local Civil Rule l.3(c)

 he is personally familiar with the Local Rules of this Court.

        October31,
 Dated: October 31, 2022


                                                     Respectfully Submitted

                                                     /S/
                                                     ISi Nick Wilder, Esq.
                                                     The Wilder Law Firm
                                                     301 West 57 Street, Suite 19B
                                                     New York, NY 10019
                                                     (212)951-0042
                                                     (212) 951-0042
                                                     nick@wilder.law
                                                     Counselforplaintiffs
                                                     Counsel  for plaintiffs
      Case22-3054,
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                                     NOTICE OF APPEAL

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  DR. DANIEL HALLER and LONG ISLAND
  DR
  SURGICAL PLLC,

  Plaintiffs,
                                                       NOTICE OF APPEAL
                  v.
                  V.
                                                       No. 21-cv-7208-AMD
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES et al.,

  Defendants




         Notice is hereby given (in accordance with this Court's
                                                         Court’s November 9, 2022 Scheduling

 Order) that DR. DANIEL HALLER and LONG ISLAND SURGICAL PLLC, hereby appeal to

 the United States Court of Appeals for the Second Circuit from all parts of the Decision and

 Order of the Honorable Ann M. Donnelly, denying plaintiffs’
                                                 plaintiffs' motion for declaratory and

 injunctive relief concerning the "No
                                  “No Surprise Act"
                                               Act” and related "Administrative
                                                                “Administrative Procedure Act",
                                                                                          Act”,

 denying a restraining order and injunction, and granting defendants'
                                                          defendants’ motion to dismiss all causes

 of action, including the seventh amendment claim, fifth amendment takings claim and due

 process claim, deprivation of common law claims, and claims the Regulations exceed authority

 by the Act, and entered as aajudgment
                              judgment on August 11, 2022.

 Dated: November 17, 2022

                                                   Respectfully Submitted

                                                   /S/
                                                   ISi Nick Wilder, Esq.
                                                   The Wilder Law Firm
                                                   301 West 57 Street, Suite 19B
                                                   New York, NY 10019
                                                   (212)951-0042
                                                   (212) 951-0042
                                                   nick@wilder.law
                                                   Counselforplaintiffs
                                                   Counsel  for plaintiffs
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                                               [ JA-78 ]
                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



  DR. DANIEL HALLER and LONG ISLAND
                                                        Case No. 21-cv-7208-AMD-AYS
  SURGICAL PLLC,
                                  Plaintiff,
                    – against –                         NOTICE OF MOTION FOR
                                                        PRELIMINARY INJUNCTION
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES, 200 Independence
  Avenue SW, Washington, DC 20201, et al.,
                                  Defendants.




        Upon the Declaration of Dr. Daniel Haller, sworn to on March 25, 2022, and Plaintiffs’

 Memorandum of Law in Support of Their Motion for a Temporary Restraining Order and

 Preliminary Injunction, the Plaintiffs, Dr. Daniel Haller and Long Island Surgical PLLC

 (“Plaintiffs”) hereby move pursuant to Federal Rule of Civil Procedure 65 against Defendants, the

 United States Department of Health and Human Services, Xavier Becerra in his official capacity

 as the Secretary of Health and Human Services, the United States Office of Personnel

 Management, Kiran Ahuja in her official capacity as the Director of the Office of Personnel

 Management, the United States Department of Labor, Martin J. Walsh in his official capacity as

 the Secretary of Labor, the United States Department of the Treasury, and Janet Yellen in her

 official capacity as the Secretary of the Treasury (collectively the “Defendants”), for a Preliminary

 Injunction enjoining Defendants, during the pendency of this action, from implementing,

 enforcing, or otherwise carrying out:

         (1) the No Surprises Act, Pub. L. 116-260 (the “Act”), specifically: 42 U.S.C. § 300gg-

 111(c), 42 U.S.C. § 300gg-131 and 42 U.S.C. §300gg-132, and
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        (2) pursuant to the Administrative Procedure Act, provisions of the interim final rule

 implementing the Act, entitled “Requirements Related to Surprise Billing; Part II,” 86 Fed. Reg.

 55,980 (Oct. 7, 2021), specifically: 45 C.F.R. § 149.510(a)(2)(v); 45 C.F.R. § 149.510(a)(2)(viii);

 the second and third sentences of 45 C.F.R. § 149.510(c)(4)(ii)(A); the final sentence of 45 C.F.R.

 § 149.510(c)(4)(iii)(C); 45 C.F.R. § 149.510(c)(4)(iv); and 45 C.F.R. § 149. 510(c)(4)(vi)(B); 26

 C.F.R. § 54.9816-8T(a)(2)(v); 26 C.F.R. § 54.9816-8T(a)(2)(viii); the second and third sentences

 of 26 C.F.R. § 54.9816-8T(c)(4)(ii)(A); the final sentence of 26 C.F.R. § 54.9816-8T(c)(4)(iii)(C);

 26 C.F.R.; § 54.9816-8T(c)(4)(iv); and 26 C.F.R. § 54.9816-8T(c)(4)(vi)(B); 29 C.F.R. §

 2590.716-8(a)(2)(v); 29 C.F.R. § 2590.716-8(a)(2)(viii); the second and third sentences of 29

 C.F.R. § 2590.716-8(c)(4)(ii)(A); the final sentence of 29 C.F.R. § 2590.716-8(c)(4)(iii)(C); 29

 C.F.R. § 2590.716-8(c)(4)(iv); and 29 C.F.R. § 2590.716-8(c)(4)(vi)(B).



 Dated: White Plains, New York
        April 4, 2022


                                              ABRAMS FENSTERMAN, LLP

                                               By: /s/ Robert A. Spolzino
                                                  Robert A. Spolzino
                                                  Edward A. Smith
                                                  Justin Kelton
                                                  Mordecai Geisler
                                                  One Metrotech Center, Suite 1700
                                                  Brooklyn, NY 11201
                                                  (718) 215-5300
                                                  Attorneys for Plaintiffs




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                                            [ JA-80 ]
                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


DR. DANIEL HALLER and LONG ISLAND
                                                     Case No. 21-cv-7208-AMD-AYS
SURGICAL PLLC,
                              Plaintiff,
                                                     DECLARATION OF
                  -against-                          DR. DANIEL HALLER
                                                     IN SUPPORT OF PLAINTIFFS'
 U.S. DEPARTMENT OF HEALTH AND                       MOTION FOR A TEMPORARY
 HUMAN SERVICES, 200 Independence                    RESTRAINING ORDER AND
 Avenue SW, Washington, DC 20201, et al.,            PRELIMINARY INJUNCTION
                              Defendants.




        Dr. Daniel Haller, hereby declares pursuant to 28 U.S.C. § 1746:

        1.     I am a Plaintiff in this action, and I am the President and 100% owner of Plaintiff

 Long Island Surgical PLLC ("Long Island Surgical"). I respectfully submit this Declaration in

 support of Plaintiffs' motion for a preliminary injunction prohibiting enforcement of the federal

 No Surprises Act, Pub. L. 116-260 (the "Act") and the regulations implementing the Act, and for

 a temporary restraining order prohibiting their enforcement while the motion is being heard and

 determined.

        2.      This declaration 1s made upon my personal knowledge of the facts and

 circumstances set forth herein.

        3.      I earned my medical degree in 2006 from the Technion - Israel Institute of

 Technology, Faculty of Medicine. I completed my residency in general surgery at Maimonides

 Medical Center, and my fellowship in surgical critical care at North Shore-Long Island Jewish

 Health System.    I am board-certified in both general surgery and surgical critical care by the


                                                 1
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                                                J     l
American Board of Surgery. I am a fellow of the American College of Surgeons and an Adjunct

Clinical Associate Professor of Surgery, teaching both students and residents.


        4.      I specialize in general surgery and acute care surgery, which includes general
 surgery, trauma and critical care surgery. Among other things, as an acute care surgeon I perform

 a wide range of services and procedures for urgent medical conditions when patients require either

 short or long-term treatment for a severe illness or injury in addition to services provided during

 their recovery period. . Critical care deals with the sickest patients in the hospital and requires 24

 hour a day attention to meet their medical needs. During the first wave of COVID-19 in March of

 2020 we managed two intensive care units in two different hospitals, taking care of over 40 patients

 a day, while risking our lives during a time of extreme uncertainty on how to safely care for our

 patients, ourselves and our families.


        5.      Long Island Surgical is a general and acute care surgical private practice in

 Rockville Centre, New York. We provide individualized and high-quality services to each patient,

 whether a consult, surgery, and/or follow up. Patients receive their provider's cell phone number

 with 24 hour, seven-days-a-week access to discuss their clinical needs. Long Island Surgical

 employs six physicians who have over forty combined years of clinical experience. The practice

 offers traditional, laparoscopic, and robotic services to best meet the needs of each patient.

 Additionally, our surgeons offer their time and effort to ensure the best possible patient outcomes.

 Our surgeons engage in high quality peer review and performance improvements meetings to

 ensure high quality patient care. Our surgeons are affiliated with hospitals in Long Island,

 including Mercy Hospital, Mount Sinai South Nassau, and St. Joseph Hospital, and cooperate with

 many other doctors and specialists.


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                                            [ JA-82 ]
        6.       I and the other surgeons at Long Island Surgical perform approximately 2,700

emergency consultations and surgical procedures each year for patients admitted to hospitals

through their emergency departments.

        7.       Around 78% of the patients that I and Long Island Surgical treat each year are

covered by health insurance plans with whom we have no contractual relationship. We are

 therefore "out-of-network" providers with respect to these insurers.



 Effects of The Federal No Surprises Act


        8.       A large majority of the out-of-network services I and my colleagues at Long Island

 Surgical provide are subject to the balance billing prohibition for patients with health insurance

 covered by the Act. The Act applies to most emergency services, including those provided in

 hospital emergency rooms, inpatient settings and urgent care centers that are licensed to provide

 emergency care. Other out-of-network services that I and Long Island Surgical provide are non­

 emergency medical services in which I or one of my colleagues is out-of-network, but the facility

 in which we are providing services is in-network for our patient. The Act also broadly defines

 covered non-emergency services to include treatment, equipment and devices, and preoperative

 and postoperative services, all services that I and Long Island Surgical often render. Under the

 Act, patients cannot consent to being balanced billed for either emergency services or many other

 services I and my Long Island Surgical colleagues provide, despite the fact that, because of our

 reputation, patients often seek us out for their emergency care.

         9.       Since January 1, 2022, when the Act went into effect, I and the other providers at

 Long Island Surgical have provided out-of-network services subject to reimbursement through the


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Act's independent dispute resolution ("IDR") process, and we will continue to provide out-of­

network services that are subject to reimbursement through that process.

        10.    I expect that the rates I and my Long Island Surgical colleagues submit to out-

 of-network health plans will generally not be the amount closest to the qualifying payment

 amount ("QP A") under the Act. I therefore do not expect that the issue of a reasonable

 reimbursement rate for out-of-network services provided by me and the other Long Island

 Surgical providers can in most cases be resolved solely by reference to the QPA. My level of

 training, and the level of training of my colleagues, all of whom are fellowship-trained, is

 well above-average, and the surgical services we provide are often highly complex due to the

 acuity of the patients. Therefore, the QP A will often be well below the true median

 contracted rate as paid in the marketplace because the QPA fails to account for the severity of

 the patient's condition(s) or the difficulty of the treatment(s). We at Long Island Surgical

 often operate on the most acute and sickest patients at the hospitals where we practice, and

 during all hours of the day, including nights, weekends, and holidays.

        11.     Upon information and belief, now that the Act is in effect, providers will need to

 first find out the patient's insurance status and then submit the out-of-network bill directly to the

 health plan. Health plans must respond within 30 days, advising the provider of the applicable in­

 network amount for that claim, generally based on the median in-network rate the plan pays for

 the service. The health plan will send an initial payment or notice of denial to the provider and

 send the consumer a notice that it has processed the claim. Either side has 30 days to initiate a 30-

 day "open negotiation" period. If the parties cannot agree by the last day of the open negotiation

 period, either party may initiate the IDR process within four business days after the close of the

 open negotiation period. The parties may jointly select an IDR arbitration service provider or a



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 service provider will be selected for them, within 6 business days following the notice of IDR

 initiation. In IDR arbitration, each party must submit their best and final offer, and the independent

 arbitrator must select one of the offers, a so-called "baseball-style" process in which the IDR entity

 can only pick from one of two competing offers without modification. While the time deadlines

 in the act might seem like a good idea, they are unrealistic and will be difficult to keep track of

 and adhere to, especially since in our experience, the insurance companies do not have dedicated

 personnel to negotiate claims or even answer questions that providers may have in a timely fashion.

         12.    As required by the Act, I and my colleagues at Long Island Surgical would engage

 in open negotiation with out-of-network insurers for a reasonable out-of-network reimbursement

 rate. However, as discussed above, because the rules implementing the Act default to the QP A,

 the bargaining power of the health plans has dramatically increased. Therefore, as a result of the

 Act, negotiation alone is less likely to resolve rate disputes. If negotiation does not succeed, I and

 my colleagues will work with Long Island Surgical administrative staff to submit claims under the

 Act's IDR process. An IDR arbitrator will then determine the reimbursement rate that Long Island

 Surgical receives, defaulting to the QP A.

         13.     Based on my experience with the New York State Emergency Medical Services

 and Surprise Bill Act (the "New York Act"), I expect that Long Island Surgical will have to

 participate in tens of thousands, of ID Rs under the Act in the coming years.

         14.     In that regard, Long Island Surgical must navigate the new IDR program and the

 administrative burdens and costs associated with the program. We have started the process of

 hiring additional administrative staff to deal with the impending IDR arbitrations should the Act

 continue to go into effect without the Court's intervention. This problem is acute because, as

 discussed above, the deadlines provided for under the Act are strict.



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        15.     We must compete with other independent practices to hire individuals who are

 proficient with the new regulations and procedures of the Act, and who are in short supply, thereby

 making staffing difficult and expensive. Our current administrative staff numbers nine, and we

 anticipate needing to hire at least six to ten more professionals. It will therefore take up an

 enormous amount of my and Long Island Surgical staffs time and effort to properly prepare to

 meet the Act's requirements, and more importantly, to receive fair compensation for services

 provided. As one example of severe underpayment, Long Island Surgical received $23 8 for a

 hernia repair surgery, which thus far has taken up two years of challenges and appeals.

         16.    Another aspect of the Act's effects on our practice is that physicians are now

 required to make available to each patient who is enrolled in a health plan a disclosure regarding

 the Act's protections against balance billing. Typically, when dealing with an out-of-network

 patient, the patient completes an assignment of benefits form ("AOB") requiring his or her

 health insurance provider to pay the provider directly. In our experience, even with a signed

 AOB from the patient, the insurer still chooses to send payment checks to the patient as

 reimbursement instead of directly to the provider, causing additional burden on the practice

 and staff to obtain any payment at all for those services. In addition, the AOB should allow

 the provider, such as my colleagues and me, with the opportunity to negotiate directly with the

 out-of-network insurer in a more efficient manner and increases the bargaining position of the

 provider with respect to the insurer. I estimate that as many as 99% of Long Island Surgical's

 out-of-network patients provide AOBs when requested.           However, patients are becoming

 increasingly reluctant to sign an AOB with Long Island Surgical because they know that, under

 the Act, they cannot in any case be billed for any outstanding balance. Should this trend continue

 and grow, the lack of AOBs will severely


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limit our ability to negotiate directly with out-of-network insurers, further eroding our bargaining

 position.

         17.     Similarly, the Act also requires disclosure to certain patients seeking non-

 emergency surgery as to how much in theory they would be billed for the procedure if their out­

 of-network provider does not pay the unnegotiated bill in full. This disclosure is required

 notwithstanding that (a) the out-of-network non-emergency patient will in most cases have out-of­

 network benefits, (b) we are likely negotiating with the out-of-network insurer to obtain coverage

 for the procedure at an agreed upon rate, and (c) the patient will likely end up paying little if

 anything additional out-of-pocket.    It has been our experience recently that this mandated

 disclosure is scaring off out-of-network, non-emergency surgical patients and causing them to seek

 in-network providers, who may be less qualified or have worse clinical outcomes, but who do not

 have to make a similar disclosure, when the disclosure in any event does not reflect the reality of

 what that patient will in fact pay for our services. Patients therefore elect and pay for increased

 coverage that allows them to utilize the services of out-of-network providers, but are now being

 unnecessarily dissuaded from exercising their contracted rights. This will cause me and my

 colleagues to lose out-of-network, non-emergency surgical patients at a rate that will be difficult

 to calculate.

         18.      I declare under penalty of perjury that the foregoing is, to my knowledge and

 understanding, true and correct.




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                                                   Dr. Daniel Haller




 Sworn to before me on this
                     I   •



   Z. 'jJ<. day of March, 2022                DAVID REICH
                                     Notary Public, State of New York
                                     Registration No. 02RE4989171
                                       Qualified In Queens County
                                   Commission Expires February 15, 2026




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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK



 DR. DANIEL HALLER and LONG ISLAND
                                                       Case No. 21-cv-7208-AMD-AYS
 SURGICAL PLLC,
                                       Plaintiff,
                  – against –

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, 200 Independence
 Avenue SW, Washington, DC 20201, et al.,
                                    Defendants.




  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR A
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




                                 ABRAMS FENSTERMAN, LLP
                                    Attorneys for Plaintiffs
                                One Metrotech Center, Suite 1701
                                  Brooklyn, New York 11201
                                   Telephone: 718-215-5300


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                                     PRELIMINARY STATEMENT

       This is an action seeking a declaration that the No Surprises Act, Pub. L. 116-260 (the “Act”),

is unconstitutional and for an injunction prohibiting its enforcement and, pursuant to the

Administrative Procedure Act, setting aside specific provisions of an interim final rule promulgated

by the Department of Health and Human Services, the Department of Labor, the Department of the

Treasury, and the Office of Personnel Management (collectively, the “Departments”) in violation of

the authority given to them by the Act. The regulations were adopted on September 30, 2021, and

the requirements of the Act generally went into effect on January 1, 2022.

       This memorandum of law, and the accompanying Declaration of Plaintiff Dr. Daniel Haller

(“Haller Decl.”), are submitted in support of the plaintiffs’ motion for a preliminary injunction

prohibiting enforcement of specific provisions of the Act (as set forth in the Complaint) and the

regulations and for a temporary restraining order prohibiting their enforcement while the motion is

being heard and determined.

                                      SUMMARY OF ARGUMENT

       Physicians are entitled under New York State law to be paid fairly for the critical services they

provide to their patients. They are also entitled under State law to have the amount of their

compensation determined by courts and juries based on the reasonable value of the services rendered.

The Act and its implementing regulations deprive New York physicians of these rights.

       The Act limits payments to “out-of-network” physicians to an amount established through the

market power of self-interested insurance companies negotiating with “in-network” physicians and

forces out-of-network physicians to participate in mandatory binding arbitration that, while referred

to as an “independent dispute resolution process” (the “IDR”), is, in reality, not independent at all,

since it is designed to end in a result controlled by the insurers. Worse, the out-of-network physicians

are barred from seeking judicial review of that determination or presenting their claims to a jury, as

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is their constitutional right. And where the process results in a fee determination that is less than the

reasonable value of the out-of-network physicians’ services (as it invariably will), the physicians are

prohibited by the Act from seeking to recover the balance from their patients.

       Congress lacks the authority to require that state common law claims—such as out-of-network

physicians’ claims for the reasonable value of services they render—be determined by administrative

tribunals created by Congress. The Seventh Amendment to the United States Constitution guarantees

to out-of-network physicians the right to a jury trial for those claims. Therefore, the Act exceeds

Congress’ authority and violates the Seventh Amendment. Further, by allowing insurers to define the

standard by which the IDR will determine out-of-network physicians’ claims for the reasonable value

of their services, and by precluding the physicians from billing patients for the amounts insurers refuse

to pay, the Act deprives those physicians of property without due process of law and is therefore

unconstitutional under the Fifth and Fourteenth Amendments.

       But even if the Act is constitutional, the rules promulgated by the Departments to implement

the Act are ultra vires and illegal. The regulations go beyond the Act. They require that fee

determinations made by the IDR be based on the amounts that health insurers pay to their participating

providers (as opposed to any independent legal or fact-based standard). The Act makes no such

provision, and, as at least one federal court has already held recently in striking down those

regulations, the Departments were not entitled to enact rules that altered the Act by supplying terms

that Congress omitted.

       Physicians are as concerned as other Americans about the increasing cost of health care. But

they are adamantly opposed to legislation that benefits insurers at the expense of the physicians who

actually provide that care. Plaintiffs are physicians who are affected by the Act and the regulations.

They will be irreparably harmed if they are forced to participate in the IDR process mandated by Act

and the regulations. For the reasons that follow, Plaintiffs are entitled to a preliminary injunction

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prohibiting enforcement of the regulations and the offending provisions of the Act pending the

determination of this action, and a temporary restraining order enjoining the Act and the regulations

pending the Court’s determination of the preliminary injunction motion.

                                       STATEMENT OF FACTS

A.      The Plaintiffs

        Plaintiff Dr. Haller earned his medical degree from the Technion – Israel Institute of

Technology, Faculty of Medicine, completed his residency in general surgery at Maimonides Medical

Center, and his fellowship in surgical critical care at North Shore-Long Island Jewish Health

System. (Haller Decl. at ¶ 3). Dr. Haller is board-certified in both surgery and surgical critical care

by the American Board of Surgery. (Id.). He is President and 100% owner of Plaintiff Long Island

Surgical PLLC (“Long Island Surgical”), a general and acute care surgical private practice in

Rockville Centre, New York employing six physicians who have over forty combined years of clinical

experience. (Id. at ¶¶ 1, 5). Notably, during the first wave of COVID-19 in March of 2020 Long

Island Surgical managed two intensive care units in two different hospitals, treating over 40 patients

a day. (Id. at ¶ 4).

        Dr. Haller and the other surgeons of Long Island Surgical perform approximately 2,700

emergency consultations and surgical procedures each year on patients admitted to hospitals through

their emergency departments. (Docket No. 1, Complaint at ¶ 12; Haller Decl. at ¶ 6). Approximately

78 percent of the patients that Dr. Haller and Long Island Surgical treat each year are covered by

health plans with whom Dr. Haller and Long Island Surgical have no contractual relationship.

(Complaint at ¶ 13; Haller Decl. at ¶ 7). With respect to those patients, Dr. Haller and Long Island

Surgical are nonparticipating, or out-of-network, providers within the meaning of the Act whose fees

will be determined by the Act and the procedures established under the Act and its implementing

regulations. (Complaint at ¶ 13).

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B.     The Act and the Rule

       The Act was passed on December 27, 2020, as part of the Consolidated Appropriations Act

of 2021. Its requirements generally go into effect on January 1, 2022. (Complaint at ¶ 2).

       The Act restricts the amount that out-of-network physicians are entitled to be paid for their

services by patients and by insurers and delegates to an administrative tribunal the authority to

determine the physicians’ state common law claims. (Complaint at ¶ 3). It deprives physicians of

jury trials by requiring out-of-network physicians to adjudicate their claims against insurers in an

“independent dispute resolution” process that is not actually independent, since the insurers define

the standard by which the physicians’ claims are determined, through negotiations with in-network

physicians who lack market power and who, in any case, do not represent out-of-network physicians.

(Complaint at ¶ 3). And it prohibits physicians from recovering the balance of the reasonable value

of their services from their patients by providing that an out-of-network provider “shall not bill, and

shall not hold [the patient] liable” for any amount beyond what the patient’s insurer pays the

physician. 42 U.S.C. §§ 300gg-131(a), 300gg-132(a). (Complaint at ¶ 33).

       The Act also disregards a New York physician’s right under State law to be paid the

reasonable value of his or her services. Under the Act, the fee for an out-of-network physician’s

services is determined in accordance with, inter alia, an IDR established by the Act, i.e., by

arbitration, when the physician and the insurer cannot agree upon the fee. 42 U.S.C. § 300gg(a)(3)(H).

(Complaint at ¶ 35). The IDR is a “baseball-style” arbitration in which the provider and insurer each

submit their best and final offers for the amount each considers to be reasonable payment. (Complaint

at ¶ 36). Once an arbitrator is selected, the provider and the insurer have ten days to submit (1) an

offer for a payment amount, (2) any information requested by the arbitrator, and (3) any other

information the party wishes the arbitrator to consider, including information relating to statutory

factors the arbitrator must consider. 42 U.S.C. §§ 300gg-111(c)(5)(B), 300gg-111(c)(5)(C)(ii). (Id.).

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The arbitrator then reviews the offers and “shall . . . select one of the offers” after “taking into account

the considerations in subparagraph (C),” which includes the qualifying payment amount (“QPA”)

defined as the “median of the contracted rates recognized by the” insurer as of January 31, 2019 in

the same insurance market for “the same or similar item or service” provided by a provider “in the

same or similar specialty and . . . geographic region,” increased by inflation over the base year (see

42 U.S.C. § 300gg-111(a)(3)(E)(i))—for the applicable year for comparable services that are

furnished in the same geographic region. Subparagraph (C) also includes additional information that

is submitted, including, inter alia, the level of training, experience, and quality and outcomes

measurements of the physician, as well as the acuity of the individual receiving the service or the

complexity of furnishing such service. 42 U.S.C. § 300gg-111(c)(5)(A) and (C)(i), (ii). (Complaint

at ¶¶ 37-38).

          The Act requires that the arbitrator consider each of these factors in determining which offer

to select and leaves it to the discretion and expertise of the arbitrator to decide how much weight to

give each factor based on the facts and circumstances of a particular case. (Complaint at ¶ 41). The

Act does not give presumptive weight to any single factor. The determination made in the IDR is

binding on the parties and is not subject to judicial review except in cases of fraud, bias, misconduct

or where the arbitrator exceeded his or her authority. 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II).

(Complaint at ¶ 40).

          Congress did not authorize the Departments to determine how the statutory factors should be

considered. Nevertheless, the Departments adopted an interim final rule entitled “Requirements

Related to Surprise Billing; Part II,” 86 Fed. Reg. 55,980 (Oct. 7, 2021) (the “Rule”). (Complaint at

¶ 4). 1 The Rule purports to implement provisions of the Act related to the rate at which physicians


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          The Complaint (at pp. 17-18) sets forth the specific provisions of the Rule that Plaintiffs seek to vacate in this
action.

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 must be paid by insurers. (Complaint at ¶ 5). But various parts of the Rule effectively ignore the

 factors that the Act requires be used in setting the payment rate and, instead, creates a presumption in

 favor of just one of these factors—the QPA—which is determined solely by the insurers. (Id.).

 Specifically, the Rule provides that the arbitrator “must presume that the QPA is [the] appropriate”

 out-of-network rate and “must select the offer closest to the [QPA]” unless the physician “clearly

 demonstrates” that the QPA is “materially different from the appropriate out-of-network rate.” 45

 C.F.R. § 149.510(c)(4)(ii)(A); 86 Fed. Reg. at 55,995 (emphasis added). (Complaint at ¶¶ 43-44).

 Pursuant to the Rule, the arbitrator then need not consider any factor beyond the QPA. 86 Fed. Reg.

 at 55,997-55,998 (entity “must consider” Congress’s other five mandated factors only “to the extent

 credible information is submitted by a party”) (Complaint at ¶ 45). There is, however, no such

 limitation in the Act. The Rule defines “credible information” as “information that upon critical

 analysis is worthy of belief and is trustworthy.” 45 C.F.R. § 149.510(a)(2)(v); 86 Fed. Reg. at 56,100.

 (Complaint at ¶ 46). There is, again, no such requirement in the Act. The Rule also affirmatively

 forbids the arbitrator from scrutinizing the QPA. It states, “it is not the role of the certified IDR entity

 to determine whether the QPA has been calculated by the [insurer] correctly[.]” See 86 Fed. Reg. at

 55,996. (Complaint at ¶ 47). Once again, there is no such requirement in the Act.

         The Rule further provides that if the arbitrator does not choose the offer closest to the QPA,

 he or she must provide a “detailed explanation” as to why the QPA was found to be materially

 different from the appropriate rate, including a description of “the additional considerations relied

 upon, whether the information about those considerations submitted by the parties was credible, and

 the basis upon which the certified IDR entity determined that the credible information demonstrated

 that the QPA is materially different from the appropriate out-of-network rate.” 86 Fed. Reg. at 56,000.

 (Complaint at ¶ 44).

         This action is one of several actions pending in federal courts around the Nation seeking to

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                                             JA-99
 invalidate the parts of the Rule at issue here. In Texas Medical Ass’n v. U.S. Dep’t of Health and

 Human Services, a case brought by a physician trade association and a physician who is a

 “nonparticipating provider” for certain medical services, the United States District Court for the

 Eastern District of Texas recently vacated the Rule on substantially the same grounds as are urged by

 Plaintiffs here. See Case No. 21-cv-425-JDK, 2022 WL 542879 (E.D. Tex. Feb. 23, 2022)

 (Memorandum Opinion and Order, Docket No. 113 and Final Judgment, Docket No. 114).

 Specifically, the court in Texas Medical Ass’n found, among other things, that:

 •      The Act “is unambiguous,” and provides that arbitrators deciding which offer to select “shall
        consider . . . the qualifying payment amounts . . . and . . . information on any circumstance
        described in clause (ii),” citing 42 U.S.C. § 300gg-111(c)(5)(C)(i) (2022 WL 542879 at *7);
 •      “Nothing in the Act . . . instructs arbitrators to weigh any one factor or circumstance more
        heavily than the others” (Id. at * 8);
 •      “Nor does the Act impose a ‘rebuttable presumption’ that the offer closest to the QPA should
        be chosen—or suggest anywhere that the other factors or information is less important than
        the QPA” (Id.);
 •      “The Rule thus places its thumb on the scale for the QPA, requiring arbitrators to presume the
        correctness of the QPA and then imposing a heightened burden on the remaining statutory
        factors to overcome that presumption” (Id.);
 •      “If Congress had wanted to restrict arbitrators’ discretion and limit how they could consider
        the other factors, it would have said so—especially here, where Congress described the
        arbitration process in meticulous detail” (Id.);
 •      “[T]he Rule adds several key words not in the statute. The Act instructs arbitrators to
        ‘consider’ the QPA and the five other factors in deciding which offer to accept. § 300gg-
        111(c)(5)(C). That’s it. The Rule, in contrast, requires arbitrators to ‘select the offer closest
        to the [QPA]’ and deviate from that number only if ‘credible information’ ‘clearly
        demonstrates’ that the QPA is ‘materially different from the appropriate out-of-network rate.’
        45 CFR § 149.510(c)(4)(ii). The Rule thus impermissibly ‘rewrite[s] statutory language by
        ascribing additional, material terms’” (Id. at * 9); and
 •      “[T]he Rule treats the QPA—an insurer-determined number—as the default payment amount
        and imposes on any provider attempting to show otherwise a heightened burden of proof that
        appears nowhere in the statute. This is why the Departments themselves repeatedly touted the
        Rule as establishing a ‘rebuttable presumption’ in favor of the QPA when they presented the
        Rule for public viewing” (Id.).

        In granting summary judgment to the plaintiffs, the court in Texas Medical Ass’n held that

 “[b]ecause the Rule ‘rewrites clear statutory terms,’ it must be ‘h[e]ld unlawful and set aside’ on this

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                                           [JA-100 ]
 basis alone.” Id. (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014)); 5 U.S.C. §

 706(2)(A). As a result, the court vacated the relevant provisions of the Rule altogether, rejecting the

 Departments’ request that the holding apply only to the named plaintiffs. Id. at *15.

 C.     New York State Law

        Under New York law, a physician who treats a patient is entitled to be paid for his or her

 services. Where there is an agreement between the physician and the patient about the physician’s

 fee, the physician is entitled to be paid the agreed upon fee. (Complaint at ¶ 23). If the patient is

 covered by an insurer and the physician has contracted with the insurer to treat the patient for a

 particular fee, or for a fee to be determined in accordance with a particular formula, i.e., the physician

 is “in network,” the physician is entitled under New York law to be paid the fee agreed upon and

 customarily agrees to waive recovery of the balance of the fee from the patient. (Complaint at ¶ 24).

        When the patient is covered by an insurer and the physician does not have an agreement with

 that insurer, i.e., the physician is “out-of-network” or “nonparticipating,” and the patient assigns to

 the physician his or her right to benefits, the physician is entitled under New York law to be paid by

 the insurer the amount required by the insurer’s contract with the patient, and the patient must pay the

 balance of the amount due pursuant to the agreement between the physician and the patient.

 (Complaint at ¶ 25). When a patient requires emergency services and has not agreed with the

 physician on the physician’s fee, and may not have even spoken with the physician before the services

 are rendered, the physician is entitled under New York law to be paid for the services rendered based

 on an implied contract with the patient. (Complaint at ¶ 26). The amount of the fee under an implied

 contract is determined under New York common law in quantum meruit, based on the reasonable

 value of the services provided. (Complaint at ¶ 27).

        In October 2014, the New York State Legislature adopted the New York State Emergency

 Medical Services and Surprise Bill Act (the “New York Act”). (Complaint at ¶ 29). The New York

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                                          [ JA-101]
 Act applies when the patient is covered by an insurer regulated by the State, the physician is an out-

 of-network provider, and the patient has assigned his or her benefits to the physician. N.Y. Financial

 Services Law § 605(a). (Id.). The New York Act prohibits an out-of-network physician from billing

 a patient who receives emergency care (and certain post-stabilization care) for the balance of the

 physician’s fee that the patient’s insurer will not pay, but, as under common law, the physician

 remains entitled under the New York Act to recover the “usual and customary cost of the service,”

 N.Y. Financial Services Law § 604(f). (Complaint at ¶ 30). As a result, under current New York law

 (including the New York Act), out-of-network physicians providing services to patients who require

 emergency services and have not agreed with the physician on the physician’s fee are entitled to be

 paid the reasonable value of the services. (Complaint at ¶ 31). The Act deprives these physicians,

 including Plaintiffs here, of this right under New York law.

                                              ARGUMENT

                           I.      The Act is Illegal and Unconstitutional

        Under New York law, where a physician does not have an express contractual relationship

 with a patient about the physician’s fee, the physician is entitled to recover the reasonable value of

 his or her services by bringing a claim for quantum meruit. See McGuire v. Hughes, 207 N.Y. 516,

 521 (1913); Ruppert v. Bowen, 871 F.2d 1172, 1178 (2d Cir. 1989); see also Long Island Jewish

 Medical Center v. Budhu, 20 Misc.3d 131(A), *1, 867 N.Y.S.2d 17 (App. Term 2008); Huntington

 Hosp. v. Abrandt, 4 Misc.3d 1, *3, 779 N.Y.S.2d 891, 892 (App. Term 2004); United Healthcare

 Servs., Inc. v. Asprinio, 16 N.Y.S.3d 139, 49 Misc. 3d 985, 993 (Sup. Ct. Westchester Cnty. 2015).

        The Act deprives the out-of-network physician of that right by requiring the physician to

 adjudicate his or her claim against an insurer through an IDR established by the Act and by prohibiting

 the physician altogether from collecting from the patient any amount above the amount found to be

 the insurer’s responsibility. 42 U.S.C. § 300gg-131(a). The Act thus effectively requires out-of-

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                                           [ JA-102)
 network physicians, such as the Plaintiffs here, to arbitrate their state-created right to be paid on a

 quantum meruit basis. Congress lacks the authority to do that. It cannot force physicians to submit

 these claims to mandatory binding arbitration, without recourse to a jury, and doing so violates the

 physicians’ right to a jury trial guaranteed by the Seventh Amendment. The Act also violates the out-

 of-network physicians’ rights to due process of law under the Fifth and Fourteenth Amendments by

 permitting the insurer to define the standard by which the dispute will be adjudicated. In addition,

 the Act takes the out-of-network physician’s property without just compensation by depriving the

 physician of the right to collect from the patient the amount that the insurer is not required to pay. As

 detailed below, the relevant provisions of the Act at issue must be set aside as unconstitutional.

 A.     Congress Lacks Authority to Compel Physicians to Submit State Law Claims to
        Arbitration

        The Supreme Court has held that Congress lacks the authority to require that state law contract

 claims be heard before a tribunal not established under Article III of the Constitution. Northern

 Pipeline Construction Co. v. Marathon Pipe Line Co., 458 U.S. 50 (1982). In Northern Pipeline, the

 tribunal was a bankruptcy court established under Article I of the Constitution. The Court reasoned

 that while Congress can define the forum for adjudication of a right that Congress has created, it

 cannot require that rights created by state law be adjudicated by a non-Article III tribunal: “[W]hen

 Congress creates a statutory right, it clearly has the discretion, in defining that right, to . . . provide

 that persons seeking to vindicate that right must do so before particularized tribunals created to

 perform the specialized adjudicative tasks related to that right. . . No comparable justification exists,

 however, when the right being adjudicated is not of congressional creation.” 458 U.S. at 83-84.

        Here, the out-of-network physicians’ claims for the reasonable value of their services was not

 created by Congress. It is based on New York State common law. But the Act effectively requires

 that physicians arbitrate those claims, in direct contravention of Northern Pipeline. Specifically, the


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                                               [JA-103 ]
 Act bars physicians from recovering from patients any amount beyond what is determined by the IDR

 to be the insurer’s responsibility. Because Congress did not create the physicians’ New York State

 quantum meruit claims, and the physicians have not consented to submit those claims to arbitration,

 the Act’s mandatory arbitration provision exceeds the authority of Congress and must be set aside.

 B.     The Act’s Requirement that Physicians Submit their Disputes to Arbitration Deprives
        Physicians of their Right to a Jury Trial Guaranteed by the Seventh Amendment

        The Seventh Amendment preserves the right to a jury in “suits at common law, where the

 value in controversy shall exceed twenty dollars.” U.S. Const. Amend. VII. To be sure, “when

 Congress creates new statutory ‘public rights,’ it may assign their adjudication to an administrative

 agency with which a jury trial would be incompatible, without violating the Seventh Amendment’s

 injunction that jury trial is to be ‘preserved’ in ‘suits at common law.” Atlas Roofing Co. v.

 Occupational Safety & Health Rev. Comm’n, 430 U.S. 442, 455 (1977). Here, however, the out-of-

 network physicians’ claims for the fair value of their services are not created by Congress. As

 explained above, it is a state common law right entitled to be brought as a “suit at common law.” By

 prohibiting physicians from bringing that suit and requiring that the physician’s claim be adjudicated

 through the IDR, the Act deprives physicians of their Seventh Amendment right to a jury trial.

        The constitutional right to a trial by jury attaches to an action involving “rights and remedies

 of the sort traditionally enforced in an action at law, rather than an action in equity or admiralty.”

 Wm. Passalacqua Builders, Inc. v. Resnick Developers South, Inc., 933 F.2d 131, 135 (2d Cir. 1991)

 (quoting Pernell v. Southall Realty, 416 U.S. 363, 375 (1974)). “In determining whether a particular

 action is one at law or in equity, it is necessary to examine ‘both the nature of the issues involved and

 the remedy sought.’” Id. (citing Chauffeurs, Teamsters and Helpers, Local No. 391 v. Terry, 494

 U.S. 558, 565 (1990)).




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        1.      A cause of action by physicians to recover the value of services provided without
                contract is a suit at law.

        Suits for monetary relief are suits at law, requiring a trial by jury. See City of Monterey v. Del

 Monte Dunes at Monterey, Ltd., 526 U.S. 687, 710, 723 (1999) (Kennedy, J. and Scalia, J.,

 concurring). Quantum meruit claims specifically are actions at law. Aniero Concrete Co., Inc. v.

 New York City Constr. Auth., 2000 WL 863208, *10 (S.D.N.Y. June 27, 2000) (“under New York

 law the correct characterization of a quasi contract quantum meruit claim is that of an action at law”);

 Dayton Superior Corp. v. Marjam Supply Co., Inc., 2011 WL 710450, *19 (E.D.N.Y. Feb. 22, 2011)

 (same); see also Unicorn Crowdfunding, Inc. v. New Street Enterprise, Inc., 507 F. Supp.3d 547, 577

 n.22 (S.D.N.Y. 2020) (“New York courts treat actions for quantum meruit or unjust enrichment as

 actions at law”). Therefore, quantum meruit claims, such as lawsuits by an out-of-network physician

 against patients with whom the physician has no contract to recover the value of services rendered,

 require a jury trial. See Athletes and Artists, Inc. v. Millen, 1999 WL 587883, *8 n.16 (S.D.N.Y. Aug.

 4, 1999) (“It now seems settled that an action for quantum meruit must be deemed an action at law.

 Accordingly, A&A’s jury demand as to their quantum meruit claim must be honored.”); GSGSB, Inc.

 v. New York Yankees, 1995 WL 507246, *5-6 (S.D.N.Y. Aug. 28, 1995) (collecting cases).

        2.      By denying physicians the right to a trial de novo after the IDR, the Act and its
                enabling regulations deprive physicians of their Seventh Amendment right to a
                jury trial.

        Unlike other federal arbitration mandates, the Act does not provide for a trial de novo

 following the arbitration. The Act’s requirement that an out-of-network physician’s claim for the fair

 value of his or her services be determined by arbitration therefore violates the physician’s Seventh

 Amendment right to a jury trial.

        Arbitration requirements do not violate the Seventh Amendment where they preserve the right

 to a jury trial. Indeed, in States that have mandated arbitrations, “appeal by trial de novo is a


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 constitutional prerequisite to such mandatory arbitration so as to preserve the right to a jury trial.”

 West Virginia Investment Management Board v. Variable Annuity Life Ins. Co., 241 W.Va. 148, 159

 (2018) (noting that various States have court mandated arbitration, but, as Arizona courts have

 declared: “[t]he right to trial de novo is essential to the constitutionality of compulsory arbitration,

 since both the United States and Arizona Constitutions guarantee the right to trial by jury”) (emphasis

 in original) (citing Valler v. Lee, 190 Ariz. 391, 949 P.2d 51, 53 (Ariz. Ct. App. 1997)).

        For example, in Perez v. New York City Health and Hospitals Corp., 1987 WL 9673 (E.D.N.Y.

 Apr. 13, 1987), the court held that, because the plaintiff had the right to demand a trial de novo

 following an arbitration, but her attorney failed to timely request one, the arbitration rules did not

 “impinge on plaintiff’s seventh amendment rights, for the core of the right is to have a ‘jury ultimately

 determine the issues of fact if they cannot be settled by the parties or determined as a matter of law.’”

 1987 WL 9673 at *3 (quoting Seoane v. Ortho Pharmaceuticals, Inc., 660 F.2d 146, 149 (5th

 Cir.1981)). The court reasoned that “[b]y permitting the parties to request a trial de novo after the

 arbitration procedure is completed, the arbitration in the instant case did not deprive plaintiff of her

 right to a jury trial.” Id. See also Kimbrough v. Holiday Inn, 478 F.Supp. 566, 571, 573 (E.D. Pa.

 1979) (holding that a Department of Justice requirement that civil suits in the District Court for less

 than $50,000 had to be arbitrated did not violate the Seventh Amendment, reasoning that after the

 arbitration, both parties had the right to demand a jury trial).

        The critical factor in each of these cases was that the arbitration was preliminary to—and not

 a substitute for—the plaintiff’s right to a jury trial. Here, however, the Act contains no such

 protection. To the contrary, the Act does not permit a jury trial post-arbitration, but, rather, provides

 for relief from the arbitrator’s determination only in the same manner as provided by the Federal

 Arbitration Act. 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II). That means that the determination may be

 set aside only in cases of fraud, bias, misconduct or where the arbitrator exceeded his or her authority.

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 9 U.S.C. § 10(a). Importantly, however, the Federal Arbitration Act, unlike the Act at issue here,

 applies where parties have expressly consented, in advance, to arbitration.

         3.      Congress lacks the authority to compel arbitration of a private dispute based on
                 a common law claim.

         In Granfinanciera, S.A. v. Nordberg, 492 U.S. 33 (1989), the Supreme Court made it clear

 that Congress cannot deprive a private party of its right to a jury trial for a private contractual dispute:

 “Congress may devise novel causes of action involving public rights free from the strictures of the

 Seventh Amendment if it assigns their adjudication to tribunals without statutory authority to employ

 juries as factfinders. But it lacks the power to strip parties contesting matters of private right of their

 constitutional right to a trial by jury.” 492 U.S. at 51–52. The Court defined the distinction between

 a “public right” and a “private right,” stating that a private right is “the liability of one individual to

 another under the law.” 492 U.S. at 51, n. 8.

         Under this definition, an out-of-network physician’s right to recover the fair value of the

 services the physician has rendered to a patient is clearly a private right. Congress cannot require that

 a private contractual claim be adjudicated without a jury. See Germain v. Connecticut Nat. Bank, 988

 F.2d 1323, 1331 (2d Cir. 1993) (Chapter 7 trustee’s state law causes of action demanding monetary

 relief and sounding in contract and tort “are paradigmatic private rights” under Granfinanciera that

 were required to be tried by a jury); McCord v. Papantoniou, 316 B.R. 113, 122, n.13 (E.D.N.Y.

 2004) (claims seeking monetary relief must be tried before a jury because such claims were legal in

 nature, and thus concerned “paradigmatic private rights” under Granfinanciera).

         Here, the Act requires the parties to a private billing dispute to submit themselves to final and

 binding arbitration, to which neither party agreed, and which would otherwise enjoy the right to a

 jury trial under the Seventh Amendment. Congress has no authority to deny to the physician the right

 to a jury trial de novo on state common law claims.


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                                          [JA-107)
 C.      Allowing Insurers to Define the Standard by Which the IDR Determines Out-of-
         Network Physicians’ Claims Deprives Physicians of Property Without Due Process in
         Violation of the Fifth Amendment

         The Due Process Clause of the Fifth Amendment prohibits the United States from depriving

 persons of property without due process of law. The Fifth Amendment also prohibits the government

 from taking private property without just compensation. The Act violates both constitutional

 provisions. Under New York law, physicians have a property right to be paid the reasonable value of

 the services they render to their patients. The Act deprives them of that right without due process of

 law. The Act and the Rule also take the physicians’ property without just compensation by depriving

 them of the reasonable value of those services and restricting the amount they can recover for those

 services to the amount determined in an arbitration in which the other party to the dispute—the

 insurer—effectively determines the outcome.

         1.      Physicians have a property right under New York law to be paid the fair value of
                 the services they render to patients.

         It has long been established in New York that, absent a contract, a physician “may recover

 upon an implied agreement to pay for his services quantum meruit, when they have been rendered at

 the request of the patient” or a person authorized to act on behalf of the patient. McGuire, 207 N.Y.

 at 521; see also Budhu, 20 Misc.3d at *1 (“The performance by plaintiff and acceptance of the services

 by defendant gave rise to an inference that an implied contract to pay for the reasonable value of such

 services existed.”); Abrandt, 779 N.Y.S.2d at 892 (“an agreement to pay for medical services may be

 implied” and “[t]he performance and acceptance of services can give rise to an inference of an implied

 contract to pay for the reasonable value of such services”); Asprinio, 49 Misc. 3d at 993 (“it is well

 recognized that, even in the absence of an express contractual agreement, a physician may recover

 upon an implied agreement to pay for services quantum meruit, when the services have been rendered

 at the request of the patient”).


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          The common law right to receive payment for medical services applies even when a patient

 cannot consent to receive the services because of her condition, provided that the services are

 necessary to prevent serious bodily harm. See, e.g., Ruppert v. Bowen, 871 F.2d 1172, 1178 (2d Cir.

 1989) (“Under New York law, an incompetent is liable under an implied agreement for the reasonable

 value of necessities.”) (citing In re Estate of Anderson, 119 Misc.2d 248, 254, 462 N.Y.S.2d 589

 (Surr. Ct. Saratoga Cnty. 1983) (stating that under most circumstances a physician would have a right

 to payment for necessary treatment provided to a comatose patient unable to consent)). 2                          Thus, the

 physician is entitled to recover in quantum meruit the reasonable value of the services she provided.

          This generally applicable common law right of a physician to recover in quantum meruit for

 services rendered at the request of a patient, or when the patient could not consent, but treatment was

 necessary to prevent serious harm, is codified for certain patients in the New York Act, which Act

 applies to health insurance policies regulated by the State of New York. N.Y. Financial Services Law

 § 603(c) (defining “health care plans” subject to the law). It prohibits an out-of-network physician

 from billing patients who receive emergency care (and certain post-stabilization care) for an amount

 greater than the out-of-pocket costs the insured would have incurred with a participating physician.

 N.Y. Financial Services Law § 605(a). Under the statute, just as under the common law, the physician

 remains entitled to a reasonable fee, which is determined through an independent dispute resolution

 mechanism that must consider, among other factors, the “usual and customary cost of the service.”

 N.Y. Financial Services Law § 604(f). One court has described the New York Act’s approach to

 determining a reasonable fee as “akin to the common law approach” of determining an appropriate

 recovery in quantum meruit. Asprinio, 49 Misc. 3d at 1001.


 2
   New York courts have adopted four criteria to establish the right to restitution when the patient cannot consent: (i) that
 the provider of services intended to charge for its services; (ii) that the services were necessary to prevent the person from
 suffering serious bodily harm or pain; (iii) that the provider of services had no reason to know the recipient of the services
 would not consent to receiving them, if competent; and (iv) that it was impossible for the recipient to give consent. 22A
 N.Y. Jur. 2d Contracts § 619; Estate of Anderson, 119 Misc.2d at 254.

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                                              [JA-109 ]
        In contrast, the Act at issue here negates the common law right to recover in quantum meruit.

 It expressly prohibits the IDR from considering the “usual and customary charges” for services

 provided by the physician or the amount she would have billed had the federal law not existed (i.e.,

 under common law). 42 U.S.C. § 300gg-111(c)(5)(D). Instead, the Act provides that the physician’s

 fee will be determined under the IDR by the QPA, 42 U.S.C. § 300-gg-111(c)(5)(C)(i), which it

 defines as “the median of the contracted rates recognized by the plan or issuer,” § 300gg-

 111(a)(3)(E)(i), subject to considering five other factors. 3

        The Rule implementing the Act goes even further. It establishes a presumption that the QPA

 is the appropriate fee, regardless of the other considerations established by the Act. See 45 CFR §

 149.510(c)(4)(ii); Texas Medical Ass’n, 2022 WL 542879 at *9 (“the Rule treats the QPA—an

 insurer-determined number—as the default payment amount”). Indeed, the Departments themselves

 “repeatedly touted the Rule as establishing a ‘rebuttable presumption’ in favor of the QPA” (86 Fed.

 Reg. at 56,056–61), and have argued that vacating the Rule “would result in higher reimbursement

 payments to providers.” Texas Medical Ass’n, 2022 WL 542879 at *9.

        Under the Act, therefore, the general standard for determining the payment to physicians, and


 3
        The five factors as set forth in 42 U.S.C. §300gg-111(c)(5)(C)(ii)(I)-(V) are:
        (I)      The level of training, experience, and quality and outcomes measurements of the provider or facility
                 that furnished such item or service (such as those endorsed by the consensus-based entity authorized in
                 section 1890 of the Social Security Act [42 U.S.C. 1395aaa]).
        (II)     The market share held by the nonparticipating provider or facility or that of the plan or issuer in the
                 geographic region in which the item or service was provided.
        (III)    The acuity of the individual receiving such item or service or the complexity of furnishing such item or
                 service to such individual.
        (IV)     The teaching status, case mix, and scope of services of the nonparticipating facility that furnished such
                 item or service.
        (V)      Demonstrations of good faith efforts (or lack of good faith efforts) made by the nonparticipating
                 provider or nonparticipating facility or the plan or issuer to enter into network agreements and, if
                 applicable, contracted rates between the provider or facility, as applicable, and the plan or issuer, as
                 applicable, during the previous 4 plan years.



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                                         [JA-110 l
 under the Rule, the presumptive standard for determining such payment, is not the reasonable value

 of the services the physicians have rendered under New York law. It is, rather, the median contract

 rate that the insurers have agreed to pay to other physicians that reflects the insurers’ decisions about

 what to pay based on their market power, not on the amount that would be reasonable and recoverable

 in quantum meruit under common law.

        2.      The Act unconstitutionally deprives physicians of their right to be paid for the
                fair value of their services as defined under New York law.

        The Act prohibits out-of-network physicians recovering anything for their services other than

 the amount determined by the IDR, in which the standard of decision is, effectively, the rate

 determined by insurers in their negotiations with in-network physicians. However, in these

 negotiations, to which out-of-network physicians are not parties, the insurers have outsized

 negotiating power and the in-network physicians have no authority, interest, or incentive to act on

 behalf of out-of-network physicians.

        “A fundamental requirement of procedural due process is ‘the opportunity to be heard’” in a

 “meaningful time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965). The

 purpose of due process and an opportunity to be heard in a meaningful manner is “to minimize

 substantively unfair or mistaken deprivations of property.” Krimstock v. Kelly, 306 F.3d 40, 52 (2d

 Cir. 2002) (quoting Fuentes v. Shevin, 407 U.S. 67, 80-81 (1972)).

        By predetermining the QPA as the presumptive, default amount owed to the out-of-network

 physicians, and defining that amount based on what an insurer has previously agreed to pay in-

 network physicians without any input by the out-of-network physicians, the Act and the Rule

 effectively deprive the out-of-network physicians a meaningful opportunity during the IDR to

 challenge the deprivation of their rights to a reasonable fee under New York law, thus depriving out-

 of-network physicians of procedural due process. See Kellman v. District Director, U.S. I.N.S., 750


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 F.Supp. 625, 628 n.4 (S.D.N.Y. 1990) (“procedural due process cannot be satisfied merely by the

 opportunity for a hearing where the result of that hearing is statutorily predetermined”); accord

 D’Angelo v. Winter, 403 Fed.Appx. 181, 182 (9th Cir. 2010) (“A hearing with a predetermined

 outcome does not satisfy due process.”); Washington v. Kirksey, 811 F.2d 561, 564 (11th Cir. 1987)

 (“Due process of law does not allow the state to deprive an individual of property where the state has

 gone through the mechanics of providing a hearing, but the hearing is totally devoid of a meaningful

 opportunity to be heard.”). Accordingly, the IDR scheme set forth in the Act as implemented by the

 Rule must be struck down as unconstitutional.

 D.      The Act Deprives the Physician of Property Without Due Process of Law or Just
         Compensation

         The takings clause of the Fifth Amendment prohibits the United States from taking private

 property for public use without just compensation. Armstrong v. United States, 364 U.S. 40, 49

 (1960). Fundamentally, the Fifth Amendment protects valid contract rights. See Lynch v. United

 States, 292 U.S. 571, 579 (1934) (“The Fifth Amendment commands that property be not taken

 without making just compensation. Valid contracts are property, whether the obligor be a private

 individual, a municipality, a State or the United States.”); Cienega Gardens v. U.S., 331 F.3d 1319,

 1334 (Fed. Cir. 2003) (agreements between private parties “give rise to protected property interests,

 irrespective of whether the subject matter of the contracts is under the government’s regulatory

 jurisdiction”).

         Cienega Gardens is particularly instructive. There, the plaintiffs were real estate developers

 who received loans from private lenders to construct low-income housing projects administered by

 the Department of Housing and Urban Development. 331 F.3d at 1325.               HUD provided the

 participants with mortgage insurance, which facilitated low-interest mortgages, and in return, each

 participant entered into a regulatory agreement with HUD, which placed restrictions on the owners,


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 including prohibiting the sale or further mortgage of the property without HUD approval. Id. The

 regulatory agreements and their restrictions were to remain in effect for at least 20 years, at which

 point the owners would have the option of prepaying the mortgages and thereby dissolving the

 restrictive agreements with HUD. Id. at 1326. Congress became concerned that too many owners

 would prepay their mortgages and remove their properties from the low-income housing pool.

 Congress thus enacted an additional statute that, even after twenty years, all housing program

 participants had to obtain HUD approval in order to prepay their mortgages. Id.

        The Court of Appeals for the Federal Circuit held the new statute was a taking of the plaintiffs’

 property interests in violation of the Fifth Amendment that must be compensated. Id. at 1338. The

 court found that “[u]nquestionably, Congress acted for a public purpose (to benefit a certain group of

 people in need of low-cost housing), but just as clearly, the expense was placed disproportionately on

 a few private property owners.” Id. The court held that Congress’ objective “in preserving low-

 income housing—and method—forcing some owners to keep accepting below-market rents—is the

 kind of expense-shifting to a few persons that amounts to a taking. This is especially clear where, as

 here, the alternative was for all taxpayers to shoulder the burden.” Id. at 1338-1339.

        Here, the Act prohibits physicians from billing their patients for the reasonable value of their

 services that it is not paid by the patients’ insurer. 42 U.S.C. § 300gg-132. As in Cienega Gardens,

 the Act thus compels physicians to bear the societal burden of the increasing cost of health care,

 without imposing any corresponding burden on insurers or patients or the general public. See also

 Armstrong, 364 U.S. at 49 (“The Fifth Amendment’s guarantee that private property shall not be

 taken for a public use without just compensation was designed to bar Government from forcing some

 people alone to bear public burdens which, in all fairness and justice, should be borne by the public

 as a whole.”). Because the Act does not compensate physicians for benefitting insurers and the

 taxpayer at the expense of physicians, it violates the Fifth Amendment’s proscription against taking

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 private property without just compensation, and it must be struck down on that basis. Cienega

 Gardens, 331 F.3d at 1334 (“abrogation by legislation of clear, unqualified contract rights requires a

 remedy, even in a highly regulated industry . . . because the contracts embodied the commitments of

 the contracting parties”).

  II.     The Rule Must be Vacated Where it Exceeds the Authority Congress Granted to the
                           Departments and Conflicts with the Act

        Congress legislates and administrative agencies implement the legislation adopted. The

 Supreme Court has cautioned that “agency power to make rules that affect substantial individual

 rights and obligations carries with it the responsibility not only to remain consistent with the

 governing legislation, but also to employ procedures that conform to the law.” Morton v. Ruiz, 415

 U.S. 199, 232 (1974). Thus, “[i]f the intent of Congress is clear, that is the end of the matter; for the

 court, as well as the agency, must give effect to the unambiguously expressed intent of Congress,”

 and it is the judiciary that is “the final authority on issues of statutory construction and must reject

 administrative constructions which are contrary to clear congressional intent.” Chevron, U.S.A. v.

 Natural Resources Defense Council, Inc., 467 U.S. 837, 842-43 and n.9 (1984).

        Here, the relevant provisions of the Rule sought to be vacated (Complaint at pp. 17-18) do not

 conform to the Act. As stated above, the Act defines the factors that must be considered in the IDR.

 42 U.S.C. § 300gg-111(c)(5)(C). It does not give any one of those factors priority or otherwise dictate

 how the arbitrator should weigh the factors, providing instead for the arbitrator to exercise his or her

 discretion, based on the arbitrator’s “medical, legal, and other expertise,” in determining the

 appropriate out-of-network rate considering the facts and circumstances of a particular case. 42

 U.S.C. § 300gg-111(c)(4)(A). The Rule conflicts with the statute. It requires that the arbitrator in

 the IDR select the offer closest to the QPA, unless a party “clearly demonstrates that the QPA is

 materially different from the appropriate out- of-network rate.” 86 Fed. Reg. at 55,995. As the


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 Departments explained when issuing the Rule, it creates a “rebuttable presumption” that the amount

 closest to the QPA is the proper payment amount. See 86 Fed. Reg. at 56,060-61.

        This implementation contradicts the plain meaning of the Act. The Act instructs the arbitrator

 to consider every Subparagraph C Factor “[i]n determining which offer” to select, not just in

 determining whether the QPA is materially different from the appropriate out-of-network rate. 42

 U.S.C. § 300gg-111(c)(5)(A) (“the certified IDR entity shall . . . taking into account the

 [Subparagraph C Factors]” select one of the offers). Where the regulations depart from the legislation,

 the regulations are invalid. See American Corn Growers Ass’n v. EPA, 291 F.3d 1, 6 (D.C. Cir. 2002)

 (where “no weights were assigned” to statutory factors, “treat[ing] one of the five statutory factors in

 such a dramatically different fashion distorts the judgment Congress directed”). As the court in Texas

 Medical Ass’n ruled, the Act does not “impose a ‘rebuttable presumption’ that the offer closest to the

 QPA should be chosen—or suggest anywhere that the other factors or information is less important

 than the QPA.” Texas Medical Ass’n, 2022 WL 542879, at *8.

        Nor can Defendants defend their “interpretation” of the Act under Chevron.              Because

 Congress spoke clearly on the issue relevant here, the Departments’ interpretation of the statute is

 owed no Chevron deference. See id. (citing Chevron, 467 U.S. at 843); see also Lutwin v. Thompson,

 361 F.3d 146, 156 (2d Cir. 2004) (“Because we find the statutory language to be clear and

 unambiguous, deference to the Secretary’s interpretation under Chevron is not appropriate.”).

        The Departments’ attempt to override the language of the Act and upset the balanced approach

 that Congress required the IDR to follow when making payment determinations is ultra vires and

 contrary to the law passed by Congress. As did the court in Texas Medical Ass’n, the Court should

 vacate those provisions of the Rule requiring the IDR to employ a presumption in favor of the offer

 closest to the QPA. See Texas Medical Ass’n, 2022 WL 542879 at *14-15; Complaint at pp. 17-18.



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                                          [JA-115 ]
                     III.    Plaintiffs are Entitled to a Preliminary Injunction

 A.     Standard for a Preliminary Injunction

        Where, as here, the moving party seeks to stay governmental action purportedly taken in the

 public interest pursuant to a statutory or regulatory scheme, the moving party must show “irreparable

 injury and a likelihood of success on the merits.” RxUSA Wholesale, Inc. v. Department of Health

 and Human Servs., 467 F.Supp.2d 285, 300 (E.D.N.Y. 2006) (citing Bery v. City of New York, 97

 F.3d 689, 694 (2d Cir. 1996)). A court “need not find with ‘absolute certainty’ that Plaintiffs will

 succeed on the merits of their claims,” but rather that Plaintiffs have “more than a fifty-fifty chance

 of succeeding.” Id. at 288-89 (citing Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir.1984) (“A movant

 . . . need only make a showing that the probability of his prevailing is better than fifty percent. There

 may remain considerable room for doubt.”)).

 B.     Plaintiffs Are Likely to Succeed on the Merits

        With respect to the level of persuasion required to satisfy a likelihood to succeed on the merits,

 courts have distinguished between motions seeking a prohibitory injunction as opposed to those

 seeking a mandatory injunction. Averhart v. Annucci, 2021 WL 2383556, *8 (S.D.N.Y. June 10,

 2021). Where, as here, the requested injunction seeks to enjoin government enforcement of a

 regulation “such an injunction is considered prohibitory rather than mandatory,” and the party moving

 for a preliminary injunction must show a “likelihood of success” on the merits of the case, rather than

 the more rigorous “clear” or “substantial” likelihood of success on the merits.              Id. (citing

 Mastrovincenzo v. City of New York, 435 F.3d 78, 89 (2d Cir. 2006)).

        Here, for all the reasons discussed above, Plaintiffs’ claims under the Seventh, Fifth and

 Fourteenth Amendments to the United States Constitution are likely to succeed on the merits.

 Moreover, the District Court in Texas Medical Ass’n has already vacated the Rule requiring the IDR

 to employ a presumption in favor of the offer closest to the QPA, which is a substantial part of the

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 underlying relief sought by Plaintiffs. To be sure, that decision is not binding on this Court, but its

 thorough and correct analysis is certainly persuasive and indicates a likelihood of success on the

 merits. See, e.g., In re Calpine Corp., 365 B.R. 401, 409 (S.D.N.Y. 2007) (affirming preliminary

 injunction and finding a “strong likelihood” that debtors could successfully reorganize when another

 district court had confirmed that finding in a separate adversary proceeding).

 C.     Plaintiffs Will be Irreparably Harmed

        “Irreparable harm is injury that is neither remote nor speculative, but actual and imminent and

 that cannot be remedied by an award of monetary damages.” New York Bay Capital, LLC v. Cobalt

 Holdings, Inc., 456 F.Supp.3d 564, 573 (S.D.N.Y. 2020) (quoting Forest City Daly Hous., Inc. v.

 Town of North Hempstead, 175 F.3d 144, 153 (2d Cir.1999)).

        It is well established that “an alleged violation of a constitutional right ‘triggers a finding of

 irreparable harm,’” and “no separate showing of irreparable harm is necessary.” Johnson v. Miles,

 355 Fed.Appx. 444, 446 (2d Cir. 2009) (quoting Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir.1996)

 (“The district court therefore properly relied on the presumption of irreparable injury that flows from

 a violation of constitutional rights.”) and Statharos v. New York City Taxi and Limousine Comm’n,

 198 F.3d 317, 322 (2d Cir.1999)).

        Furthermore, “as a matter of law, there is irreparable harm when a party is compelled to

 arbitrate without having agreed to arbitration because that party is forced to expend time and resources

 arbitrating an issue that is not arbitrable.” New York Bay Capital, LLC, 456 F.Supp.3d at 573; UBS

 Securities, LLC v. Voegeli, 405 Fed.Appx. 550, 552 (2d Cir. 2011) (finding “irreparable harm” and

 “lack of adequate remedy at law” where the moving party may not be legally obligated to arbitrate,

 and the lack of an injunction would result in it effectively being required to do so).

        In addition, “Courts in this district have routinely found that the risk of inconsistencies

 between arbitrations and a court’s ruling establishes irreparable harm.” Gov’t Emps. Ins. Co. v. SMK

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 Pharmacy Corp., 21-CV-3247 (AMD)(RLM), 2022 WL 541647, *5 (E.D.N.Y. Feb. 23, 2022)

 (Donnelly, J.) (collecting cases).

        For at least three reasons, Plaintiffs will suffer irreparable harm if a temporary restraining

 order and preliminary injunction staying enforcement of the Act and the Rule are not issued.

        First, Plaintiffs’ claims alleging Constitutional violations under the Fifth, Seventh and

 Fourteenth Amendments alone establish irreparable harm as a matter of law.

        Second, while large parts of the Rule have already been vacated by the court in Texas Medical

 Ass’n, that decision did not stay commencements of IDRs under the Act. If an injunction does not

 issue in this proceeding, Plaintiffs will still be subject to the IDR process provided for in the Act, and

 will be forced to expend considerable time and resources preparing for, and participating in, that

 process while the Court is considering whether that process is Constitutional in the first place.

        In that regard, Dr. Haller and his colleagues at Long Island Surgical expect that they will have

 to participate in potentially thousands of IDRs under the Act in the coming years. (Haller Decl. at ¶

 13). Dr. Haller and Long Island Surgical have therefore started the process of hiring as many as nine

 additional staff members, doubling their administrative staff, to deal with the impending IDR

 arbitrations should the Act continue to go into effect without the Court’s intervention. (Haller Decl.

 at ¶ 15). They must compete with other independent practices to hire individuals who are proficient

 with the new regulations and procedures of the Act, and who are in short supply, thereby making

 staffing difficult and expensive. (Id.). It will therefore take up an enormous amount of Plaintiffs’

 time and effort to properly prepare to meet the Act’s requirements should the Court not enjoin

 implementation of the Act and the Rule.

        Finally, the risk of inconsistent judgments is manifest. Plaintiffs could be subject to multiple

 adverse rulings in the IDR process only to have that entire process and those rulings invalidated as a

 result of an eventual decision in the instant proceeding striking down the Act and/or the Rule.

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                                          [JA-118 ]
                                            CONCLUSION

        For all of the foregoing reasons, Plaintiffs respectfully request that their motion for a

 temporary restraining order and a preliminary injunction be granted.



 Dated: White Plains, New York
        March 31, 2022


                                             ABRAMS FENSTERMAN, LLP

                                              By: /s/ Robert A. Spolzino
                                                 Robert A. Spolzino
                                                 Edward A. Smith
                                                 Justin Kelton
                                                 Mordecai Geisler
                                                 One Metrotech Center, Suite 1700
                                                 Brooklyn, NY 11201
                                                 (718) 215-5300
                                                 Attorneys for Plaintiffs




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                                      [ JA-119]
                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



  DR. DANIEL HALLER and LONG ISLAND
                                                        Case No. 21-cv-7208-AMD-AYS
  SURGICAL PLLC,
                            Plaintiffs,
                  – against –

  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES, 200 Independence
  Avenue SW, Washington, DC 20201, et al.,
                            Defendants.




    PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
   MOTION TO DISMISS AND IN FURTHER SUPPORT OF PLAINTIFFS’ MOTION
                   FOR A PRELIMINARY INJUNCTION




                                 ABRAMS FENSTERMAN, LLP
                                    Attorneys for Plaintiffs
                                One Metrotech Center, Suite 1701
                                  Brooklyn, New York 11201
                                   Telephone: 718-215-5300
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                                     PRELIMINARY STATEMENT

        Plaintiffs, Dr. Daniel Haller and Long Island Surgical PLLC (“Plaintiffs”), respectfully

 submit this memorandum of law in opposition to the motion to dismiss filed by Defendants, the

 Department of Health and Human Services, the Department of Labor, the Department of the

 Treasury, the Office of Personnel Management, Xavier Becerra in his official capacity as the

 Secretary of Health and Human Services, Janet Yellen in her official capacity as the Secretary of

 the Treasury, Martin J. Walsh in his official capacity as the Secretary of Labor, and Kiran Ahuja

 in her official capacity as the Director of the Office of Personnel Management (collectively,

 “Defendants”), and in further support of Plaintiffs’ motion for a preliminary injunction.

        Dr. Haller is a critical care surgeon, certified by the American Board of Surgery. (See Haller

 Declaration, Dock. No. 22, ¶ 3). He is President of Long Island Surgical PLLC, a general and acute

 care surgical private practice in Rockville Centre, New York employing six physicians who have

 over forty combined years of clinical experience. (Id. at ¶¶ 1, 5). Dr. Haller and the other surgeons

 of Long Island Surgical perform approximately 2,700 emergency consultations and surgical

 procedures each year on patients admitted to hospitals through their emergency departments.

 (Dock. No. 1, Complaint at ¶ 12; Haller Decl. at ¶ 6). During the first wave of COVID-19 in March

 of 2020, Long Island Surgical managed two intensive care units in two different hospitals, treating

 over 40 patients a day. (Haller Decl. at ¶ 4). Approximately 78 percent of the patients that Dr.

 Haller and Long Island Surgical treat each year are covered by health plans with whom Dr. Haller

 and Long Island Surgical have no contractual relationship. (Complaint at ¶ 13; Haller Decl. at ¶

 7). With respect to those patients, Dr. Haller and Long Island Surgical are nonparticipating, or out-

 of-network, providers within the meaning of the No Surprises Act (the “Act”).

        Emergency physicians and surgeons such as Plaintiffs—at whose fees the Act was largely

 directed—work at all hours of the day and night to perform life-saving procedures on patients they
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 do not know and with whom they have no prior relationship. These physicians have a right to be

 paid a fair fee for the critical work they do. While they have a right under state common law to be

 paid by their patients, emergency physicians cannot depend on this right because they may not ask

 about the patient’s financial circumstances before beginning treatment. What they depend on is

 that most of their patients will have some form of medical insurance and that the insurer will pay

 the physician because the patients have likely assigned their insurance claim to the physician. The

 Act seeks to reduce costs by protecting insurance companies through the imposition of the

 insurer’s own price caps on out-of-network physicians with whom the insurer has no prior

 contractual relationship. This gift to the health insurance industry comes at the cost of the physician

 being compensated for the fair value of her services.

        This action, however, is not about the wisdom of reducing health care costs at the expense

 of physicians. It is about the legality and constitutionality of doing so in the manner provided by

 the Act. Congress certainly has the right to legislate to reduce the cost of health care, but not by

 depriving physicians of their constitutional right to a jury trial, by requiring that their claims for

 payment be adjudicated in an arbitration to which they did not agree, by denying them due process

 of law in fixing the standards for the arbitration to favor insurers and, ultimately, by taking, without

 compensation, physicians’ common law right to be paid by patients. For these reasons, the Act,

 however well intentioned, must be set aside.


                                              ARGUMENT

 A.     Standard on a Motion to Dismiss

        On a motion to dismiss for failure to state a claim, a court must accept the plaintiff’s

 “factual allegations as true, drawing all reasonable inferences in plaintiff’s favor.” King v. New

 York City Employees Retirement System, 212 F.Supp.3d 371, 396 (E.D.N.Y. 2016). “[A] complaint



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  must contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible

  on its face.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “The issue is not whether a

  plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to support the

  claims.” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 583 (2007) (citation omitted)). It

  is the “legal feasibility of the complaint,” and not the weight of the evidence, that must be assessed.

  Id. (citing DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 113 (2d Cir.2010)).

         For the reasons set forth below, Defendants’ motion to dismiss should be denied.

  B.     The Act’s arbitration requirement deprives Plaintiffs of their Seventh Amendment
         right to a jury trial.

         1. Plaintiffs’ claims to be paid for their services are legal in nature and the Seventh
            Amendment right to a jury therefore attaches to those claims.

         Defendants do not dispute that the constitutional right to a trial by jury attaches to an action

  involving claims “traditionally enforced in an action at law.” Wm. Passalacqua Builders, Inc. v.

  Resnick Developers South, Inc., 933 F.2d 131, 135 (2d Cir. 1991) (quoting Pernell v. Southall

  Realty, 416 U.S. 363, 375 (1974)). While Defendants contend they see “good reasons to doubt”

  that suits in quantum meruit for monetary relief (like the claims at issue) are actions at law (Def.

  Br. at 27), the weight of authority leaves little reason to doubt. See Pls. Opening Br. at 12 (citing

  cases); Athletes & Artists, Inc. v. Millen, 1999 WL 587883, at *8 (S.D.N.Y. Aug. 4, 1999) (“In the

  past, there had been confusion concerning the nature of quantum meruit proceedings—whether

  they are actions at equity (where a jury is not permitted) or at law (where a jury demand must be

  honored). It now seems settled that an action for quantum meruit must be deemed an action at

  law.”); GSGSB, Inc. v. New York Yankees, 1995 WL 507246, at *5 (S.D.N.Y. Aug. 28, 1995)

  (holding that “since quantum meruit is an action at law, numerous federal courts have allowed

  actions for quantum meruit to be tried before a jury,” and collecting cases). Other federal courts

  agree. See Skepnek v. Roper & Twardowsky, LLC, 2015 WL 5178054, *2-3 (D. Kan. Sept. 4, 2015)


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  (collecting cases, holding that “plaintiffs’ quantum meruit claim is an action at law and seeks legal

  relief [and] is therefore triable to a jury,” stating that “[q]uantum meruit is a form of quasi-contract

  that enables [a] performing party to recover the reasonable value of [their] services rendered,” and

  “[i]n federal courts, actions in quasi-contract grew out of the common law writ of assumpsit and,

  therefore, are actions at law”). Cases cited by Defendants are not to the contrary.1

           Since quantum meruit claims are suits at law, the Seventh Amendment’s right to a jury trial

  attaches to those claims. U.S. Const. Amend. VII. Defendants’ argument that “Plaintiffs’

  congressionally created public rights may be properly delegated to an administrative tribunal shorn

  of a jury right” (Def. Br. at 27) misses the point. Claims by out-of-network physicians for the fair

  value of their services are not created by Congress. They are preexisting state common law rights.

  Nor are they public rights. The Seventh Amendment, therefore, requires that those rights be

  adjudicated by a court. Congress cannot bypass the Seventh Amendment by relabeling an existing

  state law right, and then claiming that no jury trial is required because it has created a new right.

           2. The Act does not fall within the “Public Rights” Exception to Article III.

           The compulsory arbitration process defined by the Act does not create a new “public right,”

  nor is the statute a “public regulatory scheme” as that term has long been understood by the courts.

  Defendants’ arguments to the contrary (Def. Br. 21 – 25) rest on a fundamental mischaracterization

  of both the “public rights” exception and the nature of Plaintiffs’ claims.

           Plaintiffs’ common law claims are against the recipient of the medical treatment, not the

  insurer. The Act improperly seeks to contort these existing common-law contract claims against




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    See Def. Br. at 27, citing R.B. Ventures, Ltd. v. Shane, 112 F.3d 54 (2d Cir. 1997), which did not examine whether a
  quantum meruit claim is entitled to a jury trial, and Speedfit LLC v. Woodway USA, Inc., 2020 WL 3051511 (E.D.N.Y.
  June 8, 2020), where the plaintiffs argued that they had a right to a jury for their claim for unjust enrichment, because,
  they argued, it was synonymous with quantum meruit, warranting a jury trial, a position the court rejected.



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  the patient into an action against the insurer alone in order to force physicians into a truncated

  adjudication process before a private arbitrator, a scheme without precedent in our laws.

             a. The Act does not create a new “Public Right.”

         The public rights exception is limited to circumstances in which the “right to compensation

  [under a regulatory scheme] does not depend on or replace a right to such compensation under

  state law.” Thomas v. Union Carbide Agr. Products Co., 473 U.S. 568, 584 (1985) (citing Northern

  Pipeline Construction Co., 458 U.S. 50, 84 (1982)) (“Rather, such inroads suggest unwarranted

  encroachments upon the judicial power of the United States, which our Constitution reserves for

  Art. III courts.”). In determining whether an assignment of a claim to a non-Article III tribunal is

  permissible, the first question that must be addressed, therefore, is whether “Congress ‘creat[ed] a

  new cause of action, and remedies therefor, unknown to the common law,’ because traditional

  rights and remedies were inadequate to cope with a manifest public problem.” Jarkesy v Sec. and

  Exch. Comm’n, 2022 WL 1563613, at *4 (5th Cir. May 18, 2022) (quoting Granfinanciera, S.A.

  v. Nordberg, 492 U.S. 33, 60-63 (1989)).

         Formerly confined to “matter[s] of public rights [which] must at a minimum arise ‘between

  the government and others,’” Northern Pipeline, 458 U.S. at 69, the definition of “public rights”

  has expanded to include cases where the federal government is not a party, but where “the claim

  at issue derives from a federal regulatory scheme, or in which resolution of the claim by an expert

  Government agency is deemed essential to a limited regulatory objective within the agency’s

  authority.” Stern v. Marshall, 564 U.S. 462, 490 (2011). That exception does not apply here.

         The compulsory arbitration mandated by the Act clearly does not fall within the more

  limited definition of the “public rights” exception embraced prior to Northern Pipeline, as the

  federal government was never a party to the controversies the Act purports to resolve by

  arbitration. These are purely actions to determine “the liability of one individual to another under


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  the law as defined,” Northern Pipeline, 458 U.S. at 69-70, citing Crowell v. Benson, 285 U.S. 22,

  51-52 (1932), neither dependent upon nor arising from a federal statutory scheme. Rather than the

  claims “‘arising between the government and others, which from their nature do not require

  judicial determination and yet are susceptible of it,’” Oil States Energy Services, LLC v Greene’s

  Energy Grp., LLC, 138 S. Ct. 1365, 1373 (2018) (citations omitted), the claims at issue are purely

  private claims between individuals, and neither involve nor implicate the federal government, nor

  any new right, privilege, or franchise granted by the government. Id.

         The Act is unprecedented precisely because it does not create a new right as an adjunct to

  a larger regulatory scheme. Instead, the primary object of the scheme is to “replace” an existing

  state law contract claim, Thomas, 473 U.S. at 584, with substantively the same claim, also

  sounding in contract, between the provider and the patient’s insurer, a claim which the Act does

  not permit to be heard before or even reviewed by an Article III tribunal. This is a power that the

  states might exercise, see, e.g., Munn v People of State of Illinois, 94 U.S. 113, 122 (1876), but

  that Congress may not exercise without encroaching upon the judiciary’s powers under Article III.

         Plaintiffs’ common law claims at issue do not “arise” from the Act, because “a case arises

  under federal law for purposes of Article III jurisdiction whenever federal law ‘forms an ingredient

  of the original cause.’” Jones v. R.R. Donnelley & Sons Co., 541 U.S. 369, 375 (2004). The

  “original cause” in this case has no federal law “ingredient.” Rather, Congress has merely assigned

  “traditional legal claims” to a non-Article III tribunal. Granfinanciera, 492 U.S. at 52. The fact

  that Congress has put a new label on a pre-existing common-law claim and diverted it into what

  amounts to a summary extra-agency arbitration does not change the nature of the analysis, for the

  “ingredients” are the same. “Congress cannot convert any sort of action into a ‘public right’ simply

  by finding a public purpose for it and codifying it in federal statutory law.” Jarkesy, 2022 WL




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  1563613, at *6.

           The Fifth Circuit’s recent decision in Jarkesy is instructive. There, the plaintiff challenged

  the constitutionality of Congress’s delegation of securities fraud claims to the SEC’s in-house

  adjudication process, which deprived the plaintiff of the right to a jury trial. The SEC argued that

  the legal interests at issue vindicated “public rights,” and that Congress therefore could properly

  delegate such actions to agency proceedings without juries. 2022 WL 1563613 at *2. The Fifth

  Circuit rejected this argument and held that “[t]he Seventh Amendment guarantees Petitioners a

  jury trial because the SEC’s enforcement action is akin to traditional actions at law to which the

  jury-trial right attaches.          And Congress, or an agency acting pursuant to congressional

  authorization, cannot assign the adjudication of such claims to an agency because such claims do

  not concern public rights alone.” Id. (emphasis added).2 Thus, the court ruled that the mandatory

  adjudication process was unconstitutional as violative of the Seventh Amendment.                                      It is

  respectfully submitted that this case presents an even clearer constitutional violation, where

  Plaintiffs seek to preserve their right to a jury trial of state common law claims between physicians

  and patients, and where the federal government traditionally has had more limited involvement

  (see Section E, infra), unlike in the securities industry. Moreover, the claims here, like the claims

  in Jarkesy, are classic actions at law, to which the jury-trial right attaches.

                b. The IDR process is not a part of a “public regulatory scheme”

           The operative inquiry for determining whether Congress acts within its power in assigning

  an adjudicative function to a non-Article III court is whether Congress “create[d] a seemingly




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    In reaching this decision, the Fifth Circuit noted that “[s]urely Congress believes that the securities statutes it passes
  serve the public interest and the U.S. economy overall, not just individual parties.” Id. at *6. But the court rejected
  this argument, holding that Congress cannot convert any action into a “public right” simply by finding a public purpose
  for it. Id. (citing Granfinanciera).


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  ‘private’ right that is so closely integrated into a public regulatory scheme as to be a matter

  appropriate for agency resolution with limited involvement by the Article III judiciary.” Thomas,

  473 U.S. at 594. Here, Congress did not create a “public regulatory scheme.”

         The public regulatory scheme at issue in Thomas is illustrative: the Court addressed itself

  to the 1978 amendments to the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), 7

  U.S.C. § 136 et seq., which is a general act for the regulation of pesticides. The challenged statutory

  arbitration at issue in Thomas was not dissimilar to the one in the Act—in the event of a dispute

  over “follow-on registrations” concerning the safety of registered pesticide products which were

  FIFRA’s primary object, the parties were first obliged to negotiate their relative liability for sharing

  of costs related to FIFRA’s data collection requirements and, if such negotiations were fruitless,

  would then face binding arbitration to resolve the dispute.7 U.S.C. § 136a(c)(1)(F)(iii).]

          Unlike the Act, however, the “public regulatory scheme” at issue in Thomas did not have

  as its sole, or even primary, object the resolution of these follow-on registration cost sharing

  disputes. FIFRA’s object was the collection of data concerning pesticide products’ health, safety,

  and environmental impact, of which the binding arbitration scheme was an essential part, but even

  so, only a part. Thomas, 473 U.S. at 573

          The Act, however, has as its primary (and seemingly sole) objective an attempt to

  extinguish claims by providers against private individuals who use their services. In so doing,

  Congress did not “create” a private right. Thomas, 473 U.S. at 594. Indeed, no right was created

  at all. Instead, Congress barred state-based common law claims against the patient and substituted

  a right of action against the insurer alone, which is then shunted into a dead-end venue: mandatory

  binding arbitration before a private arbitrator to which the provider never consented, and over

  which no meaningful judicial review may be had. Rather than create a new right, “Congress simply




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  reclassified a pre-existing, common-law cause of action, […] a purely taxonomic change,”

  Granfinanciera, 492 U.S. at 60-61, which cannot act to strip Article III courts of jurisdiction to

  hear the dispute. The Act, therefore, does not “create a private right” in any meaningful sense, nor

  is the attempt to extinguish these claims “closely integrated into a public regulatory scheme.” Here,

  the Act’s “independent dispute resolution” process (“IDR”), for all practical purposes, is the

  regulatory scheme. Defendants thus rely on circular logic, seeking to justify an otherwise

  impermissible Article III violation by reference to itself.

         Even the authorities cited by Defendants make clear that such a law is without precedent.

  Non-Article III adjudicatory measures have passed constitutional muster when the regulatory

  scheme of which they are a part deal with, for example, comprehensive regulation of commodities

  brokers, Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833 (1986), comprehensive

  regulation of workplace safety, Atlas Roofing Co. Inc. v. Occupational Safety and Health Review

  Comm’n, 430 U.S. 422 (1977), and registration of hazardous products, Thomas. Here, however,

  Defendants have cited no examples where the sole object of the purported “regulatory scheme” is

  the adjudicatory component itself, presumably because no such examples exist. Despite the

  characterization of the Act as “highly technical” or “comprehensive” (Def. Br. at 22), the

  complexity of a “regulatory scheme” that nonetheless has as its primary objective an otherwise

  impermissible violation of Article III cannot be sufficient to bring the Act within the limited and

  narrow exception of the public rights doctrine. Otherwise, Article III would be rendered

  meaningless; Congress would be free to assign any claim to a private arbitrator provided that the

  statute doing so was sufficiently byzantine.

             c. Article III requires that compulsory non-consensual arbitration be
                reviewable by a court of record

         Even if the Court were to hold that Plaintiffs’ common law claims were closely integrated



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  into a public regulatory scheme, recourse to a court would still be required.

         Indeed, in Granfinanciera, upon which Defendants rely, the Supreme Court recognized

  that some involvement by the Article III judiciary is necessary, even where the right at issue is

  closely integrated into a public regulatory scheme. Specifically, the Court held that “[t]he crucial

  question, in cases not involving the Federal Government, is whether ‘Congress, acting for a valid

  legislative purpose pursuant to its constitutional powers under Article I, [has] create[d] a seemingly

  ‘private’ right that is so closely integrated into a public regulatory scheme as to be a matter

  appropriate for agency resolution with limited involvement by the Article III judiciary.”

  Granfinanciera, 492 U.S. at 54 (quoting Thomas, 473 U.S. at 593-94) (emphasis added). The Court

  further noted that “district courts may presently set aside clearly erroneous factual findings by

  bankruptcy courts.” Id. at 50. Thus, the non-Article III tribunal at issue in Granfinanciera, a

  bankruptcy court, was materially different from the arbitrations required by the Act, which does

  not provide for even “limited involvement by the Article III judiciary.” Rather, the Act completely

  bars healthcare providers from ever seeking recourse to any court, at any stage. Granfinanciera

  thus does not shield the Act from the requirement that Plaintiffs be permitted some access to the

  judiciary.

         Defendants’ reliance on Germain v. Conn. Nat. Bank, 988 F.2d 1323 (2d Cir. 1993) is also

  misplaced. In Germain, the Second Circuit held that “Congress may decline to provide jury trials

  for cases ‘involving statutory rights that are integral parts of a public regulatory scheme and whose

  adjudication Congress has assigned to . . . a specialized court of equity,’ because such rights are

  ‘public.’” 988 F.2d at 1331. This holding is inapposite for at least four reasons. First, the rights at

  issue are not “public rights,” nor are they “integral parts of a public regulatory scheme” as

  discussed above in Sections (B)(2)(a) and (b). Second, Plaintiffs’ claims for payment were not




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  newly created by Congress; they were preexisting claims that Congress simply sought to relabel

  and modify. Third, Germain did not permit the government to relegate claims to arbitration that is

  mandatory, binding, and final. Rather, in Germain, the Second Circuit was asked to decide whether

  the Seventh Amendment applied to a bankruptcy trustee’s claims for tortious interference, breach

  of contract and other common law claims. The court held that the Seventh Amendment did apply,

  and that the right to a jury trial was not barred by the public rights doctrine. 988 F.2d at 1332.

  Finally, the arbitral panels required by the IDR process are not “specialized courts of equity.”

         Atlas Roofing also does not support Defendants’ position. In that case, the Supreme Court

  held that Congress could create new statutory “public rights” and assign their adjudication to an

  administrative agency. Atlas Roofing Co., 430 U.S. at 455. But even if Plaintiffs’ rights to payment

  were public rights (which they are not), Congress has not assigned them to an administrative

  agency. Rather, it has assigned them to private arbitrators, without any of the rules or safeguards

  that apply to administrative agency adjudicatory proceedings.

         Accordingly, Congress may not force Plaintiffs to forgo jury trials in favor of the Act’s

  mandatory arbitration scheme without recourse to any court.

  C.     Arbitration requires consent.

         The Supreme Court has emphasized that voluntariness is the “first principle” of arbitration.

  AT & T Technologies, Inc. v. Communications Workers of Am., 475 U.S. 643, 648 (1986). The

  Supreme Court has thus recognized that “a party cannot be required to submit to arbitration any

  dispute which he has not agreed so to submit.” Howsam v. Dean Witter Reynolds, Inc., 537 U.S.

  79, 123 S. Ct. 588, 589 (2002) (citing Steelworkers v. Warrior & Gulf Nav. Co., 363 U.S. 574, 582

  (1960)); see also Vera v. Saks & Co., 335 F.3d 109, 116 (2d Cir. 2003) (affirming that “‘arbitration

  is a matter of contract,’ and therefore ‘a party cannot be required to submit to arbitration any

  dispute which [it] has not so agreed to submit”’) (quotation omitted). It is therefore well-


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  established that without an explicit statement, or conduct implying an agreement to arbitrate,

  arbitration will not be compelled. Old Dutch Farms, Inc. v. Milk Drivers & Dairy Employees

  Union, 359 F.2d 598, 603 (2d Cir. 1966); Gvozdenovic v. United Air Lines, Inc., 933 F.2d 1100,

  1105 (2d Cir. 1991).

          There are many good reasons for the policy against forcing parties to arbitrate absent any

  agreement to do so. Congress has therefore strongly cautioned against mandatory arbitration

  schemes on legal as well as public policy grounds:

          Congress found that ‘[m]andatory arbitration undermines the development of
          public law because there is inadequate transparency and inadequate judicial review
          of arbitrators’ decisions’ and noted ‘[a]rbitration can be an acceptable alternative
          when consent to the arbitration is truly voluntary, and occurs after the dispute
          arises.” The mandatory arbitration clause in GEICO’s policies, prescribed by
          Section 5106(b) of New York Insurance Law, does not result in arbitrations that are
          ‘truly voluntary’ because it is mandated by statute and not by voluntary agreement
          of the parties. Further, unlike a bargained-for arbitration clause, the parties here are
          not permitted to choose where the arbitrations take place, who will serve as the
          arbitrators, or any other procedural components of the arbitration.

  Gov’t Emps. Ins. Co. v. Mayzenberg, 2018 WL 6031156, *3 (E.D.N.Y. Nov. 16, 2018) (emphasis

  in original) (granting preliminary injunction staying all pending and future no-fault collections

  arbitrations).

          Those same concerns are implicated here. Unlike a contractual arbitration agreement, the

  Act requires healthcare providers to go to mandatory, binding, and final arbitration against a party

  with whom they have no contractual relationship, and where they have no practical ability to

  choose the “procedural components of the arbitration.” Moreover, Plaintiffs here are not “merely

  the instrumentality” of a party bound by an arbitration agreement. Koreska v. Perry-Sherwood

  Corp., 253 F. Supp. 830, 831 (S.D.N.Y. 1965), aff’d sub nom. Matter of Koreska, 360 F.2d 212

  (2d Cir. 1966). Instead, the Act creates a forced arbitration scheme unprecedented in its scope and

  constraint. It covers emergency physicians who, by the nature of their roles, must regularly treat



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  patients they do not know and did not choose, and who may be covered by insurers with which the

  physicians have no relationship, nor any desire for any relationship. The physicians are forced to

  give up any right to payment from the recipient of their treatment, and instead, are forced into an

  arbitration scheme with those insurers that lacks critical due process safeguards (see infra Section

  (D)(2)), and which is based on rates they never negotiated. And the arbitration is final, with no

  recourse to any court of law, except in the most egregious cases of fraud, bias or misconduct.

           Therefore, the Act violates the most basic and well-settled principles of arbitration.3

  D.       The Act violates the Fifth Amendment by depriving Plaintiffs of property without
           just compensation.

           1. Plaintiffs have cognizable property interests.

           Defendants argue that “Plaintiffs’ due process and takings claims both turn on whether or

  not Plaintiffs possess a protected property interest, of which the Act deprives them. Both claims

  also fail because Plaintiffs have not yet been deprived of any property interest.” (Def. Br. at 32).

  Although Defendants contend that it is “unclear” what property interest of Plaintiffs’ is being

  deprived, Plaintiffs clearly allege that the Act deprives physicians, including Plaintiffs, of their

  “property rights to the reasonable value of the services they have rendered without due process of

  law by allowing health plans to determine the standard by which the ‘independent dispute

  resolution process’ determines physicians’ claims.” (Complaint ¶¶ 71, 72). Plaintiffs also allege

  the Act amounts to a taking of their property without just compensation “by prohibiting physicians



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    Defendants argue that any “problematic” provisions of the Act should be severed and the remainder left intact
  because courts “apply a presumption in favor of severability.” (Def. Br. at 29). However, Defendants are incorrect in
  claiming that the offending portions of the Act can effectively be severed. As discussed above, the Act’s entire purpose
  and focus is the transmutation of physicians’ state common law claims for payment into claims relegated to binding
  arbitration against insurers. See Section (B)(2)(a). The unconstitutional arbitration process cannot be severed from the
  rest, as doing so would leave physicians without any avenue for payment whatsoever. This result would be
  unconstitutional, unworkable, and unsustainable, and it would have ruinous consequences for the emergency medical
  services industry as we know it.



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  from recovering the balance of the fair value of their services from their patients.” (Complaint ¶¶

  3, 77, 78).

          Defendants also argue that compensation for the treatment of future patients is not a

  recognized property right, “[n]or do providers hold a property interest in any asserted common law

  right to sue for the value of services rendered to patients.” (Def. Br. At 32-33). Not so. “Property

  interests derive not from the Constitution, but from ‘existing rules or understandings that stem

  from an independent source such as state law-rules or understandings that secure certain benefits

  and that support claims.’” DeMartino v. New York State Department of Lab., 167 F. Supp. 3d 342,

  358-59 (E.D.N.Y. 2016) (quoting Gen. Elec. Co. v. New York State Dep’t of Lab., 936 F.2d 1448,

  1453) (2d Cir. 1991)).

          Here, physicians providing emergency care services, such as Plaintiffs, have a cognizable

  property interest in being fully and fairly compensated for services they render to their patients,

  both in state court under common law, and against third-party insurers within the confines of the

  federally compelled IDR process. For example, courts have consistently held that “professionals

  who provide services under a federal program such as Medicaid or Medicare have a property

  interest in reimbursement for their services at the ‘duly promulgated reimbursement rate.’”

  Furlong v. Shalala, 156 F.3d 384, 393 (2d Cir. 1998); accord Rock River Health Care, LLC v.

  Eagleson, 14 F.4th 768, 774 (7th Cir. 2021) (“Providers possess a legitimate entitlement to be paid

  for services rendered”); Arthritis and Osteoporosis Clinic of East Texas, P.A. v. Azar, 450 F. Supp.

  3d 740, 749 (E.D. Tex. 2020) (Medicare provider had “a valid property interest in receiving

  Medicare payments for services rendered.”). So too, here, Plaintiffs have a cognizable right to

  compensation for services rendered by them in an emergency setting. Thus, to the extent that

  Defendants rely on cases dealing generally with the right of “doing business” or about a property




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  interest to reimbursement “at any specific [Medicaid] rate” or participation in the Medicaid

  program (Def. Br. at 32), they are irrelevant to the facts presented here.

         Further contrary to Defendants’ assertion, “[t]here is no dispute that a legal cause of action

  constitutes a ‘species of property protected by the Fourteenth Amendment’s Due Process Clause.’”

  New York State Nat. Org. for Women v. Pataki, 261 F.3d 156, 163 (2d Cir. 2001) (quoting Logan

  v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982)). In that regard, “an implied contract,

  recognized under state law”—such as an implied agreement to pay for services quantum meruit—

  provides the basis for a property interest that would be given constitutional protection. Branum v.

  Clark, 927 F.2d 698, 705 (2d Cir. 1991) (citing Perry v. Sindermann, 408 U.S. 593, 601–03

  (1972)); Airday v. City of New York, 310 F. Supp. 3d 399, 420 (S.D.N.Y. 2018) (“[t]he law of

  contracts, including the rules governing implied contract, can establish the required property

  interest”). Similarly, a party has a cognizable property interest in “getting paid for work properly

  performed.” DeMartino, 167 F. Supp. 3d at 361.

         If, as is the case here, a statute “flatly preclude[s]” a claimant from pursuing her claim, due

  process is “implicated” and “a deprivation would have occurred.” New York State Nat. Org. for

  Women, 261 F.3d at 163. Thus, it is clear that:

         [E]xtinguishing [the plaintiff’s] right to enforce its contract claim ... in the United
         States courts constitute[s] a taking. Valid contracts ... and the rights arising out of
         such contracts are property and protected by the Fifth Amendment.... When the
         right to enforce a contract in the United States courts is taken away or materially
         lessened, the contract and the rights thereunder are taken within the meaning of the
         Constitution.

  Morgan Guar. Tr. Co. of New York v. Republic of Palau, 680 F. Supp. 99, 105 (S.D.N.Y. 1988)

  (citation omitted); see also Aureus Asset Managers, Ltd. v. United States, 121 Fed.Cl. 206, 213

  (Fed. Cl. 2015) (“Plaintiffs have alleged sufficient facts to show a property interest in the insurance

  contracts they sought to protect with a legal claim against Libya, which the United States



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  subsequently extinguished.”). Moreover, the Act, by purporting to create a new claim to be

  adjudicated in the IDR process, itself implicitly recognizes the existence of Plaintiffs’ property

  interest in their common law claims even as it attempts to extinguish them. See Gen. Elec. Co, 936

  F.2d at 1453 (“GE’s property interest is implicit in § 220 itself, which both creates an entitlement

  to payment of the full contract price . . . and provides for a hearing to determine if cause exists to

  deprive a contractor of the full contract price.”).

           Plaintiffs hold a cognizable interest in their New York common law quantum meruit claims

  to be paid for services rendered to patients. Plaintiffs’ right to their claims, and their right to a fair

  adjudication of those claims, are property interests protected by their right to due process under

  the Fifth and Fourteenth Amendments, and they have the right to be compensated under the Fifth

  Amendment for the government’s taking of such claims.

           The authority relied on by Defendants (Def. Br. at 33) is inapposite because those cases

  considered whether a contract dispute between a private party and a governmental body may give

  rise to a due process claim, rather than whether a party’s right to the existence of his claim that has

  been extinguished by the government constitutes a protected property interest.4 Plaintiffs allege no

  contractual dispute with Defendants, and do not seek to adjudicate any contractual term. Rather,

  Plaintiffs seek relief from Defendants’ unconstitutional taking of their state law claims, done for

  Defendants’ stated purpose of creating another claim altogether within the confines of an

  unconstitutional IDR process.




  4
    See Martz v. Inc. Vill. of Valley Stream, 22 F.3d 26, 27 (2d Cir. 1994) (“Village’s alleged breach of a contract with
  Martz in not paying her for professional services rendered did not constitute a deprivation of a property interest
  protected by the Fourteenth Amendment”); Walentas v. Lipper, 862 F.2d 414, 418 (2d Cir. 1988) (“There is a
  distinction between the breach of an ordinary contract right and the deprivation of a protectible property interest within
  the meaning of the due process clause.”); Costello v. Town of Fairfield, 811 F.2d 782,784 (2d Cir. 1987) (“Clearly, it
  is the interpretation of a contract term that is at issue here and the appellants have pursued this contract dispute in the
  district court under the guise of a due process violation.”).


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         2. The Act deprives Plaintiffs of procedural due process.

         “A fundamental requirement of procedural due process is ‘the opportunity to be heard’” in

  a “meaningful time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965).

  The purpose of procedural due process is “to minimize substantively unfair or mistaken

  deprivations of property.” Krimstock v. Kelly, 306 F.3d 40, 52 (2d Cir. 2002) (quoting Fuentes v.

  Shevin, 407 U.S. 67, 80-81 (1972)). “The concept of due process is a flexible one which calls for

  such procedural protections as are necessary for a particular situation for the purpose of minimizing

  the risk of erroneous decisions.” Rock River Health Care, LLC, 14 F.4th at 776 (citing Greenholtz

  v. Inmates of Nebraska Penal and Correctional Complex, 442 U.S. 1, 12–13, (1979)).

         Defendants argue, first, that Plaintiffs fail to recognize that the qualified payment amount

  (“QPA”) “is defined by reference to the ‘contracted rates’ recognized by the plan or insurer” and

  these “contracted” rates are “negotiated at arms-length between the plan or insurer and another

  party—typically the health care provider,” and the Act thus treats the QPA as a “reasonable proxy

  for what the agreed-upon payment rate between a provider and a plan or insurer would have been

  for a given out-of-network service.” (Def. Br. at 30). Defendants’ description of the Act is,

  however, incomplete and does not respond to Plaintiffs’ allegations.

         The Act prohibits out-of-network physicians, such as Plaintiffs, from recovering anything

  for their services other than the amount determined by the IDR process—they are effectively

  captive to that process. The Act requires that the IDR determine the amount to which an out-of-

  network physician is entitled on the basis of the QPA “for the applicable year for comparable

  services,” with the potential to also consider additional circumstances, such as the physician’s level

  of training or experience; acuity of the individual receiving treatment; market share of the

  physician or health plan; and demonstrations of good faith efforts to enter into network agreements.

  42 U.S.C. § 300gg-111(c)(5)(C). (Complaint at ¶ 68). The Act defines the QPA as the “median of


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  the contracted rates recognized by the” insurer as of January 31, 2019 in the same insurance market

  for “the same or similar item or service” provided by a provider “in the same or similar specialty

  and . . . geographic region,” increased by inflation over the base year. 42 U.S.C. § 300gg-

  111(a)(3)(E)(i). (Complaint at ¶ 69). The Act, however, specifically excludes consideration of

  “usual and customary charges,” which would be the amount the provider would have charged had

  the Act not applied, or the amounts payable under Medicare or Medicaid. 42 U.S.C. § 300gg-

  111(c)(5)(D). (Complaint at ¶ 68). The Act thus defines the amount to which every physician,

  including out-of-network physicians such as Plaintiffs, are entitled to be paid for their services by

  the amount the insurer has agreed to pay in-network physicians through negotiations with those

  physicians, subject to the potential consideration of a handful of additional circumstances. But the

  Act expressly excludes consideration of the amount an out-of-network physician would

  customarily charge in determining the QPA.

         Therefore, even if the QPA is based upon fees agreed to between an insurer and its in-

  network physicians, the out-of-network physicians subject to the IDR process are not parties to

  those negotiations. The in-network physicians have no authority, interest, or incentive to act on

  behalf of out-of-network physicians during those negotiations, and whether such negotiations are

  “arms-length,” as Defendants contend, is wholly irrelevant. In determining the QPA, the Act

  effectively compels out-of-network physicians to accept what an insurer has previously agreed to

  pay in-network physicians without any input of evidence or data by the out-of-network physicians.

  Specifically, in determining the QPA, out-of-network physicians are prohibited by the Act from

  submitting data on the amount an out-of-network physician would customarily charge. Indeed, as

  one court has already found, the Rule implementing the Act treats the QPA as “an insurer-

  determined number,” and makes it the default payment amount under the IDR process. Texas




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  Medical Ass’n v. U.S. Dep’t of Health and Human Servs., 2022 WL 542879, *9 (E.D. Tex. Feb.

  23, 2022). The Act thus denies the out-of-network physician a meaningful opportunity to be heard

  during the IDR process, thereby depriving them of procedural due process.

         A recent Seventh Circuit decision is instructive. In Rock River Health Care, LLC v.

  Eagleson, the Court of Appeals reversed a decision of the lower court dismissing a procedural due

  process claim brought by nursing care providers against the state department administering the

  state’s Medicaid program. 14 F.4th at 770-71. The provider plaintiffs alleged that, in conducting

  audits of the providers and recalculating reimbursement rates, the defendant failed to provide the

  plaintiffs with preliminary results and did not identify missing or deficient documents to give the

  plaintiffs an opportunity to respond. Id. at 772. The plaintiff providers also alleged that the

  procedure was inadequate to provide due process because it “prohibits the submission of any

  evidence not provided to the auditors at the initial stage.” Id. The Court of Appeals held that “[a]t

  this early stage in the litigation, the allegations are sufficient to allege a violation of procedural

  due process,” noting that “[e]ven in cases involving relatively-minimal property interests, courts

  have recognized that due process at a minimum requires an opportunity to ascertain and confront

  the evidence in opposition.” Id. at 778, 780. The court reasoned that:

         The Providers, then, are not made aware of the evidence against them before the
         decision is made to recalculate the reimbursement rates. And at that point, the
         Providers have no further opportunity to present documents or other evidence. That
         omission is consequential because, in the absence of an opportunity to respond to
         new evidence gathered by the auditors, the Providers would have no opportunity to
         address all of the facts upon which the recalculation is based. In that way, the
         procedures followed by the auditors gave the Providers an opportunity to present a
         legal challenge to the decision, but denied them any practical opportunity to mount
         a factual challenge to it. What is lacking in the procedures allegedly followed is a
         fundamental part of any due process inquiry, which is the opportunity to be
         presented with the evidence against the entity and an opportunity to respond.

  Id. at 778 (emphasis in original).

        Here, too, Plaintiffs are not aware of, and have no input in, the makeup of the QPA which


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  is largely based upon fees agreed to between an insurer and its in-network physicians. They are

  precluded by the Act from submitting any data or evidence, at any stage, regarding the amount an

  out-of-network physician would customarily charge, thus limiting their ability to submit realistic

  data to calculate their fees. As was the case with the providers in Rock River Health Care, LLC,

  here Plaintiffs have no opportunity to address all of the facts upon which the QPA calculation is

  based. In that way, the Act’s procedures give Plaintiffs “an opportunity to present a legal challenge

  to the [arbitrator’s] decision, but den[y] them any practical opportunity to mount a factual

  challenge.” Id. at 778. See also Kellman v. District Director, U.S. I.N.S., 750 F.Supp. 625, 628 n.4

  (S.D.N.Y. 1990) (“procedural due process cannot be satisfied merely by the opportunity for a

  hearing where the result of that hearing is statutorily predetermined”); accord D’Angelo v. Winter,

  403 Fed.Appx. 181, 182 (9th Cir. 2010) (“A hearing with a predetermined outcome does not satisfy

  due process.”); Washington v. Kirksey, 811 F.2d 561, 564 (11th Cir. 1987) (“Due process of law

  does not allow the state to deprive an individual of property where the state has gone through the

  mechanics of providing a hearing, but the hearing is totally devoid of a meaningful opportunity to

  be heard.”). Accordingly, the IDR scheme set forth in the Act as implemented by the Rule denies

  Plaintiffs their procedural due process and must be struck down as unconstitutional.

         Defendants also argue that the QPA does not alone determine the outcome of the IDR

  process (Def. Br. at 31), but that position is belied by the Rule providing that the QPA is the default

  rate that must be considered by the arbitrator. See 45 CFR § 149.510(c)(4)(ii); Texas Medical

  Ass’n, 2022 WL 542879, *9. To the extent that part of the Rule has been vacated by the Eastern

  District of Texas court, as discussed below, Defendants have indicated an intent to appeal that

  ruling. In any event, by Defendants’ own admission, a new governing rule has yet to be issued by

  Defendants, making this defense premature.




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         3. Plaintiffs’ Fifth Amendment claim is ripe.

         Defendants argue that any claim by Plaintiffs for the deprivation of a property interest is

  “at this juncture premature” because “it is entirely premature to speculate whether an arbitration

  under the Act will actually result in Plaintiffs obtaining anything less than the fair value of the

  services they provide.” (Def. Br. at 33-34).

         Defendants, however, misunderstand Plaintiffs’ position. Plaintiffs do not premise their

  takings claim on the outcome of future IDR proceedings. Rather, Count IV of the Complaint asserts

  a claim under the Fifth Amendment because the Act prohibits out-of-network physicians, who are

  primarily emergency care providers such as Plaintiffs, the right to bill and hold liable patients for

  the reasonable value of services rendered in excess of the amount determined by the IDR, without

  the physicians receiving just compensation. (Complaint ¶ 33, 78; 42 U.S.C. § 300gg-131 and 132).

  To the extent Defendants argue that Plaintiffs’ takings claim, properly construed, is still unripe,

  the Court should reject that position.

         A property owner acquires a right to compensation immediately upon an uncompensated

  taking, by regulation or otherwise, because the taking without compensation “violates the self-

  executing Fifth Amendment at the time of the taking, [and] the property owner can bring a federal

  suit at that time.” Knick v. Township of Scott, 139 S.Ct. 2162, 2172 (2019). “When a plaintiff

  alleges a regulatory taking in violation of the Fifth Amendment, a federal court should not consider

  the claim before the government has reached a ‘final’ decision.” Pakdel v. City and Cnty. of San

  Francisco, 141 S.Ct. 2226, 2228 (2021). The finality requirement is “relatively modest,” requiring

  “nothing more than de facto finality,” and “[a]ll a plaintiff must show is that ‘there [is] no question

  ... about how the ‘regulations at issue apply to the particular [property] in question.’” Id. at 2230.

  Once “the government is committed to a position,” the dispute is “ripe for judicial resolution.” Id.

  Thus, a claim for injunctive relief is ripe if the government has reached a final decision that will


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  enable a future taking. See Barber v. Charter Twp. of Springfield, 31 F.4th 382, 388-89 (6th Cir.

  2022) (citing Cedar Point Nursery v. Hassid, 141 S.Ct. 2063, 2070, 2072-73 (2021)) (“As the

  Supreme Court made clear, plaintiffs may sue for injunctive relief even before a physical taking

  has happened.”).

         Here, Defendants concede that the federal government has made a final decision to

  preclude out-of-network physicians, such as Plaintiffs, from balance billing and seeking to hold

  liable patients receiving emergency care from those physicians. Accordingly, Plaintiffs’ taking

  claim and request for injunctive relief precluding the Act’s implementation is ripe for adjudication.

  A holding to the contrary would be senseless. If Plaintiffs’ future quantum meruit claims have

  been extinguished by the Act ab initio, such claims would never “ripen.” Undoubtedly, at some

  later date, Defendants would argue that a taking has not occurred because the Act extinguished

  Plaintiffs’ claims in the first place. The law does not countenance such a result. For example, in

  Knick, the Supreme Court authorized property owners to seek damages for unconstitutional takings

  in federal court without first resorting to state law remedies. Knick, 139 S. Ct. at 2172–73. In so

  holding, the Chief Justice explained that, under prior precedent, plaintiffs had found themselves in

  a “Catch-22”: they could not go to federal court without going to state court first, but if they went

  to state court and lost, their claims would be barred in federal court, such that the “federal claim

  dies aborning.” Id. at 2167. Here, too, Plaintiffs need not wait until some point in the future to

  assert a taking claim when the Act in fact extinguishes Plaintiffs’ property rights now, creating an

  actionable taking cause of action. Plaintiffs cannot be compelled to wait until a point in the future

  when Defendants will seek to trap Plaintiffs and others similarly situated in a “Catch-22.”

  E.     The Act does not preempt Plaintiffs’ state common law claims.

         Defendants rely on Granfinanciera for the proposition that “Congress can ‘supplant a

  common law cause of action’ with a statutory right adjudicated by an administrative tribunal.”


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  (Def. Br. p. 28). Defendants’ quotation of Granfinanciera, is, however, truncated. The Court’s full

  statement is as follows:

          In Atlas Roofing, supra, 430 U.S., at 458, 97 S.Ct., at 1270, we noted that Congress
          may effectively supplant a common-law cause of action carrying with it a right to
          a jury trial with a statutory cause of action shorn of a jury trial right if that statutory
          cause of action inheres in, or lies against, the Federal Government in its sovereign
          capacity.

  Granfinanciera, 492 U.S. at 53 (emphasis added). The Court continued that the class of “public

  rights” which Congress may assign to administrative agencies or courts of equity sitting without

  juries may be more “expansive,” and the federal government need not be a party.

          However, as discussed supra, Sections (B)(2)(b) and (C), the Act neither created a new

  “public right,” nor was the “right” at issue a component of an otherwise permissible federal

  regulatory scheme. As the Court in Granfinanciera concluded, while providing jury trials in some

  actions may “impede swift resolution” and increase the expense of bankruptcy proceedings, “these

  considerations are insufficient to overcome the clear command of the Seventh Amendment.” Id.

  at 63 (citing Bowsher v. Synar, 478 U.S. 714, 736 (1986) (“[T]he fact that a given law or procedure

  is efficient, convenient, and useful in facilitating functions of government, standing alone, will not

  save it if it is contrary to the Constitution.”)).

          Defendants’ reliance on In re Series 7 Broker Qualification Exam Scoring Litig., 548 F.3d

  110 (D.C. Cir. 2008) and Lanier v. BATS Exch., Inc., 105 F. Supp. 3d 353 (S.D.N.Y. 2015) is

  similarly misplaced. In In re Series 7 Broker Qualification Exam Scoring, the court held that the

  state law claims at issue based on breach of contract and negligence stemming from errors in the

  scoring of the plaintiffs’ standardized tests administered by the National Association of Securities

  Dealers (“NASD”) could only have arisen from the NASD’s duties under the Securities and

  Exchange Act of 1934 (“Exchange Act”). 548 F.3d at 115. The court found that “[w]ere it not for

  the regulations that flow from the Exchange Act, NASD would not be administering the Series 7


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  examination,” and thus “[t]hese duties arise only under the Exchange Act, and they are not open

  to suit under state common law theories.” Id. The court therefore held that such common law

  claims were preempted, and Congress could adopt a specific process against SEC regulators and

  those operating in their stead which did not provide for monetary relief and could “displace[]

  claims for monetary relief based on state common law.” Id. at 114-115. Here, to the contrary, the

  state common claims possessed by out-of-network physicians pre-date the Act, were not created

  by the Act, and are not dependent on any provision of the Act for their existence.

         Likewise, in Lanier, where the plaintiff sued certain securities exchanges for breach of

  contract under state law in connection with the exchanges’ provision of market data to the plaintiff

  under a subscriber agreement, the court ruled that awarding the plaintiff relief on his breach of

  contract claim would require the court to determine that the defendants were violating plans

  adopted by the exchanges for the processing and dissemination of market data that had been

  reviewed and approved by the SEC. 105 F. Supp. 3d at 366. Thus, “success for [plaintiff] on his

  breach of contract claims would create a conflict between federal law (as interpreted by the SEC)

  and state law (as interpreted by this Court).” Id. The court found that the plaintiff had effectively

  “convert[ed] claims that are ultimately based on a violation of federal regulations into state law

  breach of contract claims.” Id. Thus, the court concluded, the plaintiff’s claims were preempted.

  Id. Here, however, it cannot be argued that Plaintiffs’ claims are in any way based on a violation

  of federal regulations. To the contrary, Plaintiffs’ claims are preexisting, state common law claims,

  and it is not Plaintiffs who seek to convert those claims into federal ones, but, rather, it is the Act

  that purports to do precisely that.

         Defendants further argue that “Congress has clearly expressed an intent to occupy the field

  exclusively when it comes to the practice of surprise medical billing of patients not otherwise




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  protected by a specified state law. Allowing providers to continue to balance bill their patients and

  sue them in state or federal court to recover the value of the medical care provided would ‘stand

  as an obstacle to the accomplishment and execution of the full purposes and objectives of

  Congress.’” (Def. Br. at 29).

         “Field preemption occurs ‘where Congress has legislated so comprehensively that federal

  law occupies an entire field of regulation and leaves no room for state law.’” New York City Health

  and Hospitals Corp. v. WellCare of New York, Inc., 801 F. Supp. 2d 126, 141 (S.D.N.Y. 2011).

  “The presumption against preemption applies in any field in which there is a history of state law

  regulation, even if there is also a history of federal regulation.” Id. Significantly, “[t]he regulation

  of public health and the cost of medical care are virtual paradigms of matters traditionally within

  the police powers of the state.” Id. (quoting Med. Soc. of N.Y. v. Cuomo, 976 F.2d 812, 816 (2d

  Cir.1992) (citing Hillsborough County v. Automated Med. Lab. Inc., 471 U.S. 707, 719 (1985)

  (“the regulation of health and safety matters is primarily and historically a matter of local

  concern”)). Thus, “[w]hile the battery of federal laws addressing healthcare is robust and growing,

  Congress has not demonstrated an intent to exclusively dominate the field.” Id. Contrary to

  Defendants’ contention, Plaintiffs’ state common law quantum meruit claim arises independently

  of the Act or any other federal law, and is not preempted by the Act.

         Indeed, on July 13, 2021, an interim final rule to implement certain of the Act’s surprise

  medical billing requirements was published; this regulation became effective on September 13,

  2021. 86 Fed. Reg. 36,872 (July 13, 2021). The interim rule makes clear that Congress did not

  intend to occupy the entire field concerning health care and medical billing:

         A number of states currently have laws related to surprise medical bills. The
         Departments are of the view that Congress did not intend to supplant state laws
         regarding balance billing, but rather to supplement such laws. The provisions in
         these interim final rules are consistent with the statute’s general approach of



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         supplementing state law. In addition, the No Surprises Act and these interim final
         rules recognize states’ traditional role as the primary regulators of health insurance
         issuers, providers, and facilities.

  86 Fed. Reg. at 36,946. This admission that Congress did not intend to “supplant state laws

  regarding balance billing” precludes a finding that Congress intended to occupy that entire field.

  See Med. Soc. of N.Y., 976 F.2d at 819 (holding state statute not preempted where plaintiffs had

  “failed to show that Congress has expressed a clear and manifest intent to occupy the field of

  balance billing”). Authority cited by Defendants is not to the contrary. See New York SMSA Ltd.

  Partnership v. Town of Clarkstown, 612 F.3d 97, 106 (2d Cir. 2010) (holding that federal statute

  did preempt town law that implicated telecommunications technical and operational standards over

  which the FCC had exclusive authority, rather than the authority of local governments over land

  use and zoning decisions, which were preserved by the federal statute).

         The recent decision in Emergency Physician Servs. of New York v. UnitedHealth Grp., Inc.,

  2021 WL 4437166 (S.D.N.Y. Sept. 28, 2021) is instructive. There, the plaintiffs were physician

  practice groups who staffed emergency rooms of hospitals in New York and who were out-of-

  network providers with respect to the insurer defendants. 2021 WL 4437166, *1. The plaintiffs

  alleged that the defendants failed to compensate them at a reasonable rate, enriching the

  defendants, all while the insureds continued to use the plaintiffs’ services, which the plaintiffs are

  obligated to provide. Id. at *4. Among other claims, the plaintiffs asserted New York state claims

  for breach of an implied-in-fact contract and for unjust enrichment. Id. The defendants argued that

  the state law claims were completely preempted by the Employment Retirement Income Security

  Act of 1974 (“ERISA”). Id. at *8. The court disagreed, first noting that “the Second Circuit has

  warned against a ‘very broad view of preemption.’” Id. (citing Gerosa v. Savasta & Co., 329 F.3d

  317, 327 n.8 (2d Cir. 2003)). And despite ERISA expressly preempting “any and all State laws”

  that “relate to any employee benefit plan,” the court stated that “‘[c]ourts are reluctant to find that


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  Congress intended to preempt state laws that do not affect the relationships among’ ‘the core

  ERISA entities: beneficiaries, participants, administrators, employers, trustees and other

  fiduciaries, and the plan itself.’” Id. at *8 (citing Gerosa, 329 F.3d at 324).

         The court first concluded that the plaintiffs’ state-law claims were not expressly preempted

  because the defendants’ alleged liability “does not ‘derive’ from ‘the particular rights and

  obligations established by any benefit plan,’” nor did the plaintiffs allege a violation of any plan

  provision. Id. Rather, the court stressed, the defendant insurer’s “obligation to compensate

  Plaintiffs comes from, among other authorities, New York state law.” Id. The court held that the

  plaintiffs’ state law claims were not subject to “complete preemption,” because, among other

  things, the court found that the plaintiffs’ claims against the insurer “arise ‘not from an alleged

  violation of some right contained in the plan, but rather from a freestanding state-law duty,’” and

  the plaintiffs “had no preexisting relationship with” the insurer. Id. at *10 (quoting Montefiore

  Med. Ctr. v. Teamsters Loc. 272, 642 F.3d 321, 332 (2d Cir. 2011)). Thus, because “Plaintiffs

  ‘assert legal duties arising under an implied-in-fact contract’ and unjust enrichment, and would

  exist ‘whether or not an ERISA plan existed, the claims are ‘based on independent legal duties,’

  avoiding preemption.” Id. (citing Emergency Grp. of Ariz. Pro. Corp. v. United Healthcare, Inc.,

  838 F.App’x 299, 300 (9th Cir. 2021)).

         Here, Plaintiffs are out-of-network providers and their claims do not arise from a

  preexisting contractual relationship with insurers. Rather, Plaintiffs’ claims in quantum meruit

  against patients arise from a “freestanding state-law duty,” under New York law. Thus, there can

  be no preemption since Plaintiffs’ rights arise from an implied-in-fact contract and such rights

  exist independent of the Act or any other federal statute. See also Texas Oral and Facial Surgery,

  PA v. United Healthcare Dental, Inc., 2018 WL 3105114, *8 (S.D. Tex. June 25, 2018) (holding




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  plaintiff’s breach of contract claim against insurer was not subject to complete preemption because

  it was based on a representation independent of an insurance plan, and independent of ERISA).

  F.     Plaintiffs are entitled to a preliminary injunction.

         1. Standard for a preliminary injunction.

         As Plaintiffs have established, when a party seeks to stay governmental action purportedly

  taken in the public interest under a statutory or regulatory scheme, the moving party must show (i)

  irreparable harm and (ii) a likelihood of success on the merits. (Pl. Opening Br. at 23, RxUSA

  Wholesale, Inc. v. Dep’t of Health and Hum. Servs., 467 F. Supp. 2d 285, 300 (E.D.N.Y. 2006));

  see also John E. Andrus Memorial, Inc. v. Daines, 600 F. Supp. 2d 563, 570 (S.D.N.Y. 2009)

  (citing Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2d Cir.2005)). Furthermore, on a

  motion seeking a prohibitory (as opposed to a mandatory) preliminary injunction, such as

  enjoining enforcement of a government statute and regulation, the moving party must show a

  “likelihood of success” on the merits of the case, rather than the more rigorous “clear” or

  “substantial” likelihood of success on the merits. (Pl. Opening Br. at 23, Averhart v. Annucci, 2021

  WL 2383556, *8 (S.D.N.Y. June 10, 2021), citing Mastrovincenzo v. City of New York, 435 F.3d

  78, 89 (2d Cir. 2006)).

         Defendants urge the Court to apply a higher standard of “clear” or “substantial” likelihood

  of success on the merits, because, they contend, Plaintiffs seek a mandatory injunction “that

  disrupts the status quo.” (Def. Br. at 17). Although Plaintiffs have established a likelihood of

  success even under the more rigorous standard, that is not the standard to be applied here. Plaintiffs

  here request a prohibitory, rather than a mandatory, injunction, where they seek to “prevent

  defendants from enforcing the new [statutory] provisions, rather than mandate that defendants

  affirmatively take action.” American Soc. of Composers, Authors, and Publishers v. Pataki, 930

  F. Supp. 873, 878 (S.D.N.Y. 1996); accord Al Otro Lado v. Wolf, 497 F. Supp. 3d 914, 926 (S.D.


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  Cal. 2020) (“Preliminary injunctions ‘that prohibit enforcement of a new law or policy ... [are]

  prohibitory,’ not mandatory.”). Moreover, contrary to Defendants’ contention, a preliminary

  injunction here would maintain the status quo because it will preserve the law as it existed before

  the recent implementation of the Act. See id. at 926 (“Actions required to reinstate the status quo

  ante litem do not convert prohibitive orders into mandatory relief.”).

          Defendants further argue that Plaintiffs must also show that the balance of equities tips in

  Plaintiffs’ favor and that an injunction is in the public interest. (Def. Br. p. 17). Whether or not

  Plaintiffs are required to make these two additional showings, a preliminary injunction may be

  “‘warranted on the strength of the first two factors alone,’ i.e., without considering the ‘balance of

  the equities’ and the ‘public interest.’” New York State Telecommunications Association, Inc. v.

  James, 544 F. Supp. 3d 269, 288 (E.D.N.Y. 2022) (quoting New York v. United States Dep’t of

  Homeland Sec., 969 F.3d 42, 86 n.38 (2d Cir. 2020)); Regeneron Pharmaceuticals, Inc. v. United

  States Dep’t of Health and Hum. Servs., 510 F. Supp. 3d 29, 38 (S.D.N.Y. 2020) (same). Moreover,

  the third and fourth factors “merge when the Government is the opposing party.” Id.

          2. Plaintiffs will be irreparably harmed.

          First, Plaintiffs have established, and Defendants do not dispute, that the government’s

  violation of a constitutional right “triggers a finding of irreparable harm,” and “no separate

  showing of irreparable harm is necessary.” (Def. Br. at 24, citing Johnson v. Miles, 355 Fed.Appx.

  444, 446 (2d Cir. 2009) (quoting Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir.1996) (“The district

  court therefore properly relied on the presumption of irreparable injury that flows from a violation

  of constitutional rights.”)). As set forth above, Plaintiffs’ claims alleging violations under the Fifth,

  Seventh, and Fourteenth Amendments establish irreparable harm as a matter of law.

          Second, “as a matter of law, there is irreparable harm when a party is compelled to arbitrate

  without having agreed to arbitration because that party is forced to expend time and resources


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  arbitrating an issue that is not arbitrable.” (Pl. Opening Br. at 24, citing New York Bay Capital,

  LLC v. Cobalt Holdings, Inc., 456 F. Supp. 3d 564, 573 (S.D.N.Y. 2020); UBS Securities, LLC v.

  Voegeli, 405 Fed.Appx. 550, 552 (2d Cir. 2011) (“Being forced to arbitrate a claim one did not

  agree to arbitrate constitutes an irreparable harm for which there is no adequate remedy at law.”)).

         Defendants argue that there is currently no “imminent” arbitration and that Plaintiffs

  “theorize about a general fear of unspecified, indeterminate future arbitrations.” (Def. Br. at 27).

  However, it cannot be seriously disputed that out-of-network physicians such as Plaintiffs will be

  compelled to participate in the IDR process provided for in the Act, as that will be the only way

  those physicians will be able to be compensated for their services. Plaintiff Dr. Haller has

  submitted a Declaration attesting in detail to Plaintiffs’ inevitable participation in the IDR process,

  and this point was also resolved by the District Court for the Eastern District of Texas. See Haller

  Declaration, Dock. No. 22, ¶¶ 9-10, 12-13; see also Texas Medical Ass’n, 2022 WL 542879 at *5

  (rejecting Defendants’ argument that plaintiffs had failed to establish injury-in-fact as a result of

  the Act and that the plaintiffs there were merely speculating, relying on plaintiffs’ affidavits that

  their injuries would be inevitable as a result of their future participation in the IDR process).

         Having argued—incorrectly—that Plaintiffs’ allegation of irreparable harm is premature,

  Defendants next contradict themselves and assert that Plaintiffs waited too long to commence this

  action and bring their motion for a preliminary injunction and thus cannot establish imminent

  irreparable harm. (Def. Br. at 38). There can be no doubt, however, that if Plaintiffs had

  commenced this lawsuit and brought this motion in early 2021, as Defendants suggest, Defendants

  would have been arguing prematurity and lack of ripeness—as they do throughout their papers

  here. As discussed in Section (D)(3), supra, Defendants’ effort to trap Plaintiffs in an unwinnable

  Catch-22 must be rejected.




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          In any event, Defendants are hard-pressed to complain about Plaintiffs’ purported delay in

  commencing this action and filing this motion for preliminary relief when the Act only went into

  effect in January 2022, and arbitration of payment disputes under it was only supposed to have

  begun in April 2022, both after Plaintiffs commenced this action. (See Def. Br. at 2). Moreover,

  the parts of the Rule relating to the IDR process, which Plaintiffs seek to vacate, were recently

  vacated by the Texas federal court, with similar cases around the nation still pending. See Texas

  Medical Ass’n, 2022 WL 542879 at *15; see also Ass’n of Air Med. Services v. U.S. Dep’t of

  Health and Human Servs., 21-cv-03031 (D.D.C.); LifeNet, Inc. v. U.S. Dep’t of Health and Human

  Services, 22- cv-00162-JDK (E.D. Tex.). Because of the vacatur of much of the Rule, Defendants

  concede that they have only now “begun the preparation of a final rule that will address the

  procedures for arbitrations under the Act, and that will address the provisions of the interim final

  rules that were vacated by the Eastern District of Texas. The Departments anticipate that the final

  rule will be issued by early summer of 2022.” (Def. Br. at 35). Thus, the continued implementation

  of Act remains an unsettled question, underscoring as unsupportable Defendants’ contention that

  Plaintiffs’ request for injunctive relief is untimely.

          Furthermore, while Defendants contend that, because of the Texas Medical Ass’n decision

  there is no live dispute over the relevant provisions of the Rule sought to be vacated by Plaintiffs

  (Def. Br. at 34), on April 22, 2022, three weeks after Plaintiffs moved for injunctive relief, and

  four days before Defendants moved to dismiss here, Defendants filed a Notice of Appeal in the

  Eastern District of Texas stating their intention to appeal that decision. See Texas Medical Ass’n

  v. U.S. Dep’t of Health and Human Servs., 21-cv-00425-JDK, Dock. No. 116. As a result of

  Defendants’ own strategic choices, therefore, they have apparently committed to defending the




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  Rule as it currently exists, making the Act’s future implementation even more uncertain.5

           3. Plaintiffs are likely to succeed on the merits.

           For the reasons discussed above in Sections (B), (C), and (D), Plaintiffs’ claims under the

  Seventh, Fifth and Fourteenth Amendments to the United States Constitution are likely to succeed

  on the merits.

           4. The balance of equities is in Plaintiffs’ favor and an injunction is in the public
              interest.

           Defendants argue that a preliminary injunction would “impose substantial harms on the

  execution of and compliance with the nation’s health insurance laws” because an “order striking

  key provisions of the Act and preventing IDR proceedings from taking place would disrupt the

  health care and health insurance industries . . . and it would sow confusion in the face of providers’

  and health plans’ and insurers’ efforts to adjust their billing practices to comply with the Act’s new

  legal regime.” Defendants further urge that “[t]he balance of the equities and the public interest

  strongly counsel in favor of leaving in place the carefully crafted legal landscape that private

  parties and government agencies have worked hard to implement and have come to rely on.” (Def.

  Br. at 39-40).

           To the contrary, a preliminary injunction would “acknowledge the obvious: enforcement

  of an unconstitutional law is always contrary to the public interest.” Gordon v. Holder, 721 F.3d

  638, 653 (D.C. Cir. 2013) (emphasis added) (“It may be assumed that the Constitution is the

  ultimate expression of the public interest.”) (citations omitted); see also Chabad of S. Ohio &




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    To the extent the Court finds, contrary to Defendants’ contention, that Plaintiffs’ request to vacate the specific
  provisions of the Rule, as set forth in the Complaint (at pp. 17-18), is still a live issue, Plaintiffs incorporate their
  arguments set forth in their opening memorandum concerning that issue. See Pl. Opening Mem., Dock. 23 at 4-8, 17-
  18, 21-22.



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  Congregation Lubavitch v. City of Cincinnati, 363 F.3d 427, 436 (6th Cir. 2004) (“No substantial

  harm can be shown in the enjoinment of an unconstitutional policy.”). Indeed, Defendants’ appeal

  to the purported policy implications of a preliminary injunction do not overcome enjoining the

  Act’s constitutional violations while this case proceeds. Gordon, 721 F.3d at 653 (“The

  Constitution does not permit Congress to prioritize any policy goal over the Due Process Clause.”).

           On a practical level, as discussed above, Defendants’ arguments regarding disruption and

  confusion in the healthcare industry and the Act’s supposed “carefully crafted legal landscape”

  ring hollow when large portions of the Act’s regulations implementing the IDR process have been

  vacated as conflicting with the terms of the Act. In truth, the only confusion now being sewn is by

  Defendants. On the one hand, they advise the Court that the dispute here with respect to the parts

  of the Rule implementing the Act sought to be vacated by Plaintiffs is no longer a live issue as a

  result of the Texas federal court’s vacatur of those provisions. Instead, Defendants advise the Court

  that new regulations will be published at some point this summer. On the other hand, Defendants

  have sought to appeal the Texas ruling, seemingly indicating that the issues raised by Plaintiffs

  about the Rule are still live. This confusion exists not only this case, but also in a similar proceeding

  pending in the D.C. District Court.6

           By the same token, Defendants’ concern about the purported disruptive effects of a

  preliminary injunction on the healthcare industry and its various stakeholders is simply not

  credible. The IDR process was only set to become active in April of this year, after the main Rules

  governing that process were vacated. Indeed, Defendants concede that they are still formulating



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    See Ass’n of Air Med. Services v. U.S. Dep’t of Health and Human Servs., 21-cv-03031 (D.D.C.), Dock No. 64,
  where the plaintiffs filed a Notice of the Departments’ Decision to Appeal, advising the court that the Defendants’
  decision to appeal the Eastern District of Texas’s decision “confirms that a live controversy remains in this case,” and
  asking the court to enter an order holding that the presumption in favor of the QPA is unlawful, and vacating the entire
  Rule challenged by the plaintiffs there.



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  rules to replace those that have been vacated and cannot say exactly when new rules will be

  published. Meanwhile, the industry awaits Defendants’ new regulations, with IDR arbitrations

  having barely begun, if at all. And, if Defendants proceed with their appeal of the Texas decision,

  they will continue to add confusion as the rules of the IDR process may change yet again. Thus,

  any disruption has been caused by the flawed structure of the Act’s regulations as drafted, and a

  preliminary injunction temporarily enjoining the unconstitutional Act while this case is sub judice

  will simply maintain the status quo that existed a few short weeks ago when the IDR process was

  not in place at all. See, e.g., Gebin v. Mineta, 239 F. Supp. 2d 967, 968 (C.D. Cal. 2002)

  (“Preliminarily enjoining the enforcement of the citizenship requirement will maintain the status

  quo pending a determination of its constitutionality and would merely delay the implementation

  of a new statute, while the denial of a preliminary injunction will result in the termination of

  plaintiffs’ employment. As such, the balance of hardships tips decidedly in plaintiffs’ favor.

  Moreover, because the termination of plaintiffs’ employment could constitute a constitutional

  deprivation, the public interest will be advanced by granting the preliminary relief.”).

          Finally, although Defendants assert arguments about the harm that purportedly would be

  caused by “striking” provisions of the Act, a preliminary injunction would merely further delay its

  implementation—having already stalled before it began—and can, if Defendants ultimately

  prevail, be reversed. See United Food & Com. Workers Union, Local 1099 v. Southwest Ohio Reg’l

  Transit Auth., 163 F.3d 341, 364 n.11 (6th Cir. 1998) (affirming preliminary injunction when the

  district court considered the merits of the plaintiff’s claims solely to determine whether it

  demonstrated a likelihood of success on the merits of its First Amendment claims, noting that

  “[s]hould [plaintiff] fail to prevail after a full trial on the merits, the preliminary injunction will be

  vacated”).




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 1             7H( CO8575OO0 '(387Y:            7KLV LV FLYLO FDXVH IRU D

 2   PRWLRQ KHDULQJ, 'RFNHW QXPEHU 21-C9-7208, HDOOHU, HW DO.

 3   YHUVXV 8.S. 'HSDUWPHQW RI HHDOWK DQG HXPDQ SHUYLFHV, HW DO.

 4             CRXQVHO, VWDWH yRXU DSSHDUDQFH, SODLQWLII ILUVW.

 5             05. S3OLZ,NO:     )RU WKH SODLQWLIIV, YRXU HRQRU,

 6   5REHUW SSROzLQR DQG -XVWLQ .HOWRQ IURP $EUDPV )HQVWHUPDQ, LL3.

 7             7H( CO857:     GRRG PRUQLQJ.             , MXVW ZDQW WR PDNH VXUH

 8   WKDW yRXU PLFURSKRQH LV RQ.

 9             05. S3OLZ,NO:     SRUUy.

10             7H( CO857:     7KDW'V RNDy.            ,W'V DOVR ILQH WR VWDy

11   VHDWHG EHFDXVH LW LV PXFK HDVLHU WR XVH WKH PLFURSKRQH LI yRX

12   DUH VLWWLQJ GRZQ.     GR DKHDG.

13             05. S3OLZ,NO:     , GRQ'W WKLQN LW LV ZRUNLQJ.

14             7H( CO857:     YRX KDYH WR SXVK WKH EXWWRQ.

15             05. S3OLZ,NO:     GRW LW, WKDQNV.

16             7H( CO857:     0XFK EHWWHU.            7KDQNV.

17             0S. '())(B$CH:     GRRG PRUQLQJ, YRXU HRQRU.             $QQD

18   'HIIHEDFK DQG ,'P KHUH ZLWK Py FROOHDJXHV -RHO 0F(OYDLQ DQG

19   -RH 0DUXWROOR ZLWK WKH 'HSDUWPHQW RI -XVWLFH IRU WKH

20   GHIHQGDQWV.

21             7H( CO857:     GRRG PRUQLQJ.

22             SR WKLV LV , JXHVV DQ RUDO DUJXPHQW RQ WKH

23   3ODLQWLII'V DSSOLFDWLRQ IRU SUHOLPLQDUy LQMXQFWLRQ, DQG VR ,

24   ZLOO KHDU DUJXPHQW.

25             , MXVW ZDQW WR JHW D IHZ WKLQJV RXW RI WKH ZDy VR ZH


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 1   FDQ IRFXV RQ ZKDW , WKLQN LV WKH LVVXH.

 2               , PHDQ, DW WKH PRPHQW, DW OHDVW LQ WHUPV RI WKH --

 3   LQ WHUPV RI WKH UXOH, -XGJH .HUQRGHO KDV DOUHDGy YDFDWHG LW,

 4   DQG WKH GHIHQGDQWV DUH LQ WKH SURFHVV RI, , JXHVV, FKDQJLQJ

 5   WKH UXOH.   SR ,'P QRW VXUH WKDW WKDW'V DQ DSSURSULDWH VXEMHFW

 6   IRU DQ LQMXQFWLRQ.

 7               05. SPOLZ,NO:    :HOO, WKDW'V Py XQGHUVWDQGLQJ RI WKH

 8   IDFWV, YRXU HRQRU, EXW WKH -XVWLFH 'HSDUWPHQW ZRXOG NQRZ PRUH

 9   DERXW ZKHUH LW VWDQGV.

10               7HE COU57:   7KDW'V ZKDW WKHy VDLG.           , WDNH WKHP DW

11   WKHLU ZRUG.   BXW JR DKHDG.       YRX FDQ VWDy VHDWHG.        -XVW SXOO

12   WKH PLFURSKRQH XS.

13               0S. 'EFFEBACH:    SXUH, YRXU HRQRU.           7KH SRUWLRQV RI

14   WKH UXOH WKDW SODLQWLIIV FKDOOHQJH KHUH, WKH SRUWLRQV RI WKH

15   LQWHULP ILQDO UXOH, , VKRXOG VDy, KDYH EHHQ YDFDWHG -- WKH

16   SRUWLRQV RI WKH LQWHULP ILQDO UXOH WKDW SODLQWLIIV FKDOOHQJH

17   KHUH KDYH EHHQ YDFDWHG DQG WKRVH SURYLVLRQV DUH QRW FXUUHQWOy

18   EHLQJ FXUUHQWOy DSSOLHG LQ WKH LQGHSHQGHQW GLVSXWH UHVROXWH

19   SURFHHGLQJV WKDW DUH RQJRLQJ.

20               7HE COU57:   ONDy.

21               0S. 'EFFEBACH:    7KH ILQDO GHFLVLRQ LV DQWLFLSDWHG WR

22   EH LVVXHG HDUOy WKLV VXPPHU.

23               7HE COU57:   SR , WKLQN WKDW DW WKH PRPHQW WKHUH LV

24   QR UHDO FRQWURYHUVy DERXW WKDW, WKDW DQ LQMXQFWLRQ FDQ DGGUHVV

25   EHFDXVH WKHUH LV QRWKLQJ KDSSHQLQJ.


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 1               'R yRX DJUHH ZLWK WKDW?

 2               05. SPOLZ,1O:    :H DJUHH, YRXU HRQRU.               7KH RQOy

 3   TXHVWLRQ , KDYH LV yRX GLG QRW PHQWLRQ WKH PRWLRQ WR

 4   VXEPLVVLRQ.    $UH ZH QRW DUJXLQJ WKDW?

 5               7HE COU57:   1R, ZH DUH DUJXLQJ WKDW WRR.                , MXVW

 6   KDYH VR PDQy WKLQJV RQ Py OLVW WRGDy.                   SR, DOVR, MXVW D

 7   UHPLQGHU, DQG , ZLOO GR WKH VDPH WKLQJ, HYHUyERGy WUy QRW WR

 8   VSHDN WRR TXLFNOy.    , WKLQN LW'V D ORW KDUGHU IRU WKH FRXUW

 9   UHSRUWHU.     ,Q IDFW, , NQRZ LW'V D ORW KDUGHU IRU WKH FRXUW

10   UHSRUWHU LI ZH GRQ'W VSHDN VORZOy DQG , VHH WKDW DV D UHIRUPHG

11   IDVW WDONHU.

12               SR OHW'V PRYH RQ WKHQ WR WKLV TXHVWLRQ DERXW WKH --

13   OHW'V VWDUW ZLWK WKH LQMXQFWLRQ.              , NQRZ HYHUyERGy NQRZV WKH

14   VWDQGDUGV IRU LVVXLQJ D SUHOLPLQDUy LQMXQFWLRQ, EXW , WKLQN LW

15   LV JRRG WR UHPLQG HYHUyRQH WKDW WKH IRXU WHVWV WKDW WKH CRXUW

16   ORRNV DW LV ZKHWKHU WKHUH LV D OLNHOLKRRG RI VXFFHVV RQ WKH

17   PHULWV, ZKHWKHU WKH SDUWy ZKR LV DSSOyLQJ ZLOO VXIIHU

18   LUUHSDUDEOH KDUP, WKH TXHVWLRQ RI WKH SXEOLF LQWHUHVW, DQG WKH

19   EDODQFH RI WKH HTXLWLHV.

20               $QG, VR, , WKLQN WKDW'V D JRRG ZDy WR IUDPH RXU

21   GLVFXVVLRQ DERXW WKLV.

22               , JXHVV Py ILUVW TXHVWLRQ LV, ,'P QRW VXUH ZKDW KDUP

23   WKH SODLQWLIIV KDYH VXIIHUHG EHFDXVH, DV , XQGHUVWDQG LW, WKLV

24   -- yRX KDYHQ'W JRQH WKURXJK WKH SURFHVV; FRUUHFW?

25               05. SPOLZ,1O:    7KDW'V FRUUHFW.


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 1             7HE C2U57:    SR ZKDW'V WKH --

 2             05. SP2LZ,N2:     :HOO --

 3             7HE C2U57:    $QG GRQ'W yRX KDYH WR ILUVW JR WKURXJK

 4   WKH ,'5 SURFHVV DQG WKHQ HVWDEOLVK WKDW yRX KDYH VXIIHUHG VRPH

 5   NLQG RI KDUP DV D UHVXOW RI LW?

 6             05. SP2LZ,N2:     :HOO, -XGJH, WKH -- WKH LVVXH ZDV --

 7   ZLWK WKDW LV WKDW WKLV CRPSODLQW ZDV ILOHG 'HFHPEHU 31VW.

 8             7HE C2U57:    5LJKW.

 9             05. SP2LZ,N2:     BHIRUH WKH SURFHVV VWDUWHG, LQ

10   DQWLFLSDWLRQ RI WKH SURFHVV, DQG WKDW WKHUH'V FDVH ODZ ZKLFK

11   ZH KDYH FLWHG LQ RXU EULHI ZKLFK VDyV WKDW IRUFLQJ D SDUWy WR

12   JR LQWR DQ XQMXVWLILHG DUELWUDWLRQ LV LWVHOI D KDUP.

13             7HE C2U57:    BXW ZKDW'V WKH SURSHUWy LQWHUHVW?

14   7KHUH'V QR -- , PHDQ, LW'V QRW OLNH WKRVH 0HGLFDUH, 0HGLFDLG

15   FDVHV EHFDXVH WKHUH LV D IHH VFKHGXOH IRU WKRVH.

16             HHUH, DV , XQGHUVWDQG LW, WKH SURSHUWy LQWHUHVW, DQG

17   , NQRZ yRX ZLOO FRUUHFW PH LI , KDYH WKLV ZURQJ, EXW WKH

18   SURSHUWy LQWHUHVW VHHPV WR EH LQ IXWXUH UHYHQXH DW D UDWH WKDW

19   yRXU FOLHQW VHWV.

20             'R , KDYH WKDW DERXW ULJKW?

21             05. SP2LZ,N2:     :HOO, yHV DQG QR, -XGJH.      ,I , PDy.

22             7HE C2U57:    7KDW'V ZKy , DVNHG.

23             05. SP2LZ,N2:     2Q 'HFHPEHU 31VW, ZH ZHUH WDONLQJ

24   DERXW IXWXUH VHUYLFHV WKDW ZRXOG EH SURYLGHG FRPPHQFLQJ

25   -DQXDUy 1VW, EXW ZRXOG EH VXEMHFW WR WKH $FW.


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 1             7KH -- VWDUWLQJ JDQXDUy 1VW DQG JRLQJ IRUZDUG, DOO

 2   RI VHUYLFHV WKDW DUH SURYLGHG DUH VXEMHFW WR WKH $FW DQG WKH

 3   ELOOLQJ DQG FROOHFWLRQ IRU WKRVH VHUYLFHV DUH VXEMHFW WR WKH

 4   $FW.

 5             7HE COU57:    5LJKW.

 6             05. SPOLZ,1O:     SR, , PHDQ, ZH FDQ JR EDFN DQG DPHQG

 7   RXU FRPSODLQW QRZ WR DOOHJH DOO RI WKDW, EXW , GRQ'W WKLQN

 8   ZKDW SXUSRVH ZRXOG WKDW VHUYH VLQFH WKH CRPSODLQW GRHV DOOHJH

 9   WKDW 'U. HDOOHU GRHV WKHVH -- DQG LRQJ ,VODQG SXUJLFDO GR

10   WKHVH SURFHGXUHV RQ D UHJXODU EDVLV DQG DUH VXEMHFW WR -- ZLOO

11   EH VXEMHFW WR DQG DUH QRZ VXEMHFW WR WKH $FW.

12             7HE COU57:    'RHVQ'W WKDW SUHVXPH -- ILUVW RI DOO,

13   1HZ YRUN KDV D YHUVLRQ RI WKLV, FRUUHFW?

14             05. SPOLZ,1O:     CRUUHFW.

15             7HE COU57:    SLQFH 2014?

16             05. SPOLZ,1O:     CRUUHFW.

17             7HE COU57:    $QG , WDNH LW yRXU FOLHQW KDV

18   SDUWLFLSDWHG LQ WKDW?

19             05. SPOLZ,1O:     7KHy KDYH.

20             7HE COU57:    $QG LW VHHPV WR EH ZRUNLQJ RXW , JXHVV;

21   ULJKW?

22             05. SPOLZ,1O:     , GRQ'W NQRZ WKDW , ZRXOG VDy LW LV

23   ZRUNLQJ RXW IURP KLV SHUVSHFWLYH.              HH'V JHWWLQJ SDLG OHVV WKDQ

24   KH WKLQNV KH VKRXOG EH SDLG, EXW KH KDV GHFLGHG WR DFFHSW WKDW

25   EDVHG RQ KLV FDVH PLx DQG EDVHG RQ WKH VHUYLFHV WKDW KH


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 1   SURYLGHV.

 2               7HE COU57:   $QG MXVW VR ZH'UH WDONLQJ DERXW ZKDW WKH

 3   REMHFW RI WKH $FW LV, LV WR SUHYHQW SDWLHQWV IURP JHWWLQJ

 4   VXUSULVH ELOOLQJV, yRX NQRZ, HLWKHU DIWHU VRPH NLQG RI

 5   HPHUJHQFy VXUJHUy RU VRPHWKLQJ WKDW'V PRUH URXWLQH, EXW WKHUH

 6   ZDV D SDUWLFLSDWLQJ SKyVLFLDQ WKDW WKH SDWLHQW KDG QR UHDVRQ

 7   WR NQRZ ZDV RXW RI QHWZRUN.

 8               05. SPOLZ,NO:    :HOO, WKDW'V SDUW RI WKH SXUSRVH RI

 9   WKH $FW.    7KH RWKHU SDUW RI WKH SXUSRVH RI WKH $FW LV WR GULYH

10   GRZQ KHDOWKFDUH FRVWV Ey UHGXFLQJ SKyVLFLDQ'V ELOOV.

11               7HE COU57:   ONDy.      $QG WKHQ WKLV NLQG RI OHDGV LQWR

12   VRPHWKLQJ WKDW , UHDOOy GRQ'W WKLQN WKDW yRX DGGUHVVHG LQ

13   WHUPV RI WKH IRXU IDFWRUV IRU D SUHOLPLQDUy LQMXQFWLRQ, ZKLFK

14   DUH WKH SXEOLF LQWHUHVW RU WKH EDODQFH RI HTXLWLHV.

15               SR FDQ yRX DGGUHVV WKDW IRU PH?

16               05. SPOLZ,NO:    -XGJH, ZH KDYH FLWHG FDVHV WKDW WDON

17   DERXW WKH IDFW WKDW WKH SXEOLF LQWHUHVW LQ FRPSOLDQFH ZLWK WKH

18   CRQVWLWXWLRQ LV SDUDPRXQW, DQG WKDW LQ WHUPV RI EDODQFLQJ RI

19   WKH HTXLWLHV, ZH GRQ'W KDYH WR HVWDEOLVK DQyWKLQJ EHyRQG WKH

20   OLNHOLKRRG RI VXFFHVV RQ WKH FRQVWLWXWLRQDO YLRODWLRQ.

21               7HE COU57:   -XVW HxSODLQ WR PH DJDLQ ZKDW yRXU

22   WKHRUy LV RI WKH FRQVWLWXWLRQDO YLRODWLRQ?

23               05. SPOLZ,NO:    :H KDYH WKUHH WKHRULHV.      7KH ILUVW

24   WKHRUy LV WKDW WKH PDQGDWRUy DUELWUDWLRQ YLRODWHV WKH SHYHQWK

25   $PHQGPHQW JXDUDQWHH RI D WULDO Ey MXUy.


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 1               7HE CO857:   LHW PH SDXVH MXVW IRU DQRWKHU TXHVWLRQ.

 2   ,Q WKH 1HZ YRUN -- XQGHU WKH 1HZ YRUN ODZ, LV LW DOVR

 3   DUELWUDWLRQ, LW'V NLQG RI WKH VDPH SURFHVV?

 4               05. SPOLZ,1O:    , EHOLHYH LW LV.

 5               7HE CO857:   'RHV WKDW YLRODWH WKH 1HZ YRUN

 6   CRQVWLWXWLRQ?

 7               05. SPOLZ,1O:    , FDQ'W DQVZHU WKDW TXHVWLRQ EHFDXVH

 8   ZH GLGQ'W ORRN DW WKDW DW DOO.

 9               7HE CO857:   GR DKHDG.

10               05. SPOLZ,1O:    7KH VHFRQG YLRODWLRQ LV WKH WDNLQJ RI

11   WKH SURSHUWy LQWHUHVW, ZKLFK yRX DOOXGHG WR HDUOLHU, WKH

12   WDNLQJ RI WKH ULJKW WR ELOO IRU WKH VHUYLFHV WKDW DUH

13   SURYLGHG.

14               7HE CO857:   $QG MXVW VR ,'P FOHDU, LW'V WKH ULJKW WR

15   ELOO DW ZKDWHYHU UDWH yRXU FOLHQW GHHPV DSSURSULDWH; FRUUHFW?

16               05. SPOLZ,1O:    1R, LW'V WKH ULJKW WR ELOO DW D IDLU

17   UDWH.

18               7HE CO857:   BXW ZKR VHWV WKDW?               7KDW'V Py TXHVWLRQ.

19               05. SPOLZ,1O:    8QGHU WKH FRPPRQ ODZ, LW LV VHW LQ

20   TXDQWXP PHUXLW.    $QG TXDQWXP PHUXLW LV ZKDWHYHU D IDLU UDWH,

21   JRLQJ UDWH LV IRU WKDW NLQG RI VHUYLFH.

22               7HE CO857:   :KR'V PDNLQJ WKH GHWHUPLQDWLRQ XQGHU

23   yRXU WKHRUy?

24               05. SPOLZ,1O:    $ MXUy ZRXOG PDNH WKDW GHFLVLRQ.

25               7HE CO857:   :DLW.      SR, ,'P WDONLQJ LQ JHQHUDO


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 1   SUDFWLFH.    YRXU FOLHQW ELOOV VRPHERGy.                   YRXU FOLHQW VHWV --

 2   ELOOV WKH DPRXQW, ULJKW?

 3                05. SPOLZ,1O:    ,Q JHQHUDO SUDFWLFH, WKH SKyVLFLDQ

 4   KDV D FKDUJH.

 5                7H( COU57:   5LJKW.

 6                05. SPOLZ,1O:    7KH SKyVLFLDQ FKDUJHV WKH SDWLHQW.

 7   99 SHUFHQW RI WKH WLPH, DFFRUGLQJ WR 'U. HDOOHU, WKH SDWLHQW

 8   DVVLJQV KLV FODLP DJDLQVW WKH LQVXUDQFH FRPSDQy WR WKH

 9   SKyVLFLDQ.    7KH SKyVLFLDQ WKHQ QHJRWLDWHV ZLWK WKH LQVXUDQFH

10   FRPSDQy.    $QG LI WKHy FDQ'W UHDFK D UHVROXWLRQ, WKH SKyVLFLDQ

11   KDV D TXDQWXP PHUXLW FODLP.

12                7H( COU57:   $JDLQVW WKH SDWLHQW?

13                05. SPOLZ,1O:    $JDLQVW WKH SDWLHQW DQG DJDLQVW WKH

14   LQVXUHU EHFDXVH EDVHG RQ WKH DVVLJQPHQW.

15                7H( COU57:   (YHQ XQGHU WKH 1HZ YRUN ODZ, GHSHQGLQJ

16   RQ ZKLFK SODQ ZH DUH WDONLQJ DERXW, LV LW yRXU SRVLWLRQ WKDW

17   WKH GRFWRU KDV D FDXVH RI DFWLRQ DJDLQVW WKH SDWLHQW HYHQ

18   XQGHU WKH QR-VXUSULVH ELOOLQJ ODZ WKDW'V LQ 1HZ YRUN?                     , GRQ'W

19   WKLQN VR.

20                05. SPOLZ,1O:    , GRQ'W WKLQN XQGHU WKH ODZ WR ZKLFK

21   WKH 1HZ YRUN -- XQGHU WKH 1HZ YRUN ODZ, WKHUH'V QR FODLP

22   DJDLQVW WKH SDWLHQW ZKHUH WKH SODQ LV RQH WKDW'V FRYHUHG Ey

23   WKDW ODZ.

24                7H( COU57:   5LJKW.

25                05. SPOLZ,1O:    BXW WKDW'V QRW ZKDW ZH DUH WDONLQJ


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 1   DERXW KHUH.    :H'UH WDONLQJ DERXW WKH SODQV WKDW DUH FRYHUHG Ey

 2   WKH 1R SXUSULVH $FW WKDW CRQJUHVV SDVVHG.

 3             7HE COU57:    CRUUHFW, EXW WKH WKHRUy LV WKH VDPH?

 4             05. SPOLZ,1O:     , --

 5             7HE COU57:    ExFHSW WKHUH DUH VRPH SODQV WKDW DUHQ'W

 6   LQFOXGHG LQ WKH 1HZ YRUN ODZ.          , PHDQ, DOO WKLV LV WR VDy

 7   WKDW, yRX NQRZ, ,'P -- yRX ZRXOG NQRZ EHWWHU WKDQ ,, EXW XQGHU

 8   WKH ZDy LW VWDQGV WKDW EHIRUH WKH 1R SXUSULVHV $FW, yRX ZRXOG

 9   VXH HLWKHU WKH LQVXUDQFH FRPSDQy RU WKH SDWLHQW.               BXW QRW

10   HYHUy RQH RI WKRVH FDVHV JRHV WR D MXUy; FRUUHFW?

11             05. SPOLZ,1O:     , ZRXOG DVVXPH WKDW PRVW RI WKHP JHW

12   UHVROYHG DORQJ WKH ZDy VRPHKRZ.

13             7HE COU57:    7KDW'V ULJKW.              0y RWKHU TXHVWLRQ, MXVW

14   LQ WHUPV RI WKH SXEOLF LQWHUHVW.             'R yRX DJUHH WKDW WKHUH LV D

15   SXEOLF LQWHUHVW LQ DYRLGLQJ WKHVH NLQGV RI VXUSULVH ELOOLQJV

16   WR SDWLHQWV?

17             05. SPOLZ,1O:     :HOO, WKH DQVZHU LV WKH SXEOLF ZRXOG

18   OLNH WKDW, yHV.    BXW , ZRXOG VDy WKDW LI GRLQJ VR YLRODWHV WKH

19   CRQVWLWXWLRQ, WKDQ ZKDWHYHU LQWHUHVW WKHUH PDy EH LQ WKH

20   SXEOLF DYRLGLQJ IRU SDyLQJ PHGLFDO VHUYLFHV LV ZHOO RXWZHLJKHG

21   Ey WKH CRQVWLWXWLRQ.

22             7HE COU57:    SR -- ,'P VRUUy WR WKH FRXUW UHSRUWHU.

23   BXW, DJDLQ, WKH CRQVWLWXWLRQDO ULJKW DW LVVXH VRXQGV WR PH

24   OLNH LW'V ZKDWHYHU -- WKH SURSHUWy ULJKW LV WR D IXWXUH

25   SDyPHQW DW D UDWH WKDW LV HVVHQWLDOOy GHILQHG Ey WKH


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 1   SODLQWLII, FRUUHFW?

 2                05. SPOLZ,1O:    :HOO, QR.            5HVSHFWIXOOy, , GLVDJUHH

 3   ZLWK WKDW RQ D FRXSOH RI VFRUHV, RNDy.                     ,Q WHUPV RI ZKR

 4   GHILQHV LW, LW'V OLNH DQy RWKHU WUDQVDFWLRQ.                    7KH SURYLGHU

 5   GHILQHV D VHUYLFH, GHILQHV D IHH IRU WKLV VHUYLFH DQG WKDW IHH

 6   PDy RU PDy QRW EH FRQVLVWHQW ZLWK ZKDW WKH ODZ DOORZV.                       ,Q

 7   WKLV FDVH, WKH ODZ ZRXOG SURYLGH D TXDQWXP PHUXLW UHFRYHUy,

 8   ZKDWHYHU WKH TXDQWXP PHUXLW DPRXQW ZRXOG EH, , ZRXOG VXJJHVW

 9   LV WKH SURSHUWy ULJKW WKDW'V LQYROYHG.

10                $QG QRZ ,'P IRUJHWWLQJ WKH ILUVW SDUW RI yRXU

11   TXHVWLRQ.

12                7HE COU57:   :HOO, LW'V IXWXUH.                 ,W'V D IXWXUH ULJKW.

13                05. SPOLZ,1O:    BXW WKH FODLP DULVHV ZKHQ WKH VHUYLFH

14   LV SURYLGHG.

15                7HE COU57:   BXW XQGHU WKH -- VR , JXHVV RQH RI WKH

16   GLIILFXOWLHV ,'P KDYLQJ KHUH LV WKDW EHFDXVH, DW OHDVW DV IDU

17   DV , NQRZ, WKDW yRXU FOLHQW KDVQ'W SDUWLFLSDWHG LQ RQH RI

18   WKHVH DUELWUDWLRQV, DQG, , PHDQ, IRU DOO yRX NQRZ, LW FRXOG

19   WXUQ RXW ILQH.     7KH ,'5 SURFHVV FRXOG FRPSHQVDWH KLP

20   DSSURSULDWHOy IRU KLV VHUYLFHV DQG WKHQ yRX ZRXOGQ'W KDYH D

21   FRPSODLQW.    , DVVXPH LQ PXFK WKH VDPH ZDy WKDW WKH 1HZ YRUN

22   VWDWXWH KDV ZRUNHG.

23                05. SPOLZ,1O:    :HOO, , PHDQ, , DVVXPH -- , ZRXOG

24   VXSSRVH ZH FDQ SUHVHQW SURRI RQ WKLV, EXW , FDQ FLWH IRU yRX

25   WKH RQH HxDPSOH XQGHU WKH 1HZ YRUN $FW WKDW 'U. HDOOHU FLWHG


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 1   LQ KLV DIILGDYLW -- GHFODUDWLRQ.

 2             THE COU5T:    $QG MXVW GR LW VORZOy.

 3             05. SPOLZ,1O:     SRUUy.         :KLFK ZDV WKDW ZLWK UHVSHFW

 4   WR D KHUQLD UHSDLU, KH'V EHHQ ILJKWLQJ WR JHW $238.           1RZ, ,

 5   WKLQN ZH FDQ SUREDEOy DOO DJUHH $238 LV QRW D IDLU IHH IRU D

 6   VXUJHRQ WR UHSDLU D KHUQLD.

 7             THE COU5T:    SR DQHFGRWDOOy, RQH FDVH ZKHUH KH LV --

 8   XQGHU WKH 1HZ YRUN -- RNDy, , WKLQN , JHW yRXU SRLQW.

 9             , GR ZDQW WR KHDU IURP WKH GRYHUQPHQW MXVW RQ WKH

10   IRXU IDFWRUV LQ WHUPV RI JUDQWLQJ D SUHOLPLQDUy LQMXQFWLRQ DQG

11   WKHQ RQ WKH ODUJHU TXHVWLRQ RI ZKHWKHU WKHUH LV D

12   FRQVWLWXWLRQDO ULJKW DW LVVXH KHUH.

13             $QG LI yRX FRXOG, ,'P JRLQJ WR UHPLQG yRX VORZOy DQG

14   SXOO WKH PLFURSKRQH XS D OLWWOH ELW.

15             0S. DEFFEB$CH:     YHV, WKDQN yRX, YRXU HRQRU.

16             , WKLQN YRXU HRQRU JRW LW HxDFWOy ULJKW ZKHQ yRX

17   FKDUDFWHULzHG WKH SURSHUWy LQWHUHVW WKDW SODLQWLIIV DUH

18   VHHNLQJ KHUH DV HVVHQWLDOOy D IXWXUH UHYHQXH DW D UDWH WKDW

19   SODLQWLIIV VHW XQLODWHUDOOy.

20             :H EHOLHYH WKDW WKHUH LV QR SURSHUWy LQWHUHVW DW

21   VWDNH KHUH.   $QG, DGGLWLRQDOOy, RQ WKH LUUHSDUDEOH KDUP

22   IDFWRU, QRW RQOy KDYH SODLQWLIIV QRW FODLPHG WR KDYH

23   SDUWLFLSDWHG LQ DQy DUELWUDWLRQV, EXW WKHy DOVR GRQ'W SRLQW WR

24   DQy GLVSXWHV WKDW DUH KHDGHG IRU DUELWUDWLRQ.            SR WKHy FODLP

25   NLQG RI D JHQHUDOLzHG IXWXUH IHDU RI DUELWUDWLRQV, EXW WKHy


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 1   KDYH SURYLGHG QR UHDVRQV ZKy UHOLHI LV VR XUJHQWOy QHHGHG QRZ.

 2   SR ZH EHOLHYH WKDW ERWK DV WR OLNHOLKRRG RI VXFFHVV DQG WKH

 3   LUUHSDUDEOH KDUP SODLQWLIIV KDYH IDLOHG WR FDUUy WKHLU EXUGHQ.

 4             $GGLWLRQDOOy, ZH DJUHH ZLWK YRXU HRQRU WKDW WR WKH

 5   HxWHQW WKDW WKHUH LV D SXEOLF LQWHUHVW KHUH, WKDW D SXEOLF

 6   LQWHUHVW LQ SUHYHQWLQJ WKHVH NLQGV RI GHYDVWDWLQJ PHGLFDO

 7   ELOOV IRU SDWLHQWV ZKR, yRX NQRZ, ZHUH QRW VXVSHFWLQJ WKHP,

 8   ZKR WKRXJKW WKHy KDG JRRG LQVXUDQFH, WKDW VHUYHV D VWURQJ

 9   SXEOLF LQWHUHVW DQG CRQJUHVV FRQGXFWHG HxWHQVLYH KHDULQJV DQG

10   ORRNHG LQWR WKLV LVVXH DQG FRQFOXGHG WKDW WKHUH ZDV D VWURQJ

11   SXEOLF LQWHUHVW LQ QRW RQOy SURWHFWLQJ SDWLHQWV IURP WKHVH

12   NLQGV RI PHGLFDO ELOOV, EXW DOVR FUHDWLQJ DQ HIILFLHQW,

13   HIIHFWLYH VyVWHP DQG HQVXULQJ WKDW SURYLGHUV UHFHLYHG DGHTXDWH

14   SDyPHQW LQ D WLPHOy PDQQHU.

15             7HE C2U57:    YRXU DGYHUVDUy SRLQWV RXW WKDW KH LV

16   HQWLWOHG WR D MXUy WULDO XQGHU WKH SHYHQWK $PHQGPHQW DQG FLWHV

17   WKH FRPPRQ ODZ.

18             :KDW'V yRXU UHVSRQVH WR WKDW?

19             MS. 'EFFEB$CH:     2XU UHVSRQVH WR WKDW, YRXU HRQRU, LV

20   WKDW WKH ULJKW WKDW LV DGMXGLFDWHG LQ WKH LQGHSHQGHQW GLVSXWH

21   UHVROXWLRQ SURFHVV XQGHU WKH 1R SXUSULVHV $FW LV YHUy

22   GLIIHUHQW IURP WKH TXDQWXP PHUXLW FODLPV XQGHU WKH FRPPRQ ODZ

23   WKDW SODLQWLIIV XVHG WR EULQJ DJDLQVW WKHLU SDWLHQWV.

24             7KH ULJKW DW LVVXH LQ WKH ,'5 SURFHVV LV D SXEOLF

25   ULJKW EHFDXVH LW ZDV FUHDWHG Ey CRQJUHVV LQ WKH DFW DQG LW LV


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 1   DQ LQWHJUDO SDUW RI WKH FRPSUHKHQVLYH VWDWXWRUy IUDPHZRUN WKDW

 2   LV GHVLJQHG WR DFKLHYH CRQJUHVV' JRDOV RI FUHDWLQJ DQ

 3   HIILFLHQW DQG FRVW-HIIHFWLYH GLVSXWH UHVROXWLRQ VyVWHP IRU

 4   WKHVH YHUy QDUURZ DQG VSHFLDOLzHG NLQGV RI FODLPV.

 5              7HE COUR7:   SR WKH -- DQG WKHQ yRXU SRVLWLRQ LV LV

 6   WKDW WKH SXEOLF'V ULJKW GRFWULQH SUHFOXGHV WKH SODLQWLIIV'V

 7   FODLP.   7HOO PH DERXW yRXU SRVLWLRQ RQ WKDW.

 8              MS. DEFFEB$CH:    YHV, YRXU HRQRU.

 9              SR WKH SXSUHPH CRXUW KDV KHOG WKURXJKRXW WKH yHDUV

10   LQ D QXPEHU RI FDVHV, LQFOXGLQJ FDVHV OLNH Atlas Roofing DQG

11   Thomas versus Union Carbide, CFTC Versus Shor, DQG Stern V.

12   Marshall WKDW FDVHV WKDW LQYROYH SXEOLF ULJKWV FDQ SURSHUOy EH

13   DGMXGLFDWHG RXWVLGH RI $UWLFOH ,,, FRXUWV DQG ZLWKRXW D MXUy.

14   $QG WKH SXSUHPH CRXUW KDV LGHQWLILHG VHYHUDO NLQGV RI

15   RYHUODSSLQJ FDWHJRULHV RI SXEOLF ULJKWV RU FODLPV WKDW IDOO

16   ZLWKLQ WKH SXEOLF ULJKWV GRFWULQH.               $QG WKRVH LQFOXGH FODLPV

17   WKDW ZHUH FUHDWHG Ey CRQJUHVV; LQ RWKHU ZRUGV, FODLPV WKDW

18   FRXOG QRW KDYH EHHQ SXUVXHG XQGHU WKH FRPPRQ ODZ.

19              7KH SXSUHPH CRXUW UHFRJQLzHG WKDW CRQJUHVV FDQ

20   FUHDWH VWDWXWRUy FODLPV WKDW DUH FORVHOy DQDORJRXV WR FRPPRQ

21   ODZ FODLPV DQG WKHQ VHW WKRVH FODLPV WR EH DGMXGLFDWHG LQ

22   QRQ-$UWLFOH ,,, SURFHGXUHV ZLWKRXW D MXUy WULDO DQG WKDW

23   HQWLUHOy FRPSRUWV ZLWK WKH CRQVWLWXWLRQ.

24              7KH CRXUW KDV DOVR ORRNHG DW WKH SXUSRVHV RI WKH

25   GLVSXWH UHVROXWLRQ SURFHVV RU WKH QRQ-$UWLFOH ,,, DGMXGLFDWLRQ


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 1   DQG LQ FDVHV OLNH Thomas, ZKLFK LV YHUy VLPLODU RQ WKH IDFWV

 2   WR WKH FDVH KHUH, KDV FRQFOXGHG WKDW ZKHUH DQ DGMXGLFDWLRQ

 3   SURFHGXUH LV DQ LQWHJUDO SDUW RI D VWDWXWRUy VFKHPH WKDW LV

 4   GHVLJQHG DQG LWV LQWHJUDO UHDOOy WR DFKLHYLQJ CRQJUHVV' JRDOV,

 5   WKDW WKDW LV DSSURSULDWHOy D SXEOLF ULJKW WKDW FDQ EH

 6   DGMXGLFDWHG RXWVLGH RI $UWLFOH ,,, FRXUWV DQG ZLWKRXW D MXUy.

 7              $QG, ILQDOOy, D IDFWRU WKDW WKH SXSUHPH CRXUW ORRNHG

 8   KHDYLOy WR LQ WKH Shor FDVH, WKH ULJKW -- WKH ,'5 SURFHVV

 9   DGMXGLFDWHV D YHUy QDUURZ FODVV RI SDUWLFXODULzHG, VSHFLDOLzHG

10   FODLPV DQG GRHV QRW HxHUFLVH WKH EURDG UDQJH RI SRZHUV DQG

11   MXULVGLFWLRQV WKDW DUH QRUPDOOy YHVWHG LQ $UWLFOH ,,, FRXUWV.

12   7KHUH LV QR GDQJHU KHUH RI HQFURDFKPHQW RQ WKH SURYLQFH RI

13   $UWLFOH ,,, FRXUWV' DXWKRULWLHV.

14              SR FRPELQLQJ DOO RI WKRVH WKUHH IDFWRUV, WKH ,'5

15   SURFHVV PHHWV DOO RI WKRVH LQGLFLD RI EHLQJ D SXEOLF ULJKW.

16   BHFDXVH LW'V D SXEOLF ULJKW LW FDQ EH DGMXGLFDWHG RXWVLGH RI

17   $UWLFOH ,,, FRXUWV DQG ZLWKRXW D MXUy WULDO.             $QG WKH SXSUHPH

18   CRXUW KDV EOHVVHG VLPLODU VWDWXWRUy VyVWHPV OLNH WKLV LQ WKH

19   SDVW.

20              7HE COU57:   BXW WKH SODLQWLIIV' SRVLWLRQ LV WKDW

21   WKHy KDYH D FRPPRQ ODZ, , JXHVV D FRPPRQ ODZ ULJKW DJDLQVW D

22   GLIIHUHQW SDUWy.    , GRQ'W WKLQN DQyERGy'V VDyLQJ WKDW WKH

23   SODLQWLIIV KDYH D FRPPRQ ODZ ULJKW DJDLQVW WKH LQVXUHUV;

24   FRUUHFW?

25              05. SPOLZ,NO:    $V D OHJDO PDWWHU, QR. BXW DV D


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 1   SUDFWLFDO PDWWHU, 99 SHUFHQW RI WKH FODLPV DUH DVVLJQHG.

 2              7HE COU57:   ONDy.      BXW , WKLQN IRU SXUSRVHV RI RXU

 3   GLVFXVVLRQ, , GRQ'W WKLQN yRX'UH FODLPLQJ WKDW WKHUH LV DQ

 4   DFWXDO FRPPRQ ODZ ULJKW DJDLQVW WKH LQVXUHUV.            , NQRZ WKDW'V

 5   KRZ LW ZRUNV RXW, EXW LW'V DJDLQVW WKH SDWLHQW.

 6              05. SPOLZ,1O:    7KDW'V FRUUHFW.

 7              7HE COU57:   $OO ULJKW.           SR , JXHVV Py TXHVWLRQ LV

 8   WKH SODLQWLIIV VDy WKDW WKDW LV DQDORJRXV, VLQFH WKHy KDYH WKH

 9   FRPPRQ ODZ ULJKW DJDLQVW WKH SDWLHQW, WKDW LW LV WKH VDPH

10   WKLQJ DV KDYLQJ D FRPPRQ ODZ DJDLQVW WKH LQVXUHU.            'R , KDYH

11   WKDW ULJKW?

12              05. SPOLZ,1O:    YHV.

13              7HE COU57:   :KDW'V yRXU UHVSRQVH WR WKDW?

14              0S. 'E))EB$CH:    YRXU HRQRU, HYHQ WKH ZRUGLQJ WKDW

15   yRX XVHG DQDORJRXV LV HxDFWOy WKH VDPH ZRUGLQJ WKDW WKH

16   SXSUHPH CRXUW XVHG LQ Granfinanciera WR HxSODLQ WKDW CRQJUHVV

17   PDy IDVKLRQ D FDXVH RI DFWLRQ WKDW LV DQDORJRXV WR D FRPPRQ

18   ODZ FODLP DQG DVVLJQ LW WR D QRQ-$UWLFOH ,,, WULEXQDO.

19              $QG WKHUH DUH, DV YRXU HRQRU PHQWLRQHG, LPSRUWDQW

20   GLIIHUHQFHV EHWZHHQ TXDQWXP PHUXLW FODLPV WKDW SURYLGHUV XVHG

21   WR DVVHUW EHIRUH 2014 DV LW FRPHV WR 1HZ YRUN SODQ, LQVXUDQFH

22   SODQV DQG EHIRUH WKH 1R SXUSULVHV $FW DV LW FRPHV WR IHGHUDO

23   SODQV.   7KH FODLPV DUH DJDLQVW D GLIIHUHQW SDUWy DQG WKHQ

24   UHTXLUH DQ HQWLUHOy GLIIHUHQW, yRX NQRZ, SURRI UHTXLUHG.            )RU

25   HxDPSOH, WKHUH LV QR QHHG LQ WKH ,'5 SURFHVV WR SURYH WKH


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 1   HOHPHQWV RI D TXDQWXP PHUXLW FDXVH RI DFWLRQ.            SR ZH EHOLHYH

 2   WKDW WKH FODLPV DUH GLVWLQFW DQG WKDW CRQJUHVV LV IXOOy

 3   HPSRZHUHG WR FUHDWH DQDORJRXV RU VLPLODU FODLPV DQG DVVLJQ

 4   WKHP WR D VSHFLDOLzHG DGMXGLFDWLRQ SURFHVV WKDW LV DQ LQWHJUDO

 5   SDUW RI D CRQJUHVVLRQDO SXUSRVH.

 6              7HE COUR7:    SR , MXVW ZDQW WR PDNH VXUH WKDW ,

 7   XQGHUVWDQG ZKDW WKH SURFHVV LV.

 8              , IHHO OLNH , NQRZ EDVHEDOO, EXW HYHUyERGy FDOOV LW

 9   D EDVHEDOO SURFHVV.     $QyZDy, SXWWLQJ WKDW DVLGH, WKH SKyVLFLDQ

10   DQG WKH LQVXUHUV WUy WR ZRUN VRPHWKLQJ RXW, FRUUHFW VR IDU?

11              MS. 'EFFEB$CH:    YHV.

12              7HE COUR7:    ,I WKHy FDQ'W, WKHy JR WR WKH

13   DUELWUDWRU, DQG SXWWLQJ DVLGH WKLV TXHVWLRQ RI WKH UXOH, ZKLFK

14   LV WKH VXEMHFW RI -- ZKLFK , WKLQN HYHUyERGy DJUHHV WKHUH'V

15   QRWKLQJ IRU XV WR GR KHUH WRGDy RQ WKDW, EXW SXWWLQJ DVLGH

16   WKDW TXHVWLRQ RI WKH UXOH, WKHQ WKH DUELWUDWRU WDNHV LQWR

17   DFFRXQW FHUWDLQ IDFWRUV DQG UHDFKHV D GHFLVLRQ.            'R , KDYH

18   WKDW ULJKW?

19              MS. 'EFFEB$CH:    YHV, YRXU HRQRU.

20              , ZRXOG VDy WKH DUELWUDWRU -- WKH SDUWLHV FDQ VXEPLW

21   DQy LQIRUPDWLRQ WKDW'V UHOHYDQW WR WKH VWDWXWRUy IDFWRUV.              7KH

22   DUELWUDWRU FDQ DOVR UHTXHVW LQIRUPDWLRQ IURP WKH SDUWLHV DQG

23   WKH SDUWLHV ZLOO SURYLGH WKDW DQG WKH DUELWUDWRU FDQ FRQVLGHU

24   LW.   $QG, DGGLWLRQDOOy, WKH SDUWLHV FDQ VXEPLW DGGLWLRQDO

25   LQIRUPDWLRQ WKDW LV UHOHYDQW WR WKH RIIHU.


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 1               SR WKHUH'V -- LW'V PRUH WKDQ MXVW WKH VWDWXWRUy

 2   IDFWRUV, EXW, yHV, WKH ,'5 HQWLWy FRQVLGHUV D YDULHWy RI

 3   LQIRUPDWLRQ.

 4               7HE COU57:   $QG LI VRPHERGy ZHUH WR GLVDJUHH ZLWK

 5   WKH DUELWUDWRU'V GHFLVLRQ, HLWKHU WKH LQVXUDQFH FRPSDQy RU WKH

 6   SODLQWLII, LW'V WKH VWDQGDUG DUELWUDWLRQ UXOHV -- , FDQ'W

 7   UHPHPEHU ZKDW WKHy DOO DUH, EXW IUDXG, PLVWDNH, WKRVH DUH WKH

 8   EDVHV IRU DQ DSSHDO; LV WKDW FRUUHFW?

 9               0S. 'EFFEB$CH:    YHV, YRXU HRQRU, DQG WKRVH ZHUH WKH

10   VDPH VWDQGDUGV LQ WKH DUELWUDWLRQ VyVWHP LQ WKH Thomas versus

11   Union Carbide FDVH DV ZHOO.

12               7HE COU57:   ONDy.      , JXHVV ,'P UHSHDWLQJ PyVHOI, EXW

13   KRZ GR yRX NQRZ WKLV LV QRW JRLQJ WR WXUQ RXW, yRX NQRZ, MXVW

14   WKH VDPH DV LI yRX KDG EDUJDLQHG ZLWK WKHP, ZLWK WKH LQVXUHUV

15   RQ yRXU RZQ?

16               05. SPOLZ,NO:    7ZR UHDVRQV, YRXU HRQRU, WKH ILUVW

17   LV, WKLV JRHV WR RXU GXH SURFHVV FODLP, RQH RI WKH HOHPHQWV

18   WKDW , PHQWLRQHG HDUOLHU WKDW ZRXOG EH SUHVHQW LQ DQ XQMXVW

19   HQULFKPHQW RU TXDQWXP PHUXLW FODLP --

20               7HE COU57:   $JDLQVW WKH SDWLHQW?

21               05. SPOLZ,NO:    $JDLQVW WKH SDWLHQW.

22               -- LV WKH IHH QRUPDOOy FKDUJHG.                 7KDW ZRXOG EH

23   UHOHYDQW.

24               7HE COU57:   NRUPDOOy FKDUJHG, ULJKW.

25               05. SPOLZ,NO:    7KH PDUNHW.                7KDW'V QRW SHUPLWWHG WR


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 1   EH LQWURGXFHG LQ WKH DUELWUDWLRQ.

 2              7HE COU57:   BXW , GRQ'W WKLQN WKDW'V DFFXUDWH.                ,

 3   WKLQN -- , WKRXJKW -- DUH yRX WDONLQJ DERXW WKH UXOH QRZ?

 4              05. S3OLZ,1O:    1R, ,'P WDONLQJ DERXW WKH VWDWXWH.

 5   7KH VWDWXWH GRHVQ'W SHUPLW WKDW.

 6              7HE COU57:   7KDW yRX FDQ'W VXEPLW HYLGHQFH RI ZKDW

 7   WKH XVXDO IHH LV?

 8              05. S3OLZ,1O:    CRUUHFW, RU ZKDW WKH XVXDO FKDUJH.

 9              7KH VHFRQG SRLQW LV WKLV:               $QG , XQGHUVWDQG WKDW WKH

10   -- WKH UXOH PDNHV WKH 43$, ZKLFK ,'P GUDZLQJ D EODQN RQ ZKDW

11   WKDW PHDQV.   ,W'V WKH DYHUDJH WKDW WKH LQVXUHU SDyV.              ,W'V

12   LQ-QHWZRUN SURYLGHUV.    , IRUJHW ZKDW WKH 43$ VWDQGV IRU ULJKW

13   QRZ.

14              7HE COU57:   SRPHWKLQJ SDyPHQW DPRXQW.

15              05. S3OLZ,1O:    YHDK, EXW LW PDNHV -- WKH UXOH PDGH

16   WKDW WKH RQOy IDFWRU.

17              7HE COU57:   ,W PDGH LW -- WKDW'V QRW HxDFWOy

18   FRUUHFW.

19              05. S3OLZ,1O:    7KH SDUDPRXQW IDFWRU.

20              7HE COU57:   5LJKW.

21              05. S3OLZ,1O:    7KH VWDWXWH VWLOO PDNHV LW D IDFWRU.

22              $QG ZKDW WKDW LV LV WKH DYHUDJH WKDW WKH LQVXUHU

23   SDyV LWV SKyVLFLDQV, LWV LQ-QHWZRUN SKyVLFLDQV.               :KDW WKH

24   VWDWXWH LV HVVHQWLDOOy GRHV LV LQWURGXFH LQWR WKDW DUELWUDWLRQ

25   D IDFWRU WKDW LV FRPSOHWHOy ZHLJKWHG DJDLQVW WKH SKyVLFLDQV.


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 1              7HE COU57:   WKy LV WKDW?

 2                05. SPOLZ,NO:    BHFDXVH WKH QHWZRUN SKyVLFLDQV --

 3   SKyVLFLDQV GUDZLQJ QHWZRUNV IRU WZR UHDVRQV, RQH ZKHQ WKHy

 4   FDQ'W GHYHORS SUDFWLFHV RXWVLGH QHWZRUNV DQG WKHy JHW EXVLQHVV

 5   IURP WKDW QHWZRUN.    SR WKHy'UH ZLOOLQJ WR WDNH OHVV RQ HDFK

 6   FDVH LQ RUGHU WR JHW WKH YROXPH WKDW FRPHV IURP EHLQJ ZLWKLQ

 7   QHWZRUN.

 8                7KH SKyVLFLDQV RXW RI QHWZRUN KDYH QHYHU FKRVHQ RXW

 9   WR GR WKDW DQG VKRXOGQ'W EH KHOG WR WKDW VWDQGDUG.

10                $QG UHPHPEHU, WKH SKyVLFLDQV ZH UHSUHVHQW, 'U.

11   HDOOHU DQG KLV VXUJLFDO JURXS, DUH QRW SLFNLQJ WKHLU SDWLHQWV.

12   7KHy'UH VKRZLQJ XS DW WKH KRVSLWDO ZKHQ WKHy JHW FDOOHG DQG

13   DUH GHDOLQJ ZLWK D SDWLHQW WKDW LQ PDQy FDVHV WKHy FRXOGQ'W

14   HYHQ WDON WR ZKHQ WKHy JRW WKHUH EHFDXVH WKH SDWLHQW ZDV

15   XQFRQVFLRXV RU LQ SDLQ RU ZKDWHYHU.                  7KHy MXVW GR WKH

16   VXUJHULHV.    $QG ZKDW WKHy'UH EHLQJ KHOG WR XQGHU WKH VWDWXWH

17   WKHQ LV WKLV QHJRWLDWHG UDWH DV RQH RI WKH IDFWRUV WKDW WKHy

18   KDG QRWKLQJ WR GR ZLWK QHJRWLDWLQJ.

19                SR WKH ORQJ DQVZHU WR yRXU VKRUW TXHVWLRQ LV WKDW

20   EHFDXVH WKH IDFWRUV DUH ZHLJKWHG LQ IDYRU RI WKH LQVXUHU, LW

21   LV KLJKOy OLNHOy, , ZRXOG VXJJHVW, WKDW WKRVH IHHV ZLOO QRW EH

22   ZKDW WKH SKyVLFLDQ ZRXOG KDYH REWDLQHG RQ D TXDQWXP PHUXLW

23   EDVLV.   ,Q IDFW, WKH GRYHUQPHQW DGPLWV WKDW WKH SXUSRVH RI

24   WKLV DFW LV WR UHGXFH KHDOWKFDUH FRVWV.

25                7KH RQOy LVVXH KHUH LV ZKDW SKyVLFLDQV,


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 1   RXW-RI-QHWZRUN SKyVLFLDQV JHW SDLG.               ,I yRX'UH QRW UHGXFLQJ

 2   ZKDW , SDy RXW RI QHWZRUN SKyVLFLDQV, yRX'UH QRW UHGXFLQJ

 3   FRVWV.   SR WKH VWDWXWH ZDV LQWHQGHG WR UHGXFH ZKDW

 4   RXW-RI-QHWZRUN SKyVLFLDQV DUH SDLG.

 5              7HE COU57:   , WKLQN ZKDW WKH VWDWXWH ZDV LQWHQGHG WR

 6   UHGXFH ZDV WKH SDWLHQW ZKR JHWV D KXJH ELOO ZKHQ WKH SDWLHQW

 7   WKLQNV WKDW WKH SDWLHQW KDV LQVXUDQFH DQG WKHQ JHWV D ELOO

 8   IURP WKH DQHVWKHVLRORJLVW RU ZKRPHYHU IRU WKRXVDQGV DQG

 9   WKRXVDQGV RI GROODUV, ZKLFK LV FRPSOHWHOy XQHxSHFWHG, DQG ,

10   JXHVV WKDW OHDGV PH -- GR yRX WKLQN WKDW'V VRPHWKLQJ WKDW WKH

11   GRYHUQPHQW KDV WKH ULJKW WR DGGUHVV, WKDW CRQJUHVV KDV WKH

12   ULJKW WR DGGUHVV LQ OHJLVODWLRQ?

13              05. SPOLZ,NO:    7KH --

14              7HE COU57:   7KH ELOOLQJ, WKH VXUSULVH ELOOLQJ, LV

15   WKDW VRPHWKLQJ WKDW LV ZLWKLQ CRQJUHVV' SXUYLHZ WR GR?

16              05. SPOLZ,NO:    , ZRXOG VDy LQ WKH DEVWUDFW, yHV, EXW

17   ZH DUH IRFXVHG RQ WKH ZDy WKHy GLG LW KHUH.

18              7HE COU57:   $OO ULJKW.           7KHQ Py VHFRQG TXHVWLRQ LV,

19   DQG , DSRORJLzH IRU UHSHDWLQJ PyVHOI, EXW , MXVW GRQ'W WKLQN ,

20   XQGHUVWDQG yRXU SRVLWLRQ.

21              HRZ LV LW WKDW ZKDW yRXU RXW RI QHWZRUN ELOOLQJ UDWH

22   LV, KRZ GRHV WKDW HTXDWH WR WKH XVXDO DQG FXVWRPDUy FRVW RI

23   WKH VHUYLFH?   7KDW'V ZKDW ,'P KDYLQJ D OLWWOH WURXEOH ZLWK.

24              :KDW yRX'UH VDyLQJ LV WKDW yRXU FOLHQW VKRXOG EH

25   DEOH WR JHW ZKDW KH XVXDOOy FKDUJHV DQG , JXHVV EH DEOH WR JHW


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 1   LW IURP WKH SDWLHQW; FRUUHFW?

 2             05. SP2LZ,12:     1R, ,'P QRW VDyLQJ WKDW WKH SKyVLFLDQ

 3   LV HQWLWOHG -- LI WKH SKyVLFLDQ URXWLQHOy FKDUJHG D PLOOLRQ

 4   GROODUV, PDyEH KH ZDV DEOH WR JHW LW IURP VRPH SDXGLD $UDELDQ

 5   SULQFH, EXW WKDW GRHVQ'W PHDQ WKDW TXDQWXP PHUXLW ZRXOG JHW

 6   KLP RU KHU WKDW UHVXOW.

 7             7HE C2U57:    BXW WKHQ yRX DUH WDONLQJ DERXW D jXUy

 8   WULDO HYHUy WLPH WKHUH LV D GLVSXWH.                   SR WKH SDWLHQW ZKRVH

 9   JRWWHQ WKH KXJH PHGLFDO ELOO, WKHQ KDV WR JHW D ODZyHU, ULJKW?

10   , PHDQ, WKHRUHWLFDOOy XQGHU -- , PHDQ, , UHDOLzH LQ WKH UHDO

11   ZRUOG D ORW RI WKHVH WKLQJV ZRUN RXW, EXW WKDW'V ZKDW WKH SODQ

12   ZRXOG EH, ULJKW?    BHFDXVH yRXU ULJKW LV DJDLQVW WKH SDWLHQW.

13             05. SP2LZ,12:     7KH TXHVWLRQ LV ZKDW LV WKH ULJKW

14   WKDW'V EHLQJ WDNHQ DZDy.     7KH IDFW WKDW PDQy, SUREDEOy PRVW,

15   LI QRW DOO FDVHV JHW VHWWOHG -- ,'P VXUH QRW DOO FDVHV JHW

16   VHWWOHG, EXW PRVW FDVHV JHW VHWWOHG -- GRHVQ'W PHDQ WKDW WKH

17   ULJKW LV QRW LPSRUWDQW.     :KDW WKH CRQJUHVV KDV GRQH LV WDNH

18   DZDy WKDW ULJKW HQWLUHOy.

19             7HE C2U57:    7DNH DZDy ZKDW ULJKW?

20             05. SP2LZ,12:     ,W'V WDNHQ DZDy WZR ULJKWV.                ,W'V

21   WDNHQ DZDy PXOWLSOH ULJKWV, ZH'YH DOOHJHG.

22             7KHUH DUH WZR SLHFHV WR WKLV OHJLVODWLRQ WKDW DUH

23   UHOHYDQW KHUH.   2QH LV WKDW WKH 1R SXUSULVH $FW, WKH ELOOLQJ

24   WR WKH SDWLHQWV.

25             7HE C2U57:    5LJKW.


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 1              05. SPOLZ,NO:    7KH RWKHU LV IRUFLQJ WKH SKyVLFLDQ WR

 2   DUELWUDWH ZLWK WKH LQVXUHU VR WKDW WKH SKyVLFLDQ GRHVQ'W JHW D

 3   MXUy RQ WKHLU FODLP.    7KH FODLP WKDW WKH SKyVLFLDQ KDG DJDLQVW

 4   WKH LQVXUHU -- WKLV LV QRW D VLWXDWLRQ ZKHUH WKH CRQJUHVV MXVW

 5   FUHDWHG WKLV UHPHGy DJDLQVW WKH LQVXUHU DQG VDLG yRX KDYH WR

 6   DUELWUDWH LW.   :KDW WKHy GLG ZDV WKHy VXEVWLWXWHG WKDW IRU WKH

 7   ULJKW WKDW WKH SDWLHQW -- WKH SKyVLFLDQ DOUHDGy KDG DJDLQVW

 8   WKH SDWLHQW.

 9              7HE COU57:   SR LW'V D GLIIHUHQW SDUWy?

10              05. SPOLZ,NO:    'LIIHUHQW SDUWy, EXW QRW WKH -- EXW

11   WKH VDPH ULJKW, VDPH XQGHUOyLQJ ULJKW WR EH SDLG.                :KDW ,

12   ZRXOG VXJJHVW, LI , FDQ VDy, WR WKDW SDUWy LVVXH, -XGJH, LV LI

13   yRX ORRN DW WKH )LIWK CLUFXLW -- WKH UHDVRQLQJ RI WKH )LIWK

14   CLUFXLW FDVH LQ Jarkesy, WKH )LIWK CLUFXLW FDVH LQ Jarkesy

15   GLVSRVHV RI WKHVH LVVXHV DQG GHIHDWV, , ZRXOG VXEPLW, WKH

16   GRYHUQPHQW'V DUJXPHQW KHUH.

17              , PHDQ, WKHUH WKH )LIWK CLUFXLW VDLG WKDW WKH ULJKW

18   RI WKH SEC WR REWDLQ FLYLO SHQDOWLHV LV VXEMHFW WR D MXUy

19   WULDO EHFDXVH LW'V QRW D SXEOLF ULJKW.

20              7HE COU57:   :KDW KDV WKH SHFRQG CLUFXLW VDLG DERXW

21   WKDW?   7KRVH DUH Py ERVVHV.

22              05. SPOLZ,NO:    , XQGHUVWDQG WKDW.             $QG ,'P QRW

23   DUJXLQJ WKDW yRX DUH ERXQG Ey WKDW.                ,'P DUJXLQJ WKDW WKH

24   UHDVRQLQJ LV SHUVXDVLYH LQ WKH )LIWK CLUFXLW FDVH, DQG WKDW,

25   IUDQNOy, LW FLWHV DOO RI WKH VDPH SXSUHPH CRXUW FDVHV, LW


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 1   DQDOyzHV WKH 8QLWHG SWDWHV SXSUHPH CRXUW FDVHV WKDW ZH'YH EHHQ

 2   GLVFXVVLQJ KHUH LQ RXU EULHIV.

 3              7KH GRYHUQPHQW KDV VDLG LW'V LQFRQVLVWHQW ZLWK

 4   SHFRQG CLUFXLW SUHFHGHQW, EXW KDVQ'W FLWHG ZKDW WKDW SUHFHGHQW

 5   LV.   $QG LQ WKH VKRUW WLPH WKDW ZH KDYH ORRNHG DW WKLV, ZH

 6   KDYHQ'W EHHQ DEOH WR LGHQWLIy DQy.

 7              ,W'V QRW DXWKRULWDWLYH EHFDXVH yRX KDYH WR IROORZ

 8   LW; LW'V DXWKRULWDWLYH EHFDXVH WKH UHDVRQLQJ IROORZV ZKDW WKH

 9   SXSUHPH CRXUW KDV GRQH KHUH.         7KDW'V D ULJKW LQ IDYRU RI D

10   VHSDUDWH SDUWy.   7KH SEC LV -- WKH IUDXG UHPHGy WKDW LV WKH

11   SULYDWH ULJKW ZDV QRW D ULJKW RI WKH SEC; LW'V D ULJKW RI

12   LQGLYLGXDOV.

13              ,W -- EHFDXVH -- WKH )LIWK CLUFXLW VDLG EHFDXVH LW

14   ZDV D ULJKW RI LQGLYLGXDOV JLYLQJ LW WR WKH SEC GLGQ'W PDNH LW

15   D SXEOLF ULJKW.   $QG WKDW'V HxDFWOy ZKDW'V KDSSHQLQJ KHUH.

16              $QG, LQ IDFW, LQ WKDW FDVH LW LV WKH GRYHUQPHQW WKDW

17   LV DVVHUWLQJ WKH ULJKW.     ,I LW ZHUH D ULJKW WKDW WKH

18   GRYHUQPHQW DVVHUWV LV QRW D SXEOLF ULJKW, WKHQ LW'V FHUWDLQOy

19   D ULJKW WKDW D SKyVLFLDQ KDV WR FKDUJH D SDWLHQW RU DQ

20   LQVXUDQFH FRPSDQy LV QRW D SXEOLF ULJKW.                 ,W VWLOO UHPDLQV D

21   SULYDWH ULJKW.

22              $QG LI WKH VHFXULWLHV DFWV DUH QRW D UHJXODWRUy

23   VFKHPH WKDW ZRXOG PDNH WKLV VRPH SXEOLF ULJKW, FHUWDLQOy WKH

24   ELOOLQJ SURFHVV IRU LQGLYLGXDO GRFWRUV FODLPV DUH QRW JRLQJ WR

25   LQYROYH SXEOLF ULJKWV.     7KLV LV D SULYDWH ULJKWV FDVH XQGHU


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 1   the reasoning in Jarkesy.       I don't think there is any escaping

 2   that except for you to hold that Jarkesy doesn't convince you.

 3              So I think I have answered -- I'm not sure if I've

 4   answered the question.

 5              THE COURT:    I think so.           I just want to give the

 6   Government an opportunity to respond.

 7              MS. DEFFEBACH:    Your Honor, we don't think that the

 8   Jarkesy opinion should be persuasive here.               Not only is it, as

 9   Your Honor pointed out, an out-of-circuit precedent, but the

10   reasoning in Jarkesy is frankly inconsistent with the Supreme

11   Court precedence that that court purports to rely on.

12              For example, in several of the Supreme Court cases,

13   the Supreme Court has characterized the paradigm of a public

14   rights case as a case where the Government is one of the

15   parties.   And the Jarkesy case kind of disregarded that

16   language entirely.

17              We think that the dissent in the Jarkesy case

18   provides a very well-reasoned analysis of that case.               But even

19   under --

20              THE COURT:    I'm so sorry.             When was that decided?

21   Fairly recently, wasn't it?

22              MS. DEFFEBACH:    I believe it was May 18th.            Very

23   recently, Your Honor.

24              THE COURT:    Are they applying for en banc review or

25   are they just appealing it to the Supreme Court?               Do you know


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 1   ZKDW --

 2             0S. '())(B$CH:     7KH GHDGOLQHV KDYH QRW SDVVHG IRU

 3   WKH VROLFLWRUV JHQHUDO'V RIILFH WR PDNH WKDW GHFLVLRQ.

 4             7H( COU57:    SRUUy.       GR DKHDG.

 5             0S. '())(B$CH:     (YHQ XQGHU WKH WHVW WKDW WKH )LIWK

 6   CLUFXLW SXW RXW IRU ZKHQ D ULJKW ZRXOG EH D SXEOLF ULJKW, WKH

 7   ,'5 SURFHVV DW LVVXH KHUH ZRXOG PHHW WKDW WHVW EHFDXVH LW

 8   LQYROYHV D ULJKW WKDW CRQJUHVV FUHDWHG DIWHU CRQJUHVV IRXQG

 9   WKDW WKH HxLVWLQJ ULJKWV DQG UHPHGLHV ZHUH LQVXIILFLHQW WR

10   GHDO ZLWK, IUDQNOy, D SXEOLF KHDOWK FULVLV.

11             $QG, DGGLWLRQDOOy, WKH ,'5 SURFHVV DQG LWV VyVWHP

12   FUHDWHG Ey WKH $FW LV RQH ZKHUH UHTXLULQJ D jXUy WULDO ZRXOG

13   XWWHUOy IUXVWUDWH CRQJUHVV' SXUSRVHV.                  SR ZH EHOLHYH WKDW WKLV

14   CRXUW VKRXOG QRW IROORZ WKH Jarkesy RSLQLRQ.

15             BXW HYHQ XQGHU WKDW YHUy QDUURZ DQG QRYHO SXEOLF

16   ULJKWV WHVW, WKH ,'5 SURFHVV ZRXOG VWLOO EH D SXEOLF ULJKW.

17             7H( COU57:    7KLV LV GHILQLWHOy EHyRQG Py

18   UHVSRQVLELOLWy, EXW ,'P VRUW RI FXULRXV DV D JHQHUDO PDWWHU,

19   ZKy KDVQ'W VRPHRQH DGGUHVVHG WKLV TXHVWLRQ?                  :Ky GRHV D

20   SDWLHQW JHW VXUSULVHG Ey D ELOO OLNH WKDW ZKHQ WKHy KDYH QR

21   UHDVRQ WR HxSHFW WKDW WKHy'UH JRLQJ WR EH ELOOHG?                 ,'P FXULRXV

22   DV WR ZKy QRERGy KDV WULHG WR ILx WKDW EHIRUH WKLV.

23             05. SPOLZ,NO:     :HOO, ,'P QRW VXUH , NQRZ WKH DQVZHU

24   WR WKDW, YRXU HRQRU.

25             7H( COU57:    BHFDXVH LW'V D WKLQJ IRU VXUH.


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 1             05. SPOLZ,NO:     , ZRXOG YHQWXUH WR JXHVV, EDVHG RQ,

 2   yRX NQRZ, ZKDW , NQRZ RI WKLV FDVH DQG VRPH DFWXDO HxSHULHQFH

 3   RQ ERDUG RI KRVSLWDOV, WKDW LW'V EHFDXVH SDWLHQWV GRQ'W

 4   XQGHUVWDQG WKH LQWHUQDO UHODWLRQVKLSV LQ KRVSLWDOV.                TKHy

 5   WKLQN WKHy JR WR WKH KRVSLWDO DQG JHW RQH ELOO.

 6             THE COU5T:    SR ZKy GRHVQ'W VRPHRQH WHOO WKHP?

 7             05. SPOLZ,NO:     ,Q PDQy RI WKH FDVHV ZH DUH WDONLQJ

 8   DERXW LV EHFDXVH WKHy DUH XQFRQVFLRXV RU XQDEOH WR GHDO ZLWK

 9   ELOOLQJ LVVXHV ZKHQ WKHy FRPH WR WKH KRVSLWDO.

10             THE COU5T:    :KDW LI VRPHERGy JRHV LQ IRU VRPH NLQG

11   RI D URXWLQH SURFHGXUH?

12             05. SPOLZ,NO:     0y XQGHUVWDQGLQJ WKDW WKHUH DUH

13   SURFHVVHV IRU GLVFORVXUH RI DOO RI WKHVH VHSDUDWH ELOOV.

14             THE COU5T:    , VHH.

15             SR ,'P JRLQJ WR JLYH yRX D GHFLVLRQ VRRQ EHFDXVH LW

16   LV -- EXW ,'P QRW GRLQJ LW WRGDy.              , KDYH VRPH WKRXJKWV RQ LW,

17   , ZDQW WR FRQVLGHU DOO RI WKH DUJXPHQWV WKDW yRX KDYH PDGH.

18             ,V WKHUH DQyWKLQJ WKDW DQyERGy ZDQWV WR VDy WKDW

19   WKHy KDYHQ'W KDG D FKDQFH WR VDy?

20             05. SPOLZ,NO:     LHW'V VHH.

21             :HOO, ILUVW, -XGJH, LQ WHUPV RI WKH PRWLRQ WR

22   GLVPLVV, DUH yRX -- ZH KDYH HVVHQWLDOOy DUJXHG OLNHOLKRRG RI

23   VXFFHVV RQ WKH PHULWV LV WKH VDPH WKLQJ.                 'R yRX QHHG DQy

24   DGGLWLRQDO DUJXPHQW RQ WKDW?

25             THE COU5T:    , GRQ'W WKLQN VR, , WKLQN WKDW , JHW.


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 1              05. SPOLZ,NO:    , GRQ'W WKLQN VR, -XGJH.      , WKLQN yRX

 2   KDYH UDLVHG DOO WKH LVVXHV.

 3              7HE COU57:   ,V WKHUH DQyWKLQJ HOVH IURP WKH

 4   GRYHUQPHQW?

 5              0S. 'EFFEB$CH:    , WKLQN ZH'YH DGGUHVVHG DOO WKH

 6   LVVXHV.

 7              , ZRXOG OLNH WR MXVW EULHIOy NLQG RI DGG WR

 8   VRPHWKLQJ WKDW SODLQWLII'V FRXQVHO VDLG DERXW WKH qXDOLIyLQJ

 9   SDyPHQW DPRXQW, DQG WKDW LV FDOFXODWHG DV WKH PHGLDQ UDWH RI

10   QHJRWLDWHG LQ-QHWZRUN SDyPHQWV, EXW LW LV DV WR VDPH RU

11   VLPLODU VSHFLDOWy IRU WKH VDPH RU VLPLODU VHUYLFH LQ WKH

12   VLPLODU JHRJUDSKLF DUHD.     SR, LW FRPSDUHV DSSOHV WR DSSOHV.

13   ,Q WKLV FDVH, HPHUJHQFy SKyVLFLDQV WR HPHUJHQFy SKyVLFLDQV.

14              7HE COU57:   7KH RWKHU WKLQJ , UHDOLzH LV WKDW , NQRZ

15   WKHUH LV DOVR D PRWLRQ WR GLVPLVV, DQG DV FRXQVHO VDLG, ,'P

16   VRUW RI WKLQNLQJ WKDW LQ WHUPV RI OLNHOLKRRG RI VXFFHVV RQ WKH

17   PHULWV.   ,V WKHUH DQyWKLQJ HOVH WKDW yRX ZDQWHG WR VDy DERXW

18   WKDW?

19              0S. 'EFFEB$CH:    :H WKLQN -- , EHOLHYH ZH'YH

20   DGGUHVVHG WKH SXEOLF ULJKWV GRFWULQH LQ GHSWK.

21              $V WR SODLQWLII'V GXH SURFHVV DQG WDNLQJV FODLPV, ,

22   WKLQN RXU EULHI HxSODLQV WKDW WKH ,'5 SURFHVV SURYLGHV PRUH

23   GHWDLOV DERXW KRZ WKDW SURFHVV ZRUNV DQG ZH DGGLWLRQDOOy GRQ'W

24   EHOLHYH WKDW SODLQWLIIV KDYH LGHQWLILHG DQy FRJQLzDEOH

25   SURSHUWy LQWHUHVW.    7KHy KDYH QR SURSHUWy LQWHUHVW LQ WKH


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 1   IXWXUH UHYHQXH WKDW WKHy ZDQW WR ELOO WKHLU FOLHQWV.         BXW WKHy

 2   DOVR GRQ'W KDYH D SURSHUWy LQWHUHVW LQ WKH FRQWLQXHG RSHUDWLRQ

 3   RI WKH UXOH RI FRPPRQ ODZ.       $QG CRQJUHVV KDV KHUH HxWLQJXLVKHG

 4   DQG SUH-HPSWHG WKH -- WR WKH HxWHQW SWDWH ODZV DOORZHG

 5   VXUSULVH ELOOV DQG VXLQJ SDWLHQWV IRU WKRVH ELOOV, ZH EHOLHYH

 6   WKDW CRQJUHVV KDV FOHDUOy SUHHPSWHG DQy SUHHxLVWLQJ SWDWH

 7   ULJKWV WKDW UHPDLQHG.

 8             THE COU5T:    $QyWKLQJ WKDW yRX ZDQW WR VDy LQ

 9   UHVSRQVH WR WKDW?

10             05. S3OLZ,NO:     YHV.

11             THE COU5T:    , ZDV D ODZyHU RQFH PyVHOI.       GR DKHDG.

12             05. S3OLZ,NO:     -XGJH, WKH RQOy WKLQJ , ZRXOG VDy LV

13   ZKDW , KDYH VDLG DOUHDGy, ZKLFK LV HVVHQWLDOOy WKH LVVXH LV

14   WKDW ZKHQ ZH EURXJKW WKLV ODZVXLW RQ 'HFHPEHU 31, ZH GLGQ'W

15   KDYH DQy FODLPV.

16             THE COU5T:    5LJKW.

17             05. S3OLZ,NO:     3OHDVH JLYH XV OHDYH WR UH-SOHDG.

18             THE COU5T:    HDYH yRX KDG DQy FODLPV VLQFH?

19             05. S3OLZ,NO:     :H KDYH SURYLGHG VHUYLFHV.

20             THE COU5T:    , VHH.

21             05. S3OLZ,NO:     , NQRZ 'U. HDOOHU KDV SURYLGHG

22   VHUYLFHV VLQFH.

23             THE COU5T:    ONDy.      HDYHQ'W JRQH WKURXJK WKH ,'5

24   SURFHVV, WKRXJK?

25             05. S3OLZ,NO:     , GRQ'W NQRZ WR EH VXUH, EXW ZH FDQ


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 1   FHUWDLQOy SUHVHQW WKDW LQ DQ DPHQGHG SOHDGLQJ.

 2              7HE COU57:   , ZLOO OHW yRX NQRZ LI WKDW'V VRPHWKLQJ

 3   , WKLQN RXJKW WR KDSSHQ.

 4              , ZDQW WR WKDQN WKH SDUWLHV IRU VXFK WKRURXJK

 5   EULHILQJ DQG SURIHVVLRQDO SUHVHQWDWLRQV.                 VHUy LQWHUHVWLQJ

 6   LVVXH.   7KDQNV VR PXFK.

 7              05. SPOLZ,NO:    7KDQN yRX, YRXU HRQRU.

 8              0S. DEFFEBACH:    7KDQN yRX, YRXU HRQRU.

 9              (0DWWHU DGMRXUQHG.)

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CERTIFICATE OF SERVICE

On August 21, 2023 I filed and served the forgoing Amended Joint Appendix
via this Court’s electronic-filing system.



14-point font, Times New Roman.

Dated: New York,
New York, April 26, 2023



                                        /S/ Nick Wilder, Esq.
                                        The Wilder Law Firm
                                        301 West 57 Street, Suite 19B
                                        New York, NY 10019
                                        (212) 951-0042
                                        nick@wilder.law
                                        Counsel for Plaintiffs-Appellants
